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                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                              CIVIL ACTION NO. 1:20-CV-00130

 In re:

 V.R. KING CONSTRUCTION, LLC,

           Debtor,


 Y2 YOGA COTSWOLD, LLC,
                                                                    Case No. 18-31635
           Plaintiff,                                                   Chapter 7

 v.                                                        Adversary Proceeding No. 19-03047

 V.R. KING CONSTRUCTION, LLC;
 VINROY REID; A. BURTON SHUFORD
 as Chapter 7 Trustee for V.R. KING
 CONSTRUCTION, LLC and VINROY
 REID,

           Defendants.

                  AFFIDAVIT OF ATTORNEY CHRISTOPHER CAMPBELL

          Christopher J. Campbell, being first duly sworn, and upon his oath, deposes and says as

follows:

          1.      I am over the age of eighteen and competent to make this Affidavit.

          2.      I have been a licensed and practicing attorney in North Carolina since September

                  2012.

          3.      My North Carolina Bar Number is 44277. I am a member of the Mecklenburg

                  County Bar. I am admitted to practice in the United States District Court for the

                  Western District of North Carolina.




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  4.    I am presently a member-attorney at McAngus, Goudelock & Courie, PLLC. At

        the time of the subject litigation detailed herein, I was a senior associate.

  5.    Any statement made herein is made upon information and belief, even if such

        statement is not directly preceded by the express reservation.

  6.    At any time, from roughly 2013 to present, approximately 75 percent or more of

        my caseload is directly related to construction and/or commercial litigation. Such

        cases involve: construction defect defense, commercial general liability insurance

        coverage, and the prosecution or defense of contract collection actions, inclusive

        of lien claims pursuant to Chapter 44A of the North Carolina General Statutes.

        My practice is not limited to defense-only litigation.

  7.    I represented Vinroy Reid and his respective corporate entities regarding the

        Mecklenburg County Superior Court Case, case no. 16-CVS-23179, entitled, “Y-

        2 Yoga Cotswold, LLC v. Vinroy W. Reid, et al.” from roughly March 2017

        through the entry of a Final Judgment on or about February 8, 2019.             I am not

        presently counsel for Mr. Reid or his respective corporate entities.        The Final

        Judgment from the underlying state court action is attached hereto as “Exhibit

        “A.”

  8.    I have not been intimately involved in this case or acting as counsel of record

        since March 2019. In the interest of candor with the Court, there may exist

        exhaustive briefing, exhibits, arguments, caselaw, or new testimony that I have

        not been able to review, witness or assess since my last involvement in the

        litigation between these parties.




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  9.    I humbly submit this Affidavit to the Court with great respect, and I acknowledge

        that I may not be privy to all issues raised by the parties.

  10.   My general understanding is that Y-2 Yoga Cotswold, LLC is currently seeking

        attorneys’ fees before this Court, allegedly arising from a breach of a construction

        contract, the indemnity provision therein, and pursuant to N.C. Gen. Stat. § 6-

        21.6.

  11.   Upon information and belief, Y-2 Yoga Cotswold, LLC has already litigated this

        issue and/or failed to appropriately raise or preserve this issue before the trial

        judge, the Honorable Judge Donnie Hoover, during trial and during post-verdict,

        post-trial motions.   See Ex. A, see also Exhibit “B,” attached hereto, Order on

        Post Verdict Motions, February 8, 2019.

  12.   Y-2 Yoga Cotswold, LLC incorporated the alleged construction contract and the

        indemnity provision into its pleadings and counts for breach of contract. See e.g.,

        Exhibit “C,” attached hereto, Amended Complaint, 14-CVS-23138 ¶¶ 23-27

        (Breach of Contract Count), specifically ¶ 27 (“Y-2 Yoga demands interests costs

        and attorneys’ fees in accordance with provisions of the Contract and applicable

        law”), filed on or about January 27, 2015.          See also Exhibit “D,” Second

        Amended Verified Complaint 16-CVS-23179 ¶¶ 110-115, specifically ¶ 114 (“Y-

        2 Yoga also seeks payment of all other amounts it is entitled to under the

        construction contract terms and applicable law, including but not limited to

        interest, costs, and attorneys’ fees.”), filed on or about March 6, 2018.




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  13.   Y-2 Yoga Cotswold, LLC submitted the breach of contract issues to the jury, and

        the jury awarded the principal damage sum pursuant to breach of contract as of

        November 2018. Notwithstanding, the Final Judgment was entered on or about

        February 8, 2019.   The total amount of damages determined by the jury in the

        controversy was $396,649.57. See Ex. A.

  14.   The moment that the jury returned a verdict in Y-2 Yoga Cotswold, LLC’s favor

        in early November 2018, Y-2 Yoga Cotswold, LLC knew that the Reid

        Defendants were a “breaching party” under the construction contract. Y-2 Yoga

        Cotswold, LLC had also alleged that the Reid defendants were the “breaching

        party” dating back to 2014.

  15.   Y-2 Yoga Cotswold, LLC knew it could pursue post-verdict and post-trial

        motions with Judge Hoover—and it did.        Post-verdict motions were heard by

        Judge Hoover on or about November 30, 2018.          Y-2 Yoga Cotswold, LLC’s

        post-verdict motions included statutory costs, pre-judgment interest on the

        principal damages, among others. See Ex. B. Y-2 Yoga Cotswold, LLC knew or

        should have known its alleged accumulation of fees from 2014 through November

        30, 2018, but failed to submit a request for recovery of the same during the post-

        verdict motions. In addition, as the parties were awaiting Judge Hoover’s entry of

        the Final Judgment and contemporaneous post-verdict motions, Y-2 Yoga

        Cotswold, LLC knew or should have known its alleged accumulation of fees from

        2014 through February 8, 2019—the date of the entry of the Final Judgment. See

        Exs. A and B.




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  16.   Y-2 Yoga Cotswold, LLC failed to present the issue of attorneys’ fees to the trial

        judge who had spent nearly two months (spanning through September 2018,

        October 2018 and November 2018) with counsel in trial, and who would have

        been able to determine, in his discretion, whether Y-2 Yoga Cotswold, LLC was

        entitled to reasonable attorneys’ fees considering all 13 factors, and making

        findings regarding the same, under N.C. Gen. Stat. § 6-21.6.

  17.   Upon information and belief, Y-2 Yoga Cotswold, LLC either chose to wait to on

        the indemnity issue before this Court—hoping it would receive a more favorable

        venue after observing Judge Hoover’s rulings for the length of trial; or, in the

        alternative, Y-2 Yoga Cotswold, LLC simply forgot to present the issue to the

        trial judge while it was focusing on other directed verdict motions or post-verdict

        motions.

  18.   In either event, Y-2 Yoga Cotswold, LLC now appears to be in the position to

        take two or more bites at the apple. In the trial court, Y-2 Yoga Cotswold, LLC

        knew to make its post-verdict motions to Judge Hoover regarding his assessment

        of costs and pre-judgment interest. See Exs. A and B.

  19.   Upon information and belief, in addition, Judge Hoover also needed to make the

        specific factual determination on post-verdict motions concerning the date of

        breach of the contract that was disputed by these parties. Upon information and

        belief, Plaintiff argued in favor of January 15, 2014 as the date of breach.

        Defendants argued for April 29, 2014. Upon information and belief, based on the

        exhibits, Judge Hoover may have ruled as early as October 31, 2013 (the date of a

        disputed concrete pour) or as late as April 29, 2014 (a Notice of Default Letter



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        from Attorney Greg Shelton).           Notwithstanding, Judge Hoover had intimate

        knowledge of the facts of the case as it was being presented in real-time by the

        parties, and he made his determination, accordingly.

  20.   Despite the trial court’s intimate knowledge of these issues, and the incorporation

        of the indemnity clause into all of the contract claims made throughout the

        pleadings in the 2014 case and the 2016 case, Y-2 Yoga Cotswold, LLC did not

        present the issue of attorneys’ fees to the trial judge.

  21.   I am aware that Edwards v. Edwards, 118 N.C. App. 464, 456 S.E.2d 126 (1995) is a

        case that is cited for the proposition that attorneys’ fees may be sought in a separate

        indemnity action, which does not accrue until after an original judgment. See

        Exhibit “E,” for a copy of Edwards, attached hereto. Edwards, however, is not a

        construction case. In Edwards, a plaintiff, ex-husband, filed an action against a

        defendant, ex-wife. The plaintiff sought specific performance regarding a separation

        agreement. At the trial level, the Davidson County District court ruled, in an April

        20, 1993 judgment, that the separation agreement was valid and that the defendant

        was the breaching party.        The separation agreement concerned the specific

        performance for the sale of real property. Upon information and belief, no monetary

        damages were awarded in the underlying judgment. Subsequently, there was an

        order related to a July 7, 1993 motion by the plaintiff for attorneys’ fees arising from

        an indemnity provision in the separation agreement.

  22.   Significantly, Edwards observes that indemnity generally relates to liability for

        derivative fault (i.e. an obligation to a third party). See Edwards, 118 N.C. App.

        at 467, 456 S.E.2d at 128 (citations omitted).



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  23.   Derivative liability is common in the construction context. North Carolina’s

        caselaw is littered with examples where a project owner brings an action against a

        general contractor and secures a monetary judgment against the general

        contractor. The general contractor then, within one year of the judgment, seeks

        indemnity from its subcontractors—i.e. third-parties. See e.g., Kaleel Builders,

        Inc. v. Ashby, 161 N.C. App. 34, 587 S.E.2d 470 (2003) (following arbitration in

        favor of the homeowners, a general contractor was defending against dispositive

        motions presented by its subcontractor trades, who were added after arbitration).

  24.   The context of Edwards is completely distinct from the construction and/or

        commercial case before this Court. In Edwards, the separation agreement did not

        involve an underlying dispute to determine monetary damages. The action sought

        specific performance more akin to a declaratory judgment action.               Upon

        information and belief, there was not a jury verdict in Edwards. Further, there

        were not post-verdict or post-judgment motions for costs or prejudgment

        interest—according to the recitation of the issues below in the Edwards opinion.

  25.   Edwards holds, with respect to collateral estoppel, that the trial court “determined

        only the validity of the Agreement and plaintiff’s entitlement to specific

        performance. Plaintiff has not endeavored to relitigate these matters, but rather the

        separate and distinct issue of recoupment of attorneys’ fees under the indemnity

        clause of the agreement.”      Unlike Edwards, in the instant case, there was a

        determination of monetary damages under the contract, for a specific amount.

        Further, unlike Edwards, there was a specific determination of costs in post-



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        verdict motions before the trial judge. Y-2 Yoga Cotswold, LLC had ample

        opportunity to present its attorneys’ fee claims—whether by statute, by contract,

        or a combination of both, to Judge Hoover in the underlying trial, and they failed

        to do so. Y-2 Yoga Cotswold, LLC appears to be relitigating issues that are

        directly incorporated into its breach of contract claims in every iteration of its

        pleading. Y-2 Yoga Cotswold, LLC appears to have split discretionary decisions

        which typically reside within the discretion of the trial judge.       Y-2 Yoga

        Cotswold, LLC submitted the concerns in its indemnity agreement, including

        claims, damages, court costs and interest post-verdict to Judge Hoover, but Y-2

        Yoga Cotswold, LLC omitted the presentation of its attorneys’ fees.

  26.   With respect to res judicata, Edwards observed that the presentation of an

        indemnity claim is not precluded prior to accrual—post trial. See Edwards, 118

        N.C. App. at 471, 456 S.E.2d at 130 (citing Heath v. Board of Commissioners,

        292 N.C. 369, 375-76, 233 S.E.2d 889, 893 (1977)).

  27.   Significantly, in its rationale, Edwards also observes that prior caselaw has held

        that res judicata was not applicable where the performance of an act sought in one

        action was distinct from a money judgment sought in another action. See Edwards

        118 N.C. App at 473, 456 S.E.2d at 131 (citing Shelton v. Fairley, 72 N.C. App.

        1, 5, 323 S.E.2d 410, 416 (1984)). In other words, in Edwards and Shelton a

        money judgment was not sought in the underlying action.




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  28.   In every other action cited by Edwards in which attorneys’ fees were brought after

        the principal action and money judgments were sought in the underlying action,

        none involve a construction contract, indemnity provision or cross-cutting fee

        provision. The examples cited by Edwards include statutory provisions for an

        unwarranted refusal to settle by an insurance carrier; attorneys’ fees in alimony

        cases; attorneys’ fees concerning custody and child support; an unsuccessful will

        caveat proceeding; and, the contest of an agency decision concerning the denial of

        food stamps. Edwards 118 N.C. App at 473-74, 456 S.E.2d at 131-32 (citations

        omitted).

  29.   In the case before this Court, the language of the subject construction agreement

        is more consistent with Edwards observation that indemnity generally relates to

        liability for derivative fault (i.e. an obligation to a third party) rather than in line

        with Edwards’ more narrow holding that res judicata did not prohibit the motion

        for attorneys’ fees following a specific performance determination. See Edwards,

        118 N.C. App. at 467, 456 S.E.2d at 128 (citations omitted).

  30.   Here, the “Y2 Yoga Expansion Construction Agreement,” dated August 5, 2013,

        is governed by North Carolina law. See Section 6(c). Section 3(b) states

        “Indemnities. The parties hereto agree to indemnify and hold harmless the non-

        breaching party against any claims, damages or penalties (including court costs

        and outside legal fees reasonable incurred) arising out of the breaching party’s

        breach or alleged breach of any agreement, representation and warranty in this

        agreement.    Notwithstanding anything to the contrary contained herein, the

        forgoing indemnity shall apply to those third party claims arising from General



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        Contractor’s oversight or negligence pertaining to operational, legal and/or

        financial matters.” (emphasis added).

  31.   The first sentence of the indemnity provision, if read literally, is problematic for

        Y-2 Yoga Cotswold, LLC.        The provision specifically includes the “alleged

        breach of any agreement . . . in this agreement.” Thus, if the contract and this

        Section is enforceable, then Y-2 Yoga Cotswold, LLC’s argument concerning the

        need to wait until indemnity accrues by way of the determination of a “breaching

        party” is not correct. The “alleged breach” triggered this provision back in 2014.

        Read literally, Y-2 Yoga Cotswold, LLC failed to raise this issue at the trial court

        with Judge Hoover even though Y-2 Yoga Cotswold, LLC knew it had alleged a

        breach in 2014, and Y-2 Yoga Cotswold, LLC incorporated this contract into all

        of its pleadings from 2014.

  32.   Another way of reading the first sentence of the indemnity provision is that it is

        barred under N.C. Gen. Stat. § 22B-1 (2015). Under this statute, a party is not

        entitled to indemnity for its own fault in part or in whole. If the indemnity

        provision is taken on its face, the first sentence purports to hold either party

        harmless for “any alleged breach,” which necessarily includes alleged breaches of

        contract asserted by the Reid Defendants against Y-2 Yoga Cotswold, LLC in

        2014. As drafted, this provision is overly broad and purports to hold both parties

        harmless for “any alleged breach.” As drafted, the agreement is void on its face.




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  33.   In either event, the “alleged breach” requirement in the indemnity provision either

        makes the provision void on its face and/or it triggered Y-2 Yoga Cotswold,

        LLC’s alleged indemnity and hold harmless claim back in 2014 without the need

        for a judgment to determine “breach of contract” in 2018.

  34.   In addition, the second sentence of the indemnity provision cannot not be ignored

        in this analysis. The second sentence clearly explains how an indemnity

        agreement is intended to operate within the context of a construction project

        concerning derivative liability. The sentence reads, “Notwithstanding anything to

        the contrary contained herein, the forgoing indemnity shall apply to those third

        party claims arising from General Contractor’s oversight or negligence

        pertaining to operational, legal and/or financial matters.” (emphasis added).

  35.   The second sentence is not severable from the first sentence because it

        specifically states, “the forgoing indemnity,” in direct reference to the preceding

        indemnity clause. But, even if there is an argument that it could be severable, or a

        court decides to “blue-pencil” the paragraph to save the preceding provision, the

        second sentence demonstrates the intent of the parties. And, the intent is consistent

        with derivative liability in the context of the construction industry.

  36.   If the subject Section 5 of the construction agreement is somehow not informed by

        its own term concerning “alleged breach,” its own term concerning “forgoing

        indemnity,” or its own term concerning “third party claims,” and the Section is

        construed only as a mutual attorneys’ fees provision under N.C. Gen. Stat. § 6-21.6,

        then Y-2 Yoga Cotswold, LLC’s claims are still limited by the application of § 6-

        21.6.



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  37.   Pursuant to N.C. Gen. Stat. § 6-21.6 (f), the award of attorneys’ fees may not

        exceed the amount in controversy. The amount in controversy was determined by

        the jury. I cannot recall the specific amount presented to the jury by Plaintiff, but

        I believe it was in excess of $1.4 million, and perhaps over $2.1 million, with the

        alleged lost profit arguments. The jury determined the amount in controversy was

        $396,649.57. Y-2 Yoga Cotswold, LLC’s currently sought attorneys’ fees should

        not exceed $396,649.57.

  38.   Upon information and belief, one of the more frequently cited cases for the

        application of N.C. Gen. Stat. § 6-21.6 is Legacy Data Access, Inc. v. Cadrillion,

        LLC, 889 F.3d 158, 162 (4th Cir. 2018) (applying North Carolina substantive

        law). In Legacy, attorneys’ fees were already determined once in the trial court

        below prior to the 4th Circuit remanding, in part, for a determination of contract

        damages in a new trial, and for the court’s reassessment of the proper amount of

        fees. Specifically, the fees could change dramatically because of the requirement

        under § 6-21.6 for an assessment of the results obtained and to the extent to which

        the prevailing party succeeded compared to other factors under the statute.

        Notably, this assessment does not add statutory costs or prejudgment interest to

        the amount in controversy to be determined under N.C. Gen. Stat. § 6-21.6.

        Instead, the emphasis of the analysis is on the principal damage determinations.

  39.   Upon information and belief, I am not aware of published caselaw which applies

        N.C. Gen. Stat. § 6-21.6 after post-verdict motions in a completely different

        forum than the trial court. Candidly, I do not believe I have had enough time to

        prepare an exhaustive hunt for all case law on this issue, but based on annotations



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        and the frequency of citations to Legacy, it does not appear that there is a

        published case on all-fours with Y-2 Yoga Cotswold, LLC’s attempt to present

        this attorneys’ fee issue to this Court—particularly after Y-2 Yoga Cotswold,

        LLC already presented post-trial, post-verdict motions to Judge Hoover.

  40.   For the forgoing reasons, Y-2 Yoga Cotswold, LLC’s claim for attorneys’ fees

        should be barred as matter of law pursuant to waiver, collateral estoppel, or res

        judicata. Alternatively, Y-2 Yoga Cotswold, LLC’s attorneys’ fees should be

        limited to—at most-- $396,649.57, under N.C. Gen. Stat. § 6-21.6.

  41.   In addition, for reference, in the event that this Court does make the findings

        required under N.C. Gen. Stat. § 6-21.6, I have included my firm’s relevant hours

        and billing, as well as a similarly experienced attorney directly involved in this

        case as counsel for the subject project’s architect.

  42.   Upon information and belief, our firm’s first billing entry appeared on March 16,

        2017 from paralegal Monica Phillips.

  43.   Upon information and belief, I entered our firm’s last billing entry on March 20,

        2019.

  44.   Upon information and belief our firm was paid a total of $184,772.52 for our

        handling of the case, inclusive of all timekeepers and inclusive of $13,249.87 in

        expenses.

  45.   I was first-chair counsel on the case, with my billed hours amounting to 1012.2

        hours and all other timekeepers amounting to 195 hours, for a total of 1207.2

        hours.




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  46.   Attorney John Barringer’s rate on the file as a partner was $165.00 per hour and

        my rate as a senior associate, at the time, was $150.00 per hour. Our paralegal

        rate was $90.00 per hour. Our rates were per an insurer’s liability defense rate

        under a commercial general policy of insurance.

  47.   Again, I am familiar with insurance liability rates and private litigation rates. My

        highest private litigation rate at the time of this case in 2017 and 2018 was, upon

        information and belief, $225.00 per hour.

  48.   Comparably, upon information and belief, Nancy Litwak, formerly with Hamilton

        Moon Stephens Steel & Martin, PLLC, and now with Rosenwood, Rose &

        Litwak, PLLC represented the architect in this case. I have litigated with and

        against Ms. Litwak in construction cases since we started practice in 2012.

  49.   Mr. Litwak’s rate, through an error and omissions insurer for professional

        liability, for the defense of the architect, was, upon information and belief, $215

        per hour. Further, Ms. Litwak’s standard private litigation rate at times pertinent

        to the development of this matter was $300 per hour.

  50.   Upon information and belief, the above provides this Court with a snapshot of

        prevailing insurance rates between $150-$215 per hour, and a private rate as high

        as $300 per hour for an attorney in Mecklenburg County with roughly 5-6 years

        of experience in construction litigation as of the time of trial in 2018.




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  51.   For additional reference, upon information and belief, Plaintiff’s demand at

        mediation, on or about July 18, 2018, was $1.5 million dollars with at least

        $350,000 paid in cash, and a consent judgment placing the Reid Defendants’

        properties in receivership, with a credit for any surplus to the Reid Defendants,

        but an excess judgment against the Reid Defendants for any shortage.

  52.   In short, Plaintiff’s principal verdict for the breach of contract exceeded only the

        cash portion of its last mediation demand by about $50,000.

  53.   Upon information and belief, the Reid Defendants and Plaintiff never agreed on

        whether the Reid Defendants presented a concrete offer immediately following

        Mediation because Plaintiff believed that it did not have sufficient information to

        value the Reid Defendants’ properties by relying solely on the public tax records

        or the publically available purchase price of the properties, and Plaintiff believed

        it was not clear whether any of the properties were subject to liens, encumbrances,

        mortgage payments or the like.

  54.   Upon information and belief, Plaintiff’s demand during trial was approximately

        $1.25 million, comprised of at least $400,000 in cash.      The Reid Defendants’

        offer consisted of variations of conditions on consent judgment, including but not

        limited to one written, and several verbal variations of a $600,000 claim to

        proceed in Bankruptcy Court, $50,000 paid in cash, exclusive from the $600,000,

        and consent to waive the pre-judgment attachment order. Again, for candor to the

        court, I am not certain whether I have been able to exhaust each and every offer

        between the parties leading up to the jury’s verdict, but the offer recited in this

        Paragraph was made on or about October 24, 2018. Notwithstanding, the cash



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        portion of Plaintiff’s demand exceeded the jury’s verdict. And, the parties were

        never able to reach an agreement concerning the various conditions concerning

        properties that may or may not be subject to sale, or the conditions concerning a

        consent judgment, if any.

  55.   Upon information and belief, Judge Hoover repeatedly encouraged the parties to

        separately discuss settlement during recesses and in the evening hours throughout

        trial. For this reason, as well as the many others stated above, Judge Hoover was

        in the most appropriate position to make the determination as to reasonable

        attorneys’ fees, if any, and make the necessary findings for the award.

  56.   Again, I have not been intimately involved in this case or acting as counsel of

        record since March 2019. In the interest of candor with the Court, there may exist

        exhaustive briefing, exhibits, arguments, caselaw, or new testimony that I have

        not been able to review, witness or assess since my last involvement in the

        litigation between these parties.

  57.   I humbly submit this Affidavit to the Court, and the parties, with great respect,

        and I hope that this Affidavit helps to inform all involved, regardless of the

        ultimate result.

  FURTHER AFFIANT SAYETH NOT.




  [EXECUTION ON THE FOLLOWING PAGE]




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               This the 16th day of November, 2020.

                                                        s/Christopher J. Campbell*
                                                        North Carolina Bar No: 44277
                                                        *Digital signature in light of COVID-19


                                 VERIFICATION (COVID-19)

       I, Christopher Campbell, under the penalties for perjury, swear that the foregoing

representation(s) in the forgoing Affidavit are true.



                                               04-4412c.--SI ‘”ow—
                                              Christopher J. Campbell




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 STATE OF NORTH CAROLINA                      N THE GENERAL COURT OF JUSTICE
                                                    SUPERIOR COURT DIVISION
 COUNTY OF MECKLEN1                              ‘•   CASE NO. 16-CVS-23179

 Y2 YOGA COTSWOLD,          Ltd-;         I




        Plaintiff,

 v.

 VINROY W. REID; VR KING                            FINAL JUDGMENT
 CONSTRUCTION LLC; VR
 INVESTMENTS, LLC; BARANKO
 ENTERPRISE INC., and SPEND
 MANAGEMENT SOLUTIONS, LLC,

        Defendants.

       This case was tried by jury during the September 18, 2018 term of Superior

Court of Mecklenburg County.

       On November 2, 2018, the jury returned its verdict on the issues submitted to

the jury as follows:

        A.    BREACH OF CONTRACT-REID DEFENDANTS

     1.       "Did the Reid Defendants breach a construction contract with plaintiff
Y2 Yoga?"

             Yes

      2.   "What amount of damages is the plaintiff entitled to recover from the
Reid Defendants for breach of a construction contract?"

              $168,021.00

      3.    "What amount of special damages is the plaintiff entitled to recover
from the Reid Defendants for breach of a construction contract?"

             $228,628.57
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      B.   FRAUD

      4.   "Was the plaintiff damaged by the fraud of the Reid Defendants?"

           No

     5.     "What amount is the plaintiff entitled to recover from the Reid
Defendants as damages for fraud?"

           n/a

      C.   NEGLIGENT MISREPRESENTATION

      6.    "Was the plaintiff financially         damaged     by    a   negligent
misrepresentation of the Reid Defendants?"

           No

     7.     "What amount is the plaintiff entitled to recover from the Reid
Defendants as damages for negligent misrepresentation?"

           n/a

      D.   CONVERSION

     8.    "Did the Reid Defendants convert the property of the plaintiff?"

           No

     9.     "What amount is the plaintiff entitled to recover from the Reid
Defendants for the conversion of the plaintiffs project funds?"

           n/a

      E.   PUNITIVE DAMAGES

     10.   "Are the Reid Defendants liable to the plaintiff for punitive damages?"

           No

      11.    "What amount of punitive damages, if any, does the jury in its
discretion award to the plaintiff against the Reid Defendants?"

           n/a

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       F.   UNFAIR OR DECEPTIVE TRADE PRACTICES

      12.   "Did the Reid Defendants conceal receipt of, and use of, confidential
bids from competing contractors?"

            No

      13.   "Did the Reid Defendants represent to the plaintiff a false bid for the
project?"

            No

     14.    "Did the Reid Defendants represent to the plaintiff change orders with
inaccurate and misleading information?"

            No

    15.   "Did the Reid Defendants conceal conflicts of interest with Spend
Management Solutions?"

            No

     16.    "Did the Reid Defendants misappropriate project funds paid by Y2
Yoga?"

            No

     17.     "Did the Reid Defendants represent incorrect or incomplete project
status information to the plaintiff?"

            Yes

      18.   "Did the Reid Defendants withhold requested project documents and
records?"

            No

      19.   "Did the Reid Defendants fraudulently transfer real estate to conceal
assets?"

            No




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    20.    "Was the Reid Defendants' conduct in commerce or did it affect
commerce?"

            No

      21.   "Was the Reid Defendants' conduct a proximate cause of the plaintiffs
injury?"

            n/a

      22.    "In what amount has the plaintiff been injured by the Reid Defendants
for unfair or deceptive trade practices which have proximately caused damage to
Plaintiff?"

            n/a

       G.   FRAUDULENT TRANSFER

     23.    "Were the Reid Defendants' transfers of 1720 Pegram Street, 1413
Catherine Simmons, 626 Char Meck, 1228 Clanton Rd., 2586 Hemphill Street, and
9809 E. W.T. Harris Blvd. fraudulent transfers?"

            No

       H.   BREACH OF CONTRACT-SPEND MANAGEMENT SOLUTIONS

       24.   "Did the plaintiff and the defendant Spend Management Solutions
enter into a contract under which Defendant Spend Management Solutions would
provide construction management related services?"

            No

      25.    "Did Defendant Spend Management Solutions breach a contract for
construction management services with the plaintiff?"

            No

      26. "Was the defendant Spend Management Solutions' failure to perform a
material term of the contract caused by the conduct of the plaintiff?"

            Yes




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       27. "What amount is the plaintiff entitled to recover from Spend
Management Solutions for breach of the contract for construction management
services?"
           n/a

      Prior to the return of the jury verdict, the Reid Defendants and Spend

Management Solutions filed Motions for Directed Verdict. After a hearing, the

Court entered an oral Order on the Directed Verdict Motions. The written Order on

the Directed Verdict Mdtions is being entered contemporaneously with this Final

Judgment.

      Following the return of the jury verdict, Y2 Yoga filed a Motion for New Trial,

a Motion for Judgment Notwithstanding the Verdict on Attachment Issues, and a

Motion for Costs. After a hearing, the Court entered an Order on Post-Verdict

Motions. The Order on Post- Verdict Motions is being entered contemporaneously

with this Final Judgment.

      Based on the foregoing,

      IT IS THEREFORE ORDERED, based on the verdict of the jury that

judgment is entered for Defendant Spend Management Solutions on Plaintiff Y2

Yoga's claim for breach of contract.

      IT IS FURTHER ORDERED, based on the verdict of the jury, that judgment

is entered for the Reid Defendants on Plaintiff Y2 Yoga's claims for fraud, negligent

misrepresentations, conversion, fraudulent transfer, punitive damages, and unfair

or deceptive trade practices.

      IT IS FURTHER ORDERED, based on the verdict of the jury, that judgment

is entered for Plaintiff Y2 Yoga against the Reid Defendants for breach of contract,

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and damages in the amount of $396,649.57, with interest at the legal rate of 8%

from and after the date of breach, March 21, 2014, are awarded to Plaintiff Y2 Yoga.

      IT IS FURTHER ORDERED that Plaintiff Y2 Yoga's costs of this action are

taxed to the Reid Defendants based on this judgment upon separate application by

Plaintiff Y2 Yoga. This-judgment represents a complete and final disposition of all

claims and issues in this action,

      Dated:




                                       The Honorable Judge Donni Hoover
                                       Superior Court Judge, Presiding




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 STATE OF NORTH CAROLINA                        ,PME'C           COURT OF JUSTICE
                                                  SUPERIOR COURT DIVISION
 COUNTY OF MECKLENBURG               1pirt           CASE
                                                        , e NO, 16-CVS-23179
                                     /41 ,)      u L„
 Y2 YOGA COTSWOLD, LLC,           . !ECt(t !

           Plaintiff,

 v.

 VINROY W. REID; VR KING                       ORDER ON POST-VERDICT MOTIONS
 CONSTRUCTION LLC; VR
 INVESTMENTS, LLC; BARANKO
 ENTERPRISE INC,, and SPEND
 MANAGEMENT SOLUTIONS, LLC,

         Defendants.

         Having considered Plaintiff Y2 Yoga Cotswold, LLC's Motion for New Trial,

Motion for Judgment Notwithstanding the Verdict on Attachment Dissolution

IsSues, and Motion for Costs, on Friday, November 30, 2018, the Court rules as

follows:

        PurSuant to Rule 59 of the North Carolina Rules of Civil Procedure, and in in

this Court's discretion, Plaintiffs Motion for New Trial is DENIED.

        Pursuant to Rule 50 of the North Carolina Rules of Civil Procedure, and

viewing the evidence in a light most favorable to the Non-Movant Defendants, the

evidence of record, and the arguments of counsel, there is more than a scintilla of

evidence by which the jury could determine factual isssues related to Pre-Judgment

Attachment and Plaintiffs Motion for Judgment Notwithstanding the Verdict on

Attachment Issues is DENIED.

        Nothing in this Order, however, is intended to or will be construed to affirm,

confirm, dissolve, dismiss, or set aside the Orders of Attachment entered in
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connection with this action. Further, nothing in this Order is intended to restrict,

bar, or limit the United States Bankruptcy Court for the Western District of North

Carolina from affirming, confirming, dissolving, modifying, dismissing, or setting

aside the Orders of Attachment in this matter.

      The Motion for Costs is DENIED IN PART AND GRANTED IN PART. Y2

Yoga is awarded costs of $23,131.98, as follows:

          Description                                            Amount
             Facilities fee                                       $16.00
             Initial filing and LAA. fees                        $180.00
             Certified mail service                               $87.10
             Process fees                                        $120.00
             Other sheriffs fees                                 $165,00
             Hearing fees                                         $40.00
          Mediation costs                                        $262.50
          Deposition costs                                    $14,027.80
          Trial exhibits                                       $2,368.22
          Expert witnesses
          L. Steven Moore, P.E., RRC, REWC
          • Testimony time and related compensation and        $3,491.86
            allowances
          Nicholas R. Harris, CPA, CFA, CFE
          • Testimony time and related compensation and $2,373.50
            allowances
          Total                                         $23,181.98

      The Court finds the costs described above to be reasonable and necessary,

and awards them as a matter of course and in its discretion, pursuant to N.C. Gen.

Stat. §§ 6-1, 6-20, 7A-305, and 7A-314, and based on the stipulation of counsel for

Plaintiff and the Defendants Vinroy W. Reid, VR King Construction LLC, VR

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Investments LLC, and Baranko Enterprise, Inc. (together, the "Reid Defendants")

at the hearing on this matter.


       The amount of these costs, $23,131.98, is to be taxed jointly and severally

against the Reid Defendants.

       IT IS SO ORDERED.
             epeemi
   •   Dated:



                                             4414 141-1
                                      The Honorable  Judge Donnie Hoover
                                      Superior Court Judge, Presiding




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served upon all counsel of

record by facsimile and by depositing a copy of the same in an official depository of the U.S.

Mail in a postage-paid envelope addressed as follows:

                    Facsimile: (404) 888-6199
                    Gillian S. Crowl
                    Swift Currie McGhee & Hiers LLP
                    1355 Peachtree Street NE, Suite 300
                    Atlanta, Georgia 30309
                    Attorney for Spend Management Solutions, LLC

                    Facsimile: (704) 208-4645
                    David G. Guidry
                    Rabon Law Firm, PLLC
                    225 East Worthington Avenue, Suite 100
                    Charlotte, North Carolina 28203
                    Attorney for Y-2 Yoga Cotswold, LLC
                  ❑d
       This the 22 day of February, 2019.



                                                        C477t4...9
                                                        CHRISTOPHER J. CAMPBELL




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                     Exhibit “C”
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STATE OF NORTH CAROLINA                         IN THE GENERAL COURT OF JUSTICE':
                                                    SUPERIOR COURT DIVISION
COUNTY OF MECKLENBURd.                                    14 CVS 23138

Y-2 YOGA COTSWOLD, LLC;

               Plaintiff,

vs.

                                                       AMENDED COMPLAINT
VINROY W. REID, individually, VR
KING CONSTRUCTION, LLC, and VR
INVESTMENTS, LLC,

               Defendants,


        COMES NOW Plaintiff, by and through undersigned counsel, pursuant to Rule 15 of the

North Carolina Rules of Civil Procedure, and amends the complaint and avers as follows:

                            PARTIES, JURISDICTION, AND VENUE

       1.      Plaintiff, Y-2 Yoga Cotswold, LLC ("Y-2 Yoga"), is a North Carolina limited

liability company organized and existing under the laws of the State of North Carolina with its

principal place of business in Mecklenburg County, North. Carolina.

       2.      Defendant Vinroy Washington Reid ("Reid") is a resident of North Carolina

residing in Charlotte, Mecklenburg County, North Carolina.

       3.      Defendant, VR King Construction, LLC ("King"), is a limited liability company

organized and existing under the laws of the State of North Carolina with its principal place of

business in Mecklenburg County, North Carolina. Upon information and belief, King is duly

licensed by the North Carolina Licensing Board for General Contractors to perform general

contracting work in North Carolina and holds license number 60597. Reid serves as registered

agent and managing member of King.
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      4,       Defendant, VR Investments, LLC ("VR Investments") is a limited liability

company organized and existing under the laws of the State of North Carolina, Reid serves as

registered agent and managing member of VR Investments.

      5.      This court has jurisdiction over this dispute and venue is proper in Mecklenburg

County, North Carolina,

      6.      All conditions precedent to the bringing of this action have been performed, have

occurred or have been waived.

      7.      This action is brought within the applicable statute of repose.

                                   GENERAL ALLEGATIONS

      8.       Y-2 Yoga offers yoga classes and other health and well-being services to Y-2

Yoga's members and to the general public,

      9.       Y-2 Yoga leases retail space in the Cotswold Shopping Center, located at 280 S.

Sharon Amity Road, Charlotte, Mecklenburg County, North Carolina 28211,

      10.      Y-2 Yoga retained Spend Management Solutions, LLC ("SMS") to provide

business consulting services to Y-2 Yoga, including consulting services concerning Y-2 Yoga's

expansion plans.

      11.      Y-2 Yoga acquired a leasehold interest in larger rental space adjoining Y-2

Yoga's existing location for the purpose of improving the space to include additional class

rooms, a food bar, locker rooms, a spa, and other amenities (the "Project").

      12.      Y-2 Yoga, having very limited knowledge of the construction industry, contracted

with SMS for assistance with the selection of a contractor and other administrative and logistical

services concerning the Project.




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      13.      With SMS' assistance and guidance, Y-2 Yoga obtained lump sum bids from

three contractors for the Project. King submitted the lowest bid.

      14.      Upon information and belief, in estimating the Project costs, King failed to obtain

fi rm bids from one or more subcontractors and failed to conduct the necessary research, analysis,

and due diligence necessary to properly estimate Project costs.

      15.      Y-2 Yoga, as owner, entered into a lump sum construction contract (the

"Contract") with King, as general contractor, whereby King promised to construct the Project in

exchange for payment of $1,388,464.10. The stated Contract amount of $1,304,464.50 reflected

credits clue to Y-2 Yoga for up-front payments and amounts previously paid to King for

demolition work.

      16.      King and Y-2 Yoga incorporated into the Contact an agreed upon schedule of

values which allocated the scope of work for the Project into its constituent tasks, and assigned

each task a scheduled value which added up to the Contract sum of $1,388,464.10.

      17.      King started work on the Project in or about August 2013.

      18.      King submitted to Y-2 Yoga eight periodic payment applications on or about the

following dates: September 5, 2013, September 27, 2013, October 28, 2013, November 25, 2013,

January 16, 2014, February 25, 2014, March 19, 2014, and May 15, 2014.

      19.      King submitted seven requests for change orders to Y-2 Yoga.

      20.      Y-2 Yoga furnished SMS with copies of King's payment applications and

requests for change order when received, SMS, in turn, reviewed the payment applications and

requests for change order and advised Y-2 Yoga on how to proceed.




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      21.      In early 2014, Y-2 Yoga grew concerned about construction delays, the accuracy

of King's payment applications and requests for change order, the ability of King to construct the

Project, and the lack of adequate supervision of the work.

      22.      Y-2 Yoga requested documentation from King to substantiate King's payment

applications and requests for change order. King failed to provide the requested documentation

and ultimately stopped performing work on the Project.

                                FIRST CLAIM'FOR RELIEF
                              (Breach of Contract Against King)

      23.      Plaintiff incorporates and alleges paragraphs I through 22 as though fully set forth

herein.

      24.      King materially breached the contract by, among other things, failing to furnish

labor, materials, and equipment to the Project pursuant to the requirements of the Contract,

failing to complete the Project in the required time, failing to provide supervision of the Project,

failing to submit accurate payment applications, failing to pay subcontractors and suppliers,

failing to coordinate subcontractors and suppliers, failing to comply with the building code, and

ultimately abandoning the Project.

      25.      As a result of King's material breaches of the Contract, Y-2 Yoga has suffered

compensatory damages in excess of $1 million, including amounts paid by Y-2 Yoga to

complete the Project and to repair or replace King's defective work.

      26.      As a result of King's material breaches of the Contract, and King's failure to

complete the Project in the time required, Y-2 Yoga has suffered loss of profits for the time the

Project should have been completed but was not.

      27.      Y-2 Yoga demands interest, costs, and attorneys' fees in accordance with the

provisions of the Contract and applicable law.



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                             SECOND CLAIM FOR RELIEF
                         (Common Law Fraud Against Reid and King)

      28,       Y-2 Yoga incorporates and alleges paragraphs 1 through 22 as though fully set

forth herein.

      29.       Reid and King knew that the actual cost required to construct the Project would be

higher than the Contract sum.

      30,       Reid and King knew that funds required to pay subcontractors and suppliers

would run out and the Project would fail unless King obtained from Y-2 Yoga funds greater than

the Contract sum.

      31.       Reid and King, being previously acquainted with SMS personnel, knew that SMS

was not qualified to administer a construction project of this type,

      32.       Reid and King knew that SMS lacked the skill and experience required to

properly and competently advise Y-2 Yoga on payment applications, contract administration,

workmanship, scheduling, materials selection, and other aspects of a commercial construction

project.

      33.       Reid and King knew that Y-2 Yoga's representative taught yoga and fi tness

classes for Y-2 Yoga and lacked experience in commercial construction projects.

      34.       Reid and King knowingly submitted inaccurate payment applications and

unjustified requests for change order to Y-2 Yoga as a means to procure from Y-2 Yoga funds

greater than the Contract sum.

      35.       Reid and King intentionally billed Y-2 Yoga twice for the same work by changing

the description. For example, Reid and King billed Y-2 Yoga for "soil exploration" in the first

payment application and later as a change order for "move plumbing for footings." Similarly,

Reid and King billed Y-2 Yoga for "refill and compact, with stone" in the first payment



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application and later in the fourth payment application as a change order for "refill footing with

washed stone, dowel into existing footing, reroute or cut pipe."

     36.        Reid and King intentionally misrepresented the value and completion percentage

of work and materials "completed and stored to date" in every payment application submitted to

Y-2 Yoga.

     37.        To conceal the inaccuracies of the payment applications, Reid and King employed

sleight of hand maneuvers such as installing over areas before rough in work or wiring had been

installed between the wall studs.

      38.       Reid and King intentionally omitted or decreased the value of work from

previously submitted payment applications to artificially inflate the scheduled value for certain

items. For example, the scheduled value for "I-1VAC — Subcontract" throughout all payment

applications was $240,000.00. By the fourth payment application, after employing their

deceptive billing practices, Reid and King billed and were paid $585,041.20 for "I-1VAC —

Subcontract."

      39.       Using the methods described above, Reid and King fraudulently billed Y-2 Yoga

for, among other scheduled items: superintendent; plan printing, building permitting, signage

allowance, millwork materials, storefront materials, roof leader allowanc-e, tool rental,

demolition, concrete, masonry, carpentry materials, door material and labor, paint, restroom

accessories, plumbing, electrical, fi re alarm, interior walls, acoustical ceiling materials, flooring

materials, shower and cold room tile, vertical platform, heating, ventilation and air conditioning,

fire sprinklers, electrical, soil investigation, refilling and compaction of soil, and dumpster

containers.




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      40.        As the Project progressed, Reid and King inserted items into the schedule of

values without requesting a change order. For example, in the seventh payment application, Reid

and King billed Y-2 Yoga $10,000.00 for "profit and overhead." The unilaterally inserted items

exceed $45,000.00.

      41.        Over the course of the Project, Reid and King submitted eight payment

applications totaling $3,316,630.77,

      42,        The sum of the amount requested in the eight payment applications submitted to

Y-2 Yoga exceeds the original Contract sum by $1,950,725.77.

      43,        The sum of the amount requested in the eight payment applications submitted to

Y-2 Yoga exceeds the Contract sum, as adjusted by change orders one through six, by

$1,805,550.57.

      44,        The sum of the amount requested in the eight payment applications submitted to

Y-2 Yoga exceeds the original Contract sum plus approved and rejected change orders by

$1,682,320,57.

     45.         To camouflage their manipulations of the scheduled values, and to minimize the

appearance of an increase in the purported Contract sum, Reid and King deleted from the eighth

payment application scheduled values for plan printing, roofing upgrades, storefront installation,

operable partition, acoustical ceiling, flooring, wall painting, restroom accessories, soil

exploration, and refilling and compacting with stone. Based upon these manipulations alone, and

without regard to the other fraudulent acts committed by Reid and King, Y-2 Yoga suffered

damages of $741,768,30.

      46,        In the spring of 2014, Y-2 Yoga and SMS made repeated requests to Reid and

King for documentation demonstrating that the Project funds paid to King were actually spent on




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the Project. Reid and King failed and refused to provide the requested documentation. Instead,

Reid and King submitted the eighth payment application to Y-2 Yoga requesting payment of an

additional $611,419.74.

      47,      The concealments and misrepresentations of Reid and. King were reasonably

calculated to deceive Y-2 Yoga.

      48.      The concealments and misrepresentations were done with intent to deceive and

with the intent that Y-2 Yoga act upon the concealments and misrepresentations.

      49,      Y-2 Yoga reasonably relied upon and was in fact deceived by the concealments

and misrepresentations of Reid and King,

      50,      Y-2 Yoga suffered principal damages in excess of $25,000.00 proximately caused

by Reid's and King's concealments and misrepresentations.

      51.      Reid and King participated in the fraud and the fraud was related to the above-

stated compensatory damages.

      52.      Y-2 Yoga is entitled to recover punitive damages from Reid and King pursuant to

section ID-5 of the North Carolina General Statutes,

                              THIRD CLAIM FOR RELIEF
        (Alternative Claim for Negligent Misrepresentation Against Reid and King)

      53.      Y-2 Yoga incorporates paragraphs 1 through 22 of this Complaint and those

portions of paragraphs 35 through 45 describing misrepresentations in payment applications as

though fully set forth herein,

      54.      In the alternative to the preceding claim against Reid and King for common law

fraud, Y-2 Yoga asserts a claim against Reid and King for negligent misrepresentation.

      55.      Reid and King knew and intended for Y-2 Yoga to rely upon the representations

contained in the payment applications.



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      56.      Reid arid King were obligated to exercise due care with respect to representations

contained in the payment applications,

      57.       Reid and King failed to exercise reasonable care and competence in preparing the

payment applications,

      58.      Y-2 Yoga justifiably relied upon the representations of Reid and King arid, in

reliance on thereon, made payments for work not earned.

      59.       Y-2 Yoga's justifiable reliance upon Reid's and King's misrepresentations caused

Y-2 Yoga to incur financial damage.

      60.       In the spring of 2014, Y-2 Yoga and SMS made repeated requests to Reid for

documentation demonstrating that the Project funds paid to King were spent on the Project. Reid

and King failed to provide the requested documentation.

      61.       By reason of the foregoing, Y-2 Yoga had been damaged in an amount in excess

of $25,000.00, plus interest, attorneys' fees, and costs.

                              FOURTH CLAIM FOR RELIEF
             (Violation of N.C. Gem Stat. § 75-1,1 et seq. Against Reid and King)

      62.       Y-2 Yoga incorporates paragraphs 1 through 51 of this Complaint as though fully

set forth herein,

      63.       Reid and King engaged in unfair or deceptive acts or practices in violation of

section 75-1.1 et seq. of the North Carolina General Statutes with respect to Y-2 Yoga,

including:

                a.      Obtaining property by false pretenses in violation of section 14100 of the

                        North Carolina General Statutes;

                b,      Committing common law fraud; and

                c.      Engaging in trickery, artifice, and deceit for pecuniary gain.



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      64,       Reid's and King's acts were in or affected commerce.

      65,       Asa result of Reid's and King's unfair and deceptive trade practices, Y-2 Yoga

has suffered damages in the principal amount in excess of 525,000.00.

      66,       Y-2 Yoga requests that damages suffered by Y-2 Yoga as a result of Reid's and

King's unfair or deceptive trade practices be trebled as required by section 75-16 of the North

Carolina General Statutes,

      67.       Y-2 Yoga requests an award of attorneys' fees as permitted by section 75-16A of

the North Carolina General Statutes.

                                 FIFTH CLAIM FOR RELIEF
                     (Piercing the Corporate Veil Against All Defendants)

      68.       Y-2 Yoga incorporates paragraphs 1 through 67 of this Complaint as though fully

set forth herein.

      69.       Reid exercises complete domination and control over the finances, policies, and

business practices of King and VR Investments (collectively the "LLC Defendants") to such a

degree that the LLC Defendants operate merely as an alter ego of Reid.

      70,       Reid serves as managing member of King,

      71,       Reid serves as managing member of VR Investments,

      72.       Dealings among the LLC Defendants are not arms-length transactions, but rather

entered for the purposes of concealing assets and defrauding creditors. For example, King

conveyed parcel number 081-166-94 to VR Investments without payment or other consideration,

      73.       The LLC Defendants operate with no independent will, and are financially

dependent on Reid,




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      74,      Based upon Y-2 Yoga's most recent assessment, Reid and King tnisappropriatecl

approximately $900,000.00 to $1 million from Y-2 Yoga. Reid and King refuse to account for

',re Project funds paid by Y-2 Yoga.

      75.      Upon information and belief, and based upon Reid's representations in early 2014

that king had insufficient funds to complete the Project or pay amounts due to subcontractors or

suppliers, Reid directed Project funds paid by Y-2 Yoga to King out of King and toward Reid's

other businesses or personal pursuits.

      76.      The aforesaid acts justify piercing the corporate veil and holding all Reid and the

I.,1..0 Defendants liable for the damages suffered by Y-2 Yoga.

       WHEREFORE, Y-2 Yoga prays as follows:

       A.      That the Court exercise its equitable power to pierce the corporate veils such that

               Reid and both LLC Defendants be jointly and severally liable for all damages

               awarded to Y-2 Yoga, whether statutory, in contract, in tort, or any combination

               thereof;

               That judgment be entered     in favor of Y-2 Yoga and against Defendants for
               compensatory damages in an amount to be proved at trial;

               That Y-2 Yoga be awarded punitive damages against Reid and the 1,1_,C

               Defendants pursuant to section 1D-5 of the North Carolina General Statutes on Y-

               2 Yoga's common law fraud claim;

               That Y-2 Yoga be awarded treble damages against Reid and the LLC Defendants

               pursuant to section 75-1.6 of the North Carolina General Statutes;

               That Y-2 Yoga be awarded attorneys' fees pursuant to section 75-16.1 of the

               North Carolina General Statutes;




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 F.    That Y-2 Yoga be allowed to elect its remedies upon the reading of the verdict;

 G.    For an award of interest and costs;

 H,    Fora trial by jury on all issues so triable; and

 1     For such other and further relief as this Court may deem just and proper.

 DATED this r4•1tt''
                  day of January, 2015.



                          HORA         TALLEY,                 LOWNDES, P.A.



                                re             t
                              2600 0       Ally Fargo Center
                              301 S       ege Street
                              Charilot e, NC 28202
                              (704) 377-2500 (telephone)'
                              (704) 372-2619 (facsimile).
                              gshelton@horacktalley,com

                               ATTORNEYS FOR.PLA1NTIFF




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                                 CERTIFICATE OF SERVICE

       Pursuant to Rule 5(b) of Section 1A-1 of the North Carolina General Statutes, I certify

that on this date, I served a copy of the foregoing and attached Amended Complaint on the

defendant Vinroy W. Reid, by depositing a copy thereof, enclosed in a pre-paid envelope, in an

official depository under the exclusive care and custody of the United States Postal Service,

properly addressed as follows:


                                       Vinroy W. Reid
                                       7407 Boswell Road
                                       Charlotte, NC 28215
                                       (Defendant)

                                       Fenton T. Erwin, Jr., Esq,
                                       Erwin, Bishop, Capitano & Moss, P.A.
                                       4521 Sharon Road
                                       Suite 350
                                       Charlotte, NC 28211


       DATED this 27° day of January, 2015.



                                 110     CK, TALLEY, P: IA            1   WNDES, PA.




                                                 ihe/
                                                             —
                                       Grego L.         on
                                       2600 One      s Fargo Center
                                       301 S. Clle-e Street
                                       Charlotte, 4C 28202
                                       (704) 377- 500. (telephone)
                                       (704) 714-7935 (facsimile)
                                       gshelton@horacktalley.com

                                       ATTORNE'YS FOR PLAINTIFF




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                     Exhibit “D”
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                                      -iLED
  STATE OF NORTH CAROLINA
  STATE OF                                             IN THE
                                                       IN  THE GENERAL
                                                                GENERAL COURT OF OF JUSTICE
                              ZPIii           -b
                                               'b P      _ 2 SUPERIOR COURT DIVISION
                                                      3- 52
  COUNTY
  COUNTY OF MECKLENBURG                                               16-CVS-23179
                                                                  NO. 16-CVS-23179
                            ^ECKL-.;•. % 1.
  Y2 YOGA COTSWOLD,
  Y2 YOGA COTSWOLD, LLC,
                               BY
  Plaintiff,

  v.

  VINROYW.
  VINROY W. REID;                                       SECOND AMENDED VERIFIED
                                                        SECOND AMENDED VERIFIED
  VR
  VR KING
     KING CONSTRUCTION
          CONSTRUCTION LLC;                                    COMPLAINT
                                                               COMPLAINT
  VR INVESTMENTS, LLC;
  VR INVESTMENTS,
  BARANKO
  BARANKO ENTERPRISE
           ENTERPRISE INC.,
                       INC., and
  SPEND MANAGEMENT
  SPEND MANAGEMENT
  SOLUTIONS, LLC,
  SOLUTIONS, LLC,

  Defendants.
  Defendants.

        Plaintiff Y2 Yoga
        Plaintiff Y2 Yoga Cotswold, LLC amends its Complaint under Rule 15 and

states as follows:
          follows:

                       PARTIES,
                       PARTIES, JURISDICTION,
                                JURISDICTION, AND VENUE
                                              AND VENUE

        1.     Plaintiff Y2 Yoga
               Plaintiff Y2 Yoga Cotswold,
                                 Cotswold, LLC
                                           LLC is
                                               is a North Carolina limited liability

company
company doing business in Charlotte, Mecklenburg County, North
                                                         North Carolina.

        2
        2.     Defendant
               Defendant Vinroy Washington Reid is a resident and citizen of

Charlotte,
Charlotte, Mecklenburg
           Mecklenburg County, North Carolina.
                                     Carolina.

        3.     Defendant VR King
               Defendant VR      Construction LLC
                            King Construction LLC is a
                                                     a North Carolina limited

liability company with its principal office
                                     office located at 9809 E. W.T. Harris Boulevard,

Charlotte, Mecklenburg
Charlotte, Mecklenburg County, North Carolina 28227. Mr.
                                                     Mr. Reid
                                                         Reid is
                                                              is the registered

agent and
agent and sole managing member
          sole managing member of
                               of VR King Construction. VR King Construction

holds an
holds an unlimited general
                   general contractor license, number 60597, issued by the North

Carolina Licensing Board for General Contractors.
Carolina



                                                                                     MAP 1 2 2018
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     4
     4.     Defendant VR Investments,
            Defendant VR                  is aa North
                                      LLC is
                         Investments, LLC                      limited liability
                                                North Carolina limited

company created by
company created by Mr. Reid in
                   Mr. Reid    March 2014 with its principal office located at 9809
                            in March

E. W.T. Harris
E. W.T.                   Charlotte, Mecklenburg County, North Carolina 28227.
        Harris Boulevard, Charlotte,

Mr. Reid is
Mr. Reid is the registered agent and
            the registered           sole managing member of VR Investments.
                                 and sole

     5.      Defendant Baranko Enterprise
             Defendant Baranko            Inc. is
                               Enterprise Inc.       North Carolina corporation with
                                               is aa North

its principal office
its principal        located at 9809
              office located         E. W.T. Harris Boulevard, Charlotte, Mecklenburg
                                9809 E.

County, North
County, North Carolina        Baranko Enterprise is
                       28227. Baranko
              Carolina 28227.                    is solely owned and controlled by

Mr. Reid.

     6.
     6.      Defendant                  Solutions, LLC is a North Carolina
                       Spend Management Solutions,
             Defendant Spend

limited liability
limited                   with its principal office located at 212 S. Tryon Street,
        liability company with

#1510, Charlotte,
#1510,                        County, North Carolina 28281.
       Charlotte, Mecklenburg County,

     7.
     rj
             The Court has jurisdiction over this dispute and venue is proper in
             The

Mecklenburg County, North
Mecklenburg         North Carolina.

                           GENERAL ALLEGATIONS
                           GENERAL ALLEGATIONS

     g
     8.      Y2 Yoga
             Y2             yoga classes
                     offers yoga
                Yoga offers                        health and well-being services,
                                             other health
                                         and other
                                 classes and

          food and
clothing, food
clothing,                     and other goods and services to its members and to the
               and beverages, and

general public.
        public.

     9
     9.      At all
             At              times, Y2
                all relevant times,         has operated its business in Cotswold
                                    Y2 Yoga has

Shopping Center,
Shopping         located at
         Center, located at 280 S. Sharon
                            280 S.              Road, Charlotte, Mecklenburg
                                   Sharon Amity Road,

County, North Carolina, 28211.
                        28211.

     10.     In the
             In               2012, in response to increased demand for its services,
                the summer of 2012,

Y2 Yoga
Y2 Yoga began            and executing a strategic plan to expand its business. As
        began developing and

                                          2
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part of
part of its
        its plan,
            plan, Y2
                  Y2 Yoga
                     Yoga began
                          began evaluating
                                evaluating the
                                           the option
                                               option of
                                                      of relocating to a retail
                                                                         retail space

within Cotswold
within Cotswold Shopping
                Shopping Center
                         Center adjacent
                                adjacent to
                                         to and
                                            and larger
                                                larger than the
                                                            the space
                                                                space it
                                                                      it occupied
                                                                         occupied

at that
at that time.
        time. The
              The larger
                  larger space
                         space would
                               would allow
                                     allowY2
                                           Y2 Yoga
                                              Yoga to
                                                    to have
                                                       have additional and
                                                                       and larger yoga
                                                                                  yoga

studios, to
studios, to offer
            offer more
                  more classes
                       classes with
                               with larger
                                    larger class
                                           class sizes,
                                                 sizes, to
                                                        to accommodate
                                                           accommodate more
                                                                       more members

and customers,
and customers, and
               and to
                   toincrease
                      increase and
                               and expand
                                   expand its
                                          its health
                                              health and
                                                     and well-being
                                                         well-being service offerings,
                                                                            offerings,

retail goods
retail goods offerings,
             offerings, and
                        and food
                            food and
                                 and beverage
                                     beverage sales.
                                              sales.

    11.
    11.      To assist
             To assist Y2
                       Y2 Yoga
                          Yoga with
                               with its
                                    its strategic
                                        strategic expansion
                                                  expansion plans, Y2 Yoga engaged

Spend Management
Spend Management Solutions to provide
                 Solutions to provide it
                                      it with
                                         with construction project management,

business operations
business operations management,
                    management, financial
                                 financial advice, and consulting services, in

exchange for aa monthly
exchange for    monthly fee.
                        fee.

    12.
    12.      By late
             By      November 2012,
                late November 2012, Y2
                                    Y2 Yoga had acquired a leasehold interest in a

larger retail
larger retail space in Cotswold
              space in Cotswold Shopping Center for
                                Shopping Center for the purpose of improving and

renovating
renovating the space to
           the space to accommodate
                        accommodate yoga
                                    yoga exercise
                                         exercise rooms, a food bar, locker rooms,

aa spa, and other
   spa, and other amenities
                  amenities (the "Project").
                            (the "Project").

    13.
    13.      Y2 Yoga
             Y2 Yoga relied
                     relied on
                            on Spend
                               Spend Management Solutions' knowledge and advice

for
for assistance
    assistance and
               and services
                   services related
                            related to
                                    to the Project, including but not
                                                                  not limited to, the

selection
selection and
          and management
              management of
                         of aa general contractor, space planning, communication

and
and coordination
    coordination with
                 with the
                      the architect, scheduling, cost control and analysis, quality

control,
control, as
         as well
            well as
                 as other
                    other construction
                          construction project
                                       project management services for the Project.

    14.
    14.      Spend
             Spend Management
                   Management Solutions
                              Solutions held itself
                                             itself out to Y2 Yoga as being

capable,
capable, qualified,
         qualified, and
                    and able
                        able to
                             to competently provide these and all other services it
                                                                                 it

offered
offered and
        and attempted
            attempted to
                      to provide.
                         provide. As
                                  As Y2
                                     Y2 Yoga's construction project manager,

                                           33
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consultant, and advisor,
consultant, and          Spend Management
                advisor, Spend            Solutions gained and held a position of
                               Management Solutions                            of

      and confidence with Y2 Yoga. Spend Management Solutions' knew and
trust and
trust

           that it
understood that it was acting in
                   was acting    this trusted, fiduciary capacity for Y2 Yoga, and
                              in this

                              in regards to Y2 Yoga and others involved with the
                  and conduct in
through its words and

        accepted and
Project accepted
Project                                     and responsibility.
                                  this role and
                 and acknowledged this

    15.
    15.      In mid-January 2013, after three general contractors had been selected
                mid-January 2013,

       on the Project, Spend Management Solutions' consultant Walter H. Rasby, III,
to bid on

notified
notified Y2           Spend Management Solutions would be adding a fourth general
         Y2 Yoga that Spend

            VR King
contractor, VR
contractor,                                   on the Project. VR King Construction
                                  as a bidder on
               King Construction, as

was the
was     only general contractor that Spend Management Solutions proposed as a
    the only

bidder. Neither
bidder.         Mr. Rasby
        Neither Mr.       nor anyone
                    Rasby nor             with Spend Management Solutions
                              anyone else with

              existence and extent of Mr. Rasby's and Spend Management Solutions'
disclosed the existence
disclosed

                      Reid, who owns and controls VR King Construction.
                  Mr. Reid,
relationship with Mr.

    16.                                      to the final list of bidders, Spend
             With VR King Construction added to

           Solutions proceeded to "lead the process" for evaluating the
Management Solutions
Management

qualifications     bids of
               and bids
qualifications and         the general
                        of the                     and selecting aa general contractor
                               general contractors and

for the
for     Project. Among
    the Project.                     Spend Management Solutions prepared the "RFP
                       other things, Spend
                 Among other

                       and coordinated
package," communicated and
package,"                              with the architect on drawings and changes
                           coordinated with

to drawings, analyzed and
to                                  the bids, and advised Y2 Yoga on selecting a
                      and evaluated the

general contractor based
general                                     to meet the schedule, and the team's
                   based on "price, ability to

confidence in [the general contractor's] capabilities."



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    17.      Relying
             Relying on
                     on Spend
                        Spend Management
                              Management Solutions'
                                         Solutions' leadership and guidance, Y2

Yoga obtained
Yoga obtained lump
              lump sum bids for
                   sum bids     the Project
                            for the Project from
                                            from four general contractors. By

providing a
providing a lump
            lump sum bid, each
                 sum bid, each general
                               general contractor offered to
                                       contractor offered to complete the Project for

the total
the total amount
          amount stated, inclusive of
                 stated, inclusive of all
                                      all fees,
                                          fees, overhead, and potential profit for the

general contractor.
general contractor. In
                    In doing so, the
                       doing so, the general
                                     general contractor
                                             contractor accepted
                                                        accepted the risk of properly

and accurately
and            understanding the
    accurately understanding the Project
                                 Project drawings, all of
                                         drawings, all of its
                                                          its requirements, and
                                                              requirements, and

associated
associated costs,
           costs, and,
                  and, for aspects of
                       for aspects of the
                                      the Project
                                          Project to
                                                  to be performed by subcontractors,

obtaining firm,
obtaining firm, reliable bids from
                reliable bids from subcontractors
                                   subcontractors to
                                                  to support its bid, and offered to

complete
complete the
         the Project
             Project for the amount
                     for the amount stated. After the general contractor's lump sum

bid is
bid is accepted and agreed
       accepted and        to, the
                    agreed to, the general
                                   general contractor may not
                                           contractor may not unilaterally increase

the contract
the contract amount
             amount or pass cost
                    or pass cost increases
                                 increases on to the owner without the owner's

consent.
consent. Doing
         Doing so requires aa written,
               so requires    written, signed
                                       signed amendment
                                              amendment to
                                                        to the
                                                           the contract,
                                                               contract, known in
                                                                               in

the construction
the construction industry as a
                 industry as a "change order," which also explains the additional work
                               "change order,"

and its associated
and its associated costs.

    18.      In making a
             In making a bid
                         bid for
                             for the
                                 the Project, Mr. Reid
                                     Project, Mr. Reid and VR King Construction

failed to adequately
failed to            review or
          adequately review or understand the Project
                               understand the Project requirements and architectural

drawings,
drawings, failed
          failed to
                 to obtain
                    obtain firm
                           firm bids
                                bids from
                                     from subcontractors
                                          subcontractors and suppliers, and failed to

conduct the research,
conduct the research, analysis,
                      analysis, and
                                and due
                                    due diligence necessary to
                                        diligence necessary to properly bid on the

Project.
Project. In
         In addition, Mr. Reid
            addition, Mr. Reid and YR King Construction used and included amounts
                               and VR

in
in the bid that
           that were less than the actual amounts provided to Mr. Reid and VR King

Construction
Construction by
             by subcontractors
                subcontractors and
                               and suppliers.



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    19.      Aiding and abetting
             Aiding and abetting Mr.
                                 Mr. Reid
                                     Reid and VR King Construction's conduct,

Spend
Spend Management
      Management Solutions
                 Solutions secretly provided competitive bidding information

from
from other
     other bidders
           bidders to
                   to Mr. Reid and
                      Mr. Reid and VR
                                   VR King
                                      King Construction.
                                           Construction. Spend Management

Solutions intentionally and
Solutions intentionally and knowingly provided this bidding information to Mr. Reid
                                                                               Reid

and VR
and VR King
       King Construction
            Construction without
                         without Y2
                                 Y2 Yoga's
                                    Yoga's knowledge
                                           knowledge and
                                                     and did
                                                         did so to give Mr. Reid
                                                                            Reid

and VR
and VR King
       King Construction an unfair
            Construction an unfair advantage in the bidding process and enable

him
him to
    to provide
       provide aa bid
                  bid without
                      without the
                              the due diligence that otherwise would be necessary.

     20.     Mr. Reid and
             Mr. Reid and VR
                          VR King Construction used the secret bidding information
                             King Construction

improperly
improperly provided
           provided to
                    to them by Spend Management Solutions to bid on the Project.
                       them by

     21.     In
             In mid-February
                mid-February 2013,
                             2013, on the advice and recommendation of Spend

Management
Management Solutions, VR King
           Solutions, VR King Construction was selected to be the general

contractor for the Project.

     22.     Shortly after VR
             Shortly after VR King
                              King Construction
                                   Construction was selected, one of the other

bidders questioned
bidders            the selection
        questioned the selection of
                                 of VR King
                                       King Construction. Mr. Rasby responded by

telling Y2
telling Y2 Yoga
           Yoga that
                that Spend
                     Spend Management Solutions
                                      Solutions had "full confidence in VR King's

ability to
ability to do
           do aa great
                 great job
                       job in
                           in the
                              the manner
                                  manner and approach that is a good fit for this project

and you."
and       Mr. Rasby
    you." Mr. Rasby also
                    also added,
                         added, "Ellet's
                                "[IJet's start swinging hammers and see if [VR
                                                                           FR King

                nails go
Construction's] nails go in
                         in straight just
                                     just like
                                          like [the other bidder's] would."

     23.     Contrary
             Contrary to
                      to its
                         its assurances
                             assurances to
                                        to Y2 Yoga,
                                              Yoga, Spend
                                                    Spend Management Solutions
                                                                     Solutions

lacked the
lacked the competency to adequately
           competency to adequately evaluate Mr. ^eid or
                                             Mr.,Reid or VR King Construction's

capabilities ox the
capabilities or the needs
                    needs of
                          of the Project and utterly failed to do so. Spend Management



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Solutions
Solutions had no reasonable
          had no reasonable basis for having
                            basis for having "full
                                             "full confidence" in
                                                               in Mr. Reid or VR King

Construction or
Construction or telling
                telling Y2 Yoga that it did.

     24.     Mr.
             Mr. Reid
                 Reid and VR King
                             King Construction knew that Spend Management

Solutions was
Solutions was not
              not qualified
                  qualified to administer a
                            to administer a construction project and serve as a

construction project
construction project manager and took unfair advantage of that fact at Y2 Yoga's

expense.

     25.     Mr. Reid
             Mr. Reid and
                      and VR
                          VR King
                             King Construction knew that Spend Management

Solutions lacked the
Solutions lacked the skill
                     skill and
                           and experience required to properly and competently advise
                               experience required

Y2 Yoga
Y2 Yoga on
        on payment applications,
                   applications, contract
                                 contract administration, workmanship,

scheduling, materials
scheduling,           selection, and
            materials selection,     other aspects of the Project.
                                 and other

     26.     Relying on Spend
             Relying on Spend Management
                              Management Solutions' faulty assurances and VR

King's misrepresentations,
King's misrepresentations, in
                           in late February 2013, Y2 Yoga entered
                              late February               entered into
                                                                  into an agreement

with VR
with VR King
        King Construction for demolition and other preliminary
             Construction for                      preliminary work related to the

Project (the
Project (the "Demolition Agreement").

     27.     Spend Management Solutions
             Spend Management Solutions drafted the Demolition Agreement.

     28.     Under the
             Under the terms
                       terms of the Demolition
                             of the Demolition Agreement, VR King Construction

agreed
agreed to
       to complete
          complete the
                   the demolition
                       demolition and
                                  and other
                                      other preliminary work on the Project within

two weeks
two weeks at
          at aa cost of $84,000.
                cost of $84,000. As
                                 As Y2 Yoga's
                                       Yoga's construction project manager, Spend

Management Solutions
Management Solutions included
                     included a
                              a provision in
                                          in the
                                             the Demolition Agreement requiring

that Mr.
that Mr. Rasby
         Rasby receive
               receive all
                       all notices
                           notices of
                                   of "schedule or cost impact."
                                      "schedule or

     29.
     29.     Around this
             Around this time,
                         time, VR
                               VR King Construction
                                       Construction engaged its
                                                            its own construction

project manager
        manager for
                for the
                    the Project, Hakeem Bailey with AeroRaq Engineering
                                                            Engineering Inc.

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     30.     VR King
             VR                             demolition and other preliminary
                     Construction performed demolition
                King Construction

                spring of
work during the spring
work                      2013.
                       of 2013.

     31.
     31.     In April
             In       2013, VR
                April 2013,    King Construction originated and issued two change
                            VR King

                   for unforeseeable, additional work. In summary, these change
orders, supposedly for
orders,

orders stated as
orders stated as follows:

 Number
 Number            Date
                   Date                Description
                                       Description        Added time
                                                          Added  time    Added cost
                                                                         Added   cost
    1                3, 2013
               April 3, 2013    Excavate, Identify, cut   3 days
                                                          3 days         $3,326.40
                                     cap underground
                                and cap
                                and
                                plumbing in the way of
                                         footings
                                support footings
                                support
        2            9, 2013
               April 9, 2013    Refill footing with
                                Refill                    10 days
                                                          10 days        $17,352.20
                                washed stone, dowel
                                washed          dowel
                                into existing footing,
                                into
                                reroute  or cut pipe
                                reroute or
 Totals
 Totals                                                   13 days
                                                          13 days        $20,678.60
                                                                         $20,678.60

     32.
     32.     Spend                      received the change orders and evaluated
             Spend Management Solutions received

them.
them.


     33.     Y2 Yoga
             Y2                 relied on Spend Management Solutions in deciding
                     reasonably relied
                Yoga reasonably

whether to
whether    approve the
        to approve     change orders
                   the change            reasonably expected Spend Management
                              orders and reasonably

Solutions
Solutions to notify Y2
          to notify    Yoga if
                    Y2 Yoga    a change
                            if a change order should not be approved. Spend
                                        order should

Management Solutions did not do so.

     34.
     34.     By the end
             By the        May 2013,
                        of May
                    end of                   had paid VR King Construction
                               2013, Y2 Yoga had

$124,000. This
$124,000.      amount covered
          This amount                     of demolition and other preliminary
                              the $84,000 of
                      covered the

      the Demolition Agreement,
under the
under                                   $40,000 credit by VR King Construction
                     Agreement, plus, a $40,000

       the full
toward the
toward                  the Project.
           full cost of the



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    35.     During the summer,
            During the summer, Y2 Yoga worked to
                               Y2 Yoga        to secure           for the full cost
                                                 secure financing for

of              In connection
       Project. In
   the Project.
of the             connection with                 Yoga requested that
                                   its efforts, Y2 Yoga
                              with its                                 VR King
                                                                  that VR

                     detailed schedules, construction plan, timelines, and cost
             provide detailed
Construction provide

information for completion of the Project and relied on Spend Management Solutions

to evaluate
to          this information. VR
   evaluate this                                   and Spend Management
                                 King Construction and
                              VR King

Solutions knew
Solutions              Yoga was attempting to obtain financing and that
          knew that Y2 Yoga

information provided to Y2 Yoga would be used for this purpose.

    36.      In
             In response       Yoga's requests, VR King
                         to Y2 Yoga's
                response to                        King Construction negligently or

knowingly provided
knowingly          false information, intending Y2 Yoga to rely on this information,
          provided false

and
and Y2      did in
       Yoga did
    Y2 Yoga        fact rely
                in fact      on it.
                        rely on     Spend Management Solutions failed to adequately
                                it. Spend

       and evaluate
review and
review                                          VR King Construction.
           evaluate the information provided by VR

    37.      In August
             In              again relying
                August 2013, again         on Spend
                                   relying on                  Solutions', false
                                              Spend Management Solutions

           and VR
assurances and
assurances             Construction's misrepresentations, Y2 Yoga entered into a
                  King Construction's
               VR King

lump     construction agreement
     sum construction
lump sum              agreement with    King Construction (the "Construction
                                with VR King

Agreement").

    38.      Spend Management Solutions drafted
             Spend                              the Construction Agreement,
                                        drafted the

which incorporated
which                  schedule, construction plan, timelines and cost information
      incorporated the schedule,

that
that had been provided
     had been                King Construction.
                       by VR King
              provided by

    39.      Under the terms
             Under the       of the
                       terms of the Construction Agreement, VR King Construction
                                    Construction Agreement,

                                 by November 28, 2013, in exchange for additional
                         Project by
promised to complete the Project

         totaling $1,304,464.50, which, when added to the $84,000 under the
payments totaling

                     resulted in a total Project cost of $1,388,464.50. The
Demolition Agreement resulted

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Construction Agreement also
Construction Agreement also restated
                            restated the
                                     the $40,000 credit that VR.
                                                             VR King Construction

carried in favor
carried in favor of
                 of Y2
                    Y2 Yoga toward the
                       Yoga toward     total Project
                                   the total Project cost.

     40.
     40.     The total Project
             The total         cost of
                       Project cost of $1,388,464.50
                                       $1,388,464.50 was
                                                     was also
                                                         also reflected in the Schedule

of
of Values prepared by
   Values prepared by VR
                      VR King
                         King Construction
                              Construction and
                                           and presented to Y2 Yoga at the outset

of the Project.
of the Project. The
                The Schedule
                    Schedule of
                             of Values allocated
                                       allocated the total agreed-upon scope of work

for the Project
for the Project into
                into its
                     its constituent
                         constituent tasks (e.g, Demolition, Carpentry, Electrical,

HVAC) and
HVAC)     assigned each
      and assigned each task
                        task a "scheduled value"
                             a "scheduled value" corresponding to the agreed-upon

cost
cost for
     for that
         that task,
              task, all
                    all of
                        of which
                           which added
                                 added up to the total Project amount of $1,388,464.50.

     41.     Mr.
             Mr. Reid
                 Reid and
                      and VR King Construction
                          VR King Construction knew
                                               knew and
                                                    and intended that Y2 Yoga

rely
rely on the Schedule
     on the Schedule of Values to
                     of Values    assess and
                               to assess     understand the
                                         and understand the actual progress of the

Project.
Project. In addition, no
         In addition, no changes to an
                         changes to an existing
                                       existing task's "scheduled value" should be

made, nor
made, nor should
          should aa new task with
                    new task with a
                                  a corresponding "scheduled value" be added to the

Schedule
Schedule of
         of Values without a legitimate, approved "change order."

     42.     Under the
             Under the terms
                       terms of
                             of the Construction Agreement,
                                the Construction Agreement, VR
                                                            VR King Construction

agreed
agreed to
       to perform
          perform its work in
                  its work in aa "timely
                                 "timely and
                                         and professional
                                             professional manner," that it had or will

have the
have the "resources,
         "resources, capacity,
                     capacity, expertise,
                               expertise, and
                                          and know-how"
                                              know-how" to
                                                        to complete the Project, that

"time is
"time is of the essence"
         of the          to complete
                essence" to          the Project
                            complete the         by the
                                         Project by the agreed-upon
                                                        agreed-upon deadline of

November 28,
November 28, 2013,
             2013, and
                   and that VR King Construction would be liable to Y2 Yoga for

costs
costs and losses from
      and losses from aa delay in finishing
                         delay in finishing the Project on time.

     43.     In
             In addition,
                addition, under the terms
                                    terms of
                                          of the Construction Agreement, VR King

Construction promised to
Construction promised to have
                         have $2,000,000
                              $2,000,000 of
                                         of general
                                            general liability insurance, with Y2

Yoga named
Yoga named as
           as an additional insured on the insurance policy.

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     44.     In addition, in
             In addition,    the Construction
                          in the Construction Agreement, VR King Construction

represented
represented that it
                 it was bonded in the amount of $1,304,464.50.

     45.     As Y2
             As Y2 Yoga's
                   Yoga's construction
                          construction project manager, Spend Management

Solutions
Solutions included a provision
          included a provision in the Construction
                               in the Construction Agreement requiring that Mr.

Rasby
Rasby receive
      receive all
              all notices of
                          of "schedule
                             "schedule or
                                       or cost impact."

     46.     Mr. Bailey
             Mr. Bailey was
                        was listed as VR
                            listed as VR King
                                         King Construction's
                                              Construction's construction project

manager.

     47.     Over the
             Over the next
                      next several months,
                                   months, at various times and based on invoices

from
from VR King Construction,
     VR King               Y2 Yoga
             Construction, Y2 Yoga made payments to VR King Construction for

the Project.
the Project. Based
             Based on
                   on the
                      the Construction Agreement and Schedule of Values, the parties
                          Construction Agreement

agreed and
agreed and understood that the
           understood that the funds
                               funds provided by Y2
                                     provided by Y2 Yoga were to be used by VR

King Construction
King Construction to
                  to pay subcontractors and suppliers and for specified work and

materials for
materials for the
              the Project
                  Project for
                          for the
                              the benefit
                                  benefit of Y2 Yoga.

     48.     Over the
             Over the course of the
                      course of the Project,
                                    Project, Mr.
                                             Mr. Reid
                                                 Reid and VR King Construction

repeatedly attempted to
repeatedly attempted to increase the costs
                        increase the       of the
                                     costs of the Project over the agreed-upon amount

in
in an
   an effort to conceal
      effort to conceal the negligent or
                        the negligent or fraudulent bid and lack of due diligence, by

issuing "change orders."
issuing "change orders." In
                         In addition,
                            addition, Mr. Reid and
                                      Mr. Reid and VR King Construction also issued

change
change orders with inaccurate
       orders with inaccurate or misleading information intended to deceive Y2 Yoga

and trick it
and trick it into approving Mr.
             into approving Mr. Reid and VR King Construction's defective and

substandard work.




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    49.     In October 2013,
            In October 2013, VR
                             VB, King
                                 King Construction originated and
                                      Construction originated and issued three
                                                                         three

change
change orders
       orders to Y2 Yoga,
              to Y2 Yoga, supposedly
                          supposedly for unforeseeable, additional
                                     for unforeseeable, additional work. In

summary, these
summary, these change orders stated
               change orders        as follows:
                             stated as follows:

 Number
 Number             Date
                    Date                Description
                                        Description          Added time
                                                             Added time    Added cost
                                                                           Added  cost
        3    October
             October 7,
                     7, 2013
                        2013       Materials
                                   Materials cost           0
                                                            0 days        $12,541.20
                                                                          $12,541.20
                                   Increases  due to
                                   Increases due  to
                                   Project
                                   Project delays
                                           delays
        4    October 7, 2013       Level  and
                                   Level and pour first     4
                                                            4 days        $17,352.20
                                                                          $17,352.20
                                   floor concrete
                                   floor concrete
    5        October 30,
             October 30, 2013
                         2013      Steel  Corrections
                                   Steel Corrections        4 days
                                                            4 days        $13,142.80
                                                                          $13,142.80
 Totals
 Totals                                                     8 days
                                                            8 days        $43,036,20
                                                                          $43,036.20

    50.     Spend Management Solutions
            Spend Management           received the
                             Solutions received the change
                                                    change orders
                                                           orders and
                                                                  and evaluated

them.
them.


    51.     Y2 Yoga
            Y2 Yoga reasonably
                    reasonably relied
                               relied on
                                      on Spend
                                         Spend Management Solutions in deciding
                                               Management Solutions

whether to
whether    approve the
        to approve the change
                       change orders
                              orders and
                                     and reasonably
                                         reasonably expected
                                                    expected Spend Management

Solutions
Solutions to
          to notify Y2 Yoga
             notify Y2 Yoga if
                            if the
                               the change
                                   change orders should not be approved. Spend

Management Solutions
Management Solutions did
                     did not
                         not do
                             do so.
                                so.

    52.     In
            In early November 2013,
               early November 2013, VR
                                    VR King
                                       King Construction's
                                            Construction's construction project

manager, Mr.
manager, Mr. Bailey,
             Bailey, abruptly resigned
                              resigned from the Project.

    53.     On
            On November 4, 2013,
               November 4, 2013, Mr.
                                 Mr. Reid         Yoga via
                                     Reid told Y2 Yoga via email to "exclude" Mr.
                                                           email to

Bailey from
Bailey      any further
       from any         communications about the Project, but Mr. Reid did not
                further communications

provide any
provide any other
            other explanation
                  explanation for Mr. Bailey's departure.
                              for Mr.

    54.     At about
            At about the same time,
                     the same time, Mr.
                                    Mr. Bailey
                                        Bailey informed Y2 Yoga via
                                                                via email
                                                                    email that he

and his
and his company, AeroRaq Engineering,
        company, AeroRaq              were "no
                         Engineering, were "no longer
                                               longer retained" by VR
                                                      retained" by VR King



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Construction to
Construction to serve
                serve as construction project manager
                      as construction         manager for the
                                                          the Project. Like Mr. Reid,

Mr. Bailey
Mr.        also did
    Bailey also     not give
                did not      Y2 Yoga
                        give Y2 Yoga any
                                     any additional explanation.
                                                    explanation.

       55.     According to Mr. Bailey's
                         to Mr, Bailey's termination letter, however—which
                                                             however—which Y2 Yoga

has since
has since learned
          learned of—Mr. Bailey resigned
                  of—Mr. Bailey resigned from the Project because of VR King

Construction's "subversive
Construction's "subversive practices and management of
                                                    of contracts" and the

"contractual dishonoring and inconsistency"
             dishonoring and inconsistency" of
                                            of VR King
                                                  King Construction's practices on

the Project.
the Project.

       56.     More particularly,
               More particularly, on
                                  on information
                                     information and
                                                 and belief, Mr. Bailey resigned from

the Project
the         because, as
    Project because, as VR
                        VR King
                           King Construction's construction project
                                Construction's construction project manager, he

discovered, among
discovered, among other
                  other things,
                        things, that
                                that VR King Construction
                                     VR King Construction failed to accurately assess
                                                          failed to            assess

and
and present the Project
    present the Project costs
                        costs and
                              and schedule
                                  schedule to
                                           to Y2 Yoga, was not following industry

standard practices,
standard practices, was
                    was not
                        not competently performing the work on the Project, was not

performing required
performing          work, was
           required work, was performing
                              performing substandard,
                                         substandard, deficient, and defective
                                                      deficient, and

work, was
work,     not adequately
      was not adequately supervising the work
                         supervising the work on
                                              on the
                                                 the Project,
                                                     Project, was mismanaging
                                                                  mismanaging or
                                                                              or

misappropriating Project
misappropriating Project funds
                         funds and
                               and did not have the resources to complete the

Project, and
Project,     was negligently
         and was negligently or
                             or intentionally presenting false information to Y2 Yoga

to induce
to        Y2 Yoga
   induce Y2 Yoga to
                  to approve
                     approve contract
                             contract amendments through illegitimate change
                                                                      change

orders and
orders and to pay additional
           to pay additional amounts
                             amounts on
                                     on the
                                        the Project
                                            Project that Y2 Yoga should not have to

pay.

       57.     Not long
               Not      after Mr.
                   long after Mr. Bailey resigned from
                                  Bailey resigned      the Project,
                                                  from the Project, VR King
                                                                       King

Construction
Construction originated
             originated and
                        and issued to Y2
                            issued to Y2 Yoga
                                         Yoga a sixth change order, supposedly for

unforeseeable, additional
unforeseeable,            work. In
               additional work.    summary, this
                                In summary, this change       stated as
                                                 change order stated    follows:
                                                                     as follows:

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  Number
  Number              Date
                      Date              Description
                                        Description         Added
                                                            Added time
                                                                    time      Added cost
                                                                              Added  cost
    6         November 25,
              November     2013
                       25, 2013     Extend
                                    Extend Floor  to
                                            Floor to        3 weeks
                                                            3 weeks          $60,346.70
                                                                             $60,346.70
                                    create landing for
                                    new
                                    new stairs

       58.    Spend
              Spend Management
                    Management Solutions
                               Solutions received the change
                                         received the change order
                                                             order and
                                                                   and evaluated
                                                                       evaluated

it.


       59.    Y2 Yoga
              Y2 Yoga reasonably
                      reasonably relied
                                 relied on
                                        on Spend
                                           Spend Management Solutions in deciding

whether to
whether to approve the change
           approve the change order
                              order and reasonably expected
                                                   expected Spend Management

Solutions to notify
Solutions to notify Y2
                    Y2 Yoga
                       Yoga if
                            if the
                               the change order should
                                   change order should not
                                                       not be approved. Spend

Management Solutions
Management Solutions did
                     did not do
                             do so.

       60.    By mid-January
              By mid-January 2014, Y2 Yoga
                             2014, Y2 Yoga had
                                           had paid
                                               paid VR
                                                    VR King
                                                       King Construction
                                                            Construction

$1,433,915.50, the
$1,433,915.50, the Project completion deadline
                   Project completion deadline had
                                               had passed (even after
                                                   passed (even after including
                                                                      including the
                                                                                the

additional time
additional time from prior change orders),
                     prior change          and although
                                  orders), and although Y2 Yoga was
                                                        Y2 Yoga was being led to
                                                                          led to

believe the
believe     Project was
        the Project was almost
                        almost finished, it was
                               finished, it was actually
                                                actually nowhere
                                                         nowhere near
                                                                 near complete.

       61.    On
              On January
                 January 15,
                         15, 2014,
                             2014, VR
                                   VR King Construction issued
                                      King Construction issued Y2
                                                               Y2 Yoga
                                                                  Yoga aa seventh
                                                                          seventh

change order
change order summarized as
                        as follows:
                           follows:

  Number            Date
                    Date               Description
                                       Description           Added time
                                                             Added  time      Added cost
                                                                              Added  cost
    7         January
              January 15,
                      15, 2014      [None
                                    [None provided]
                                          provided]         6
                                                            6 weeks
                                                              weeks          $123,230.00
                                                                             $123,230.00

       62.    The seventh change
              The seventh change order
                                 order did not describe
                                       did not describe or
                                                        or list any actual
                                                           list any actual work
                                                                           work or

changes that
changes that were
             were requested
                  requested or necessary. Instead,
                            or necessary. Instead, it
                                                   it simply
                                                      simply listed
                                                             listed broad
                                                                    broad categories
                                                                          categories

with round
with round numbers, such as
           numbers, such as "Electrical
                            "Electrical $29,400.00,"
                                        $29,400.00," "HVAC
                                                     "HVAC $35,000.00," and
                                                           $35,000.00," and

"Equipment $12,000.00."
"Equipment $12,000.00."

       63.
       63.    The
              The items
                  items listed in the
                        listed in the seventh
                                      seventh change order were
                                              change order were not
                                                                not legitimate and did

not describe
not describe unforeseeable
             unforeseeable or
                           or additional,
                              additional, required work, or
                                          required work,    any actual
                                                         or any actual work
                                                                       work at all. Mr.
                                                                            at all.
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Reid
Reid and VR King
     and VR King Construction
                 Construction had no
                                  no proper purpose for creating and issuing the

seventh
seventh change
        change order and intended
               order and intended it
                                  it to
                                     to fraudulently
                                        fraudulently induce Y2 Yoga into paying

more money
more       to supposedly
     money to supposedly complete the Project
                         complete the Project or
                                              or to improperly use it as a pretext

for
for abandoning
    abandoning the
               the Project,
                   Project, if
                            if Y2 Yoga refused to approve it.

     64.     After receiving
             After           VR King's
                   receiving VR King's seventh change order—which would have

added
added more
      more cost
           cost and
                and time to the
                    time to the Project than the
                                Project than the prior six change orders combined—
                                                                         combined-

Y2 Yoga
Y2 Yoga challenged Mr. Reid
        challenged Mr. Reid and
                            and VR King Construction about the Project, its

drastically and unexpectedly
drastically and unexpectedly rising
                             rising costs, the continued construction delays, the
                                    costs, the

accuracy of
accuracy    Mr. Reid
         of Mr. Reid and VR King
                     and VR King Construction's representations about progress,

costs, and change
costs, and change orders.
                  orders. Y2 Yoga also began questioning Spend Management

Solutions about its
Solutions about its failure
                    failure to identify
                               identify any of these issues or otherwise fulfill its

obligations as Y2
obligations as Y2 Yoga's
                  Yoga's advisor
                         advisor and
                                 and construction project manager.

     65.     Over the next
             Over the next several
                           several weeks,
                                   weeks, Y2
                                          Y2 Yoga
                                             Yoga attempted to have VR
                                                                    VR, King

Construction
Construction continue
             continue working and complete the Project, but VR King Construction
                      working and

failed
failed and refused to do so.

     66.     In addition, Y2
             In addition, Y2 Yoga
                             Yoga requested information and
                                  requested information and documentation from VR

King Construction
King              to substantiate
     Construction to substantiate the value
                                      value of work performed, the legitimacy of

change
change orders,
       orders, and accuracy of
               and accuracy    scheduling information. Y2 Yoga also pressed Spend
                            of scheduling

Management Solutions
Management Solutions for
                     for answers
                         answers about
                                 about its
                                       its failure
                                           failure to analyze the information or

lack
lack of
     of information submitted by
        information submitted by Mr.
                                 Mr. Reid during the course of the Project,

understand or
understand or communicate the real status and problems of the Project, and
              communicate the

adequately fulfill its
                   its role as construction project manager.

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    67.     In
            In response,    King Construction did not provide the requested
                         VR King
               response, VR

            and documentation, claimed he did not have the funds or resources to
information and

         the Project,
complete the
complete              could not
             Project, could                 his use of
                                        for his
                            not account for            funds received on the Project,
                                                    of funds

refused to
refused    provide cost
        to provide cost and scheduling information to fully complete the Project, and

         offered illegitimate excuses for
instead, offered                      for cost increases and delays, and repeatedly

refused to proceed
refused to              work unless Y2
           proceed with work        Y2 Yoga          the bogus, seventh "change
                                       Yoga approved the

order."

     68.     In       and again in May, 2015, VR King Construction sent Y2 Yoga
             In March and

two different
two different Schedules                                    the actual costs and work
                           Values, each purporting to show the
              Schedules of Values,

       to complete
needed to
needed    complete the Project. Each
                   the Project.          contained different
                                     one contained
                                Each one                             and Project
                                                   different amounts and

       information, despite
status information,
status                      the fact that little, if any, work had been done in the
                    despite the

                 of them accurately represented the agreed-upon values or the true
interim. Neither of

       of the
status of
status                                 King Construction had no proper purpose for
                           Reid and VR King
          the Project. Mr. Reid

          these Schedules of
providing these
providing                    Values and provided them to conceal problems and
                          of Values

                     Y2 Yoga's discovery of these problems and misconduct.
misconduct and delay Y2
misconduct

     69.     Meanwhile, Spend Management Solutions began claiming that it was

                     mgmt company" after all, despite months of contrary statements
"not aa construction mgmt

and action, and claimed that it would "have to return to [its] Business Ops activity in

prep for
prep                   to the
     for transitioning to     new space." Nevertheless,
                          the new                       Spend Management Solutions
                                          Nevertheless, Spend

                                                 flawed advice about the
          to provide Y2 Yoga with uninformed and flawed
continued to

                  involved in the Project
construction work involved                            it was unable to competently
                                  Project even though it

and adequately analyze these issues.

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    70.      After it
             After    became clear
                   it became clear to Mr.
                                      Mr. Reid
                                          Reid and VR King Construction that Y2

Yoga would
Yoga would never
           never approve the seventh
                 approve the seventh "change
                                     "change order,"
                                             order," Mr. Reid and VR King

Construction abandoned the
Construction abandoned the Project.
                           Project.

    71.      As aa result
             As    result of VR King
                          of VR King Construction's failure or refusal to continue to

work on
work    the Project,
     on the Project, and,
                     and, in
                          in an
                             an effort to mitigate
                                effort to mitigate damages,
                                                   damages, protect
                                                            protect its business and

substantial investment
            investment in
                       in the Project,
                              Project, Y2 Yoga took a number of steps, including

working with
working with or
             or engaging
                engaging subcontractors and suppliers itself, and hiring a

replacement
replacement general
            general contractor
                    contractor to
                               to finish
                                  finish the
                                         the Project.

    72.
    72.      In
             In the course
                    course of
                           of completing
                              completing the Project with the replacement general

contractor,
contractor, countless
            countless defects,
                      defects, deficiencies, and significant
                               deficiencies, and significant problems with the work

performed by
performed    VR King
          by VR King Construction were discovered
                     Construction were discovered and documented. For example,

the architect, with input
                    input from the replacement general contractor and an engineering

firm,
firm, provided Y2 Yoga with an Observation
                               Observation Report describing hundreds of

"deviations from
"deviations      the contract
            from the contract documents
                              documents and
                                        and or workmanship issues which are

readily
readily apparent" with respect
                       respect to
                               to nearly every aspect of the Project.

     73.     One of the many examples
                             examples of shoddy work by VR King Construction was

with the
with the flooring.
         flooring. Instead
                   Instead of properly installing
                           of properly            the correct
                                       installing the correct flooring, VR King

Construction
Construction applied
             applied aa layer of floor
                        layer of floor topping material up
                                       topping material up to
                                                           to four inches thick in

certain
certain places.
        places. The topping material
                The topping material improperly
                                     improperly installed by VR King Construction

was too thick, did
               did not
                   not adhere
                       adhere to the flooring
                                     flooring material underneath it, and was uneven,

cracking, structurally unsound, and left
cracking, structurally              left the entire
                                             entire space
                                                    space out
                                                          out of compliance with

disability access requirements,
disability access requirements, among
                                among many other problems. Worse, not only did the

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defective flooring
defective flooring installed by VR
                   installed by VR King
                                   King Construction require replacement, it also
                                        Construction require

necessitated the
necessitated the repair,
                 repair, replacement,
                         replacement, and
                                      and reworking of
                                                    of many
                                                       many other
                                                            other aspects of the

Project, including walls, doors,
                          doors, stairs, and an elevator that were all improperly

constructed on top of the defective floor.

     74.        Additional defects
                Additional defects and deficiencies with
                                   and deficiencies with the
                                                         the work
                                                             work done
                                                                  done by VR King

Construction that
Construction      were not
             that were not readily
                           readily apparent or had
                                   apparent or had been
                                                   been concealed, were later

discovered. Some examples include:

           ••   Failing to
                Failing to install
                           install roof
                                   roof expansion
                                        expansion joints,
                                                  joints, requiring
                                                          requiring replacement;

           ••   Installing
                Installing an  HVAC system
                            an HVAC    system backwards on the roof, requiring a crane
                crew to  correctly install
                crew to correctly install it;  and
                                           it; and

           • Defectively constructing multiple areas of the studio, including
           • Defectively                                                 including, a
             downstairs cove area
                               area that was unable to accommodate lighting, an
             upstairs spa hallway that had
                                       had to be repaired, and a restaurant area wall
             that swayed like a curtain
                                curtain and was unable to support tile;

     75.           addition, it
                In addition, it was
                                was discovered that VR
                                    discovered that VR King
                                                       King Construction failed to pay a

number of
number of subcontractors and suppliers or paid less than required to adequately

secure materials needed
secure           needed for
                        for the
                            the Project. As construction
                                Project. As construction project manager, Spend

Management Solutions was tasked with confirming that materials were adequately
           Solutions was

secured with deposits,
secured      deposits, but
                       but failed
                           failed to
                                  to competently perform
                                                 perform these duties.

     76.
     76.        Y2 Yoga
                Y2 Yoga paid
                        paid the
                             the replacement general contractor over $1.7 million to

repair and
repair and replace
           replace Mr.
                   Mr. Reid's
                       Reid's work
                              work and complete the Project to its original required,
                                   and complete

        specifications. All
planned specifications. All of the work performed by the replacement general
                            of the

contractor was necessary
contractor               to repair
               necessary to repair or replace the poor, substandard, deficient, and

defective work
defective work and
               and related
                   related damage
                           damage done by VR
                                  done by    King Construction and to properly
                                          VR King

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complete
complete the
         the Project.
             Project. The amounts paid
                      The amounts paid by
                                       by Y2 Yoga to the
                                          Y2 Yoga    the replacement
                                                         replacement general

contractor
contractor were
           were in
                in addition to the
                   addition to the over
                                   over $1.4
                                        $1.4 million Y2 Yoga had already paid to VR

King
King Construction.
     Construction.

      77.
      77.    The
             The Project was completed
                 Project was completed by
                                       by March 2015—a delay
                                          March 2015—a delay of fifteen months

from
from the
     the completion
         completion deadline
                    deadline VR,
                             VR King
                                 King Construction
                                      Construction had agreed to—and Y2 Yoga

began operating
began           in its
      operating in its new
                       new location
                           location at
                                    at that time.

      78.
      78.    Over the fifteen
             Over the fifteen month period of delay caused by VR King Construction,
                              month period

Y2 Yoga
Y2 Yoga was
        was unable
            unable to
                   to operate its business
                      operate its          in the
                                  business in     larger space
                                              the larger space it had been leasing in

Cotswold Shopping
Cotswold Shopping Center,
                  Center, and
                          and it
                              it was
                                 was unable
                                     unable to
                                            to generate additional sales
                                                                   sales revenue

and profits,
and          as it
    profits, as    had intended
                it had intended and
                                and as
                                    as VR King Construction and Spend Management
                                       VR King

Solutions
Solutions knew would result
          knew would result from
                            from a
                                 a delay.
                                   delay.

      79.
      79.    During this fifteen
             During this fifteen month
                                 month period, Y2 Yoga paid approximately $250,000

in rent and
in rent and related
            related charges
                    charges for
                            for the space in
                                the space in Cotswold Shopping Center, in addition to

the rent
the rent it
         it was
            was also paying on
                also paying on the
                               the smaller,
                                   smaller, adjacent
                                            adjacent space it occupied and operated

m.
in.

      80.
      80.     In
              In entering
                 entering into
                          into the
                               the Construction
                                   Construction Agreement,
                                                Agreement, VR King Construction

knew
knew and
     and understood
         understood that
                    that delay
                         delay of
                               of the
                                  the Project would cause
                                      Project would cause Y2
                                                          Y2 Yoga to suffer injury
                                                                            injury

and
and damages,
    damages, including
             including lost
                       lost or
                            or diminished
                               diminished profits
                                          profits for
                                                  for the period of the delay and

beyond.

      81.    Similarly,
             Similarly, as Y2 Yoga's
                        as Y2 Yoga's construction project manager
                                     construction project manager and
                                                                  and business

advisor, Spend Management
advisor, Spend            Solutions knew
               Management Solutions      and understood
                                    knew and understood that delay
                                                             delay of the Project

would cause
would       Y2 Yoga
      cause Y2 Yoga to suffer lost
                    to suffer lost or
                                   or diminished
                                      diminished profits.

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    82.
    82.      Prior to
             Prior  tothe
                      the Project,
                          Project, Y2
                                   Y2Yoga
                                      Yoga was
                                           was operating
                                               operating an
                                                         an established
                                                            establishedbusiness
                                                                        business with
                                                                                 with

aa track
   track record
         record of
                of sales
                   sales and
                         and operational
                             operational performance,
                                         performance, and
                                                      and Y2
                                                          Y2 Yoga's
                                                             Yoga's lost
                                                                    lost and
                                                                         and

diminished profits
diminished profits are
                   are ascertainable
                       ascertainable with
                                     with reasonable
                                          reasonable certainty.
                                                     certainty.

 ALLEGATIONS RELEVANT
 ALLEGATIONS RELEVANT TO
                      TO PIERCING THE
                                  THE CORPORATE
                                      CORPORATE VEIL
                                                VEIL AND
             FRAUDULENT CONDUCT
             FRAUDULENT  CONDUCT BY
                                  BY MR.
                                     MR. REID
                                         REID

     83.
     83.     Mr. Reid
             Mr. Reid exercises
                      exercises complete
                                complete domination and control over the finances,

policies, and
policies, and business
              business practices
                       practices of
                                 of VR
                                    VR King
                                       King Construction, VR Investments, and

Baranko Enterprise
Baranko Enterprise (collectively
                   (collectively referred
                                 referred to
                                          to as
                                             as "Mr. Reid," unless the context

indicates otherwise)
indicates otherwise) to
                     to such
                        such aa degree that all
                                degree that all of
                                                of these entities operate merely as an

alter ego
alter ego or
          or instrumentality
             instrumentality of
                             of Mr.
                                Mr. Reid.
                                    Reid.

     84.
     84.     The dealings
             The dealings among
                          among Mr.
                                Mr. Reid,
                                    Reid, VR
                                          VR King Construction, VR Investments,

and Baranko Enterprise
and Baranko Enterprise are not arms-length
                       are not arms-length transactions, but rather, are entered

into for the
into for the purposes
             purposes of
                      of concealing
                         concealing assets and defrauding creditors.

     85.
     85.     Upon information
             Upon information and belief, none of these entities observe corporate
                              and belief,

formalities,
formalities, properly
             properly account
                      account for
                              for and
                                  and record financial transactions, or maintain

reliable sets of
reliable sets of books
                 books and records.
                       and records.

     86.
     86.     In
             In addition,
                addition, each
                          each of
                               of them
                                  them are
                                       are inadequately capitalized, operate with no

independent
independent will,
            will, and
                  and are
                      are financially
                          financially and otherwise dependent on Mr. Reid.

     87.
     87.     Between
             Between February
                     February 2013
                              2013 and
                                   and January
                                       January 2014,
                                               2014, VR King Construction
                                                             Construction had

little
little to
       to no
          no income
             income from
                    from projects
                         projects other
                                  other than
                                        than the
                                             the Project for Y2
                                                             Y2 Yoga. On information
                                                                         information

and
and belief,
    belief, the
            the Project
                Project for
                        for Y2
                            Y2 Yoga,
                               Yoga. was
                                     was VR
                                         VR King
                                            King Construction^
                                                 Construction's first
                                                                first commercial

project
project and
        and its
            its only
                only commercial
                     commercial project
                                project during
                                        during this
                                               this time period.


                                            20
                                            20
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     88.
     88.     While purporting to work on the Project, Mr. Reid and VR
             While                                                 VR King

             converted and misappropriated funds that had been received from Y2
Construction converted

             Project and have refused to account for their use.
Yoga for the Project
Yoga

     89.     Mr. Reid
             Mr.                                 of VR King Construction and to
                               Project funds out of
                 Reid directed Project

himself or
himself       his companies for improper and fraudulent purposes.
        or to his

     90.     On August 21,
             On August              King Construction purchased certain real
                                 VR King
                       21, 2013, VR

                 at 1720 Pegram
         located at
property located                St., Charlotte, NC 28205, Parcel ID 08116604
                         Pegram St,

("Property A").

     91.     On November 13,
             On November 13, 2013, VR King Construction purchased certain real
                             2013, VR

property located at 1413 Catherine Simmons Ave., Charlotte, NC 28216, Parcel ID

07504430 (Property B").

     92.        January 16,
             On January
             On         16, 2014, VR King Construction purchased certain real
                                  VR King

property located
property located at              Meck Lane, Charlotte, NC 28205 Parcel ID 159
                    626-710 Char Meek
                 at 626-710                                               159-

061-78 ("Property C").

     93.     Upon information and
             Upon information and belief,    King Construction
                                          VR King
                                  belief, VR                             each of
                                                  Construction purchased each of

these properties in cash.

     94.     In March 2014, VR Investments was formed with Mr. Reid as its
             In March

           agent and sole managing member.
registered agent

     95.     On April
             On                Mr. Reid transferred Property A, Property B, and
                April 9, 2014, Mr.

Property
Property C to VR
         C to                for $0.
                 Investments for
              VR Investments         In other
                                 $0. In              no reasonably equivalent value
                                        other words, no

             VR King Construction by VR Investments in exchange for these three
was given to VR
was

                              tax value of approximately $650,000.
properties having aa combined tax

                                          21
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    96.        In                                                             9th. and
               In addition, according to publicly available records, on April 9th

10th, VR Investments received three additional properties from Mr. Reid for $0: (1)
10th, VR

1228
1228 Clanton Road, Charlotte,
     ClantonRoad,             NC 28217, Parcel
                   Charlotte, NC               ID 14511303 ("Property D"); (2) 2586
                                        Parcel ID

Hemphill Street,
         Street, Charlotte, NC        Parcel ID 11708127 ("Property E"); and (3)
                            NC 28208, Parcel

     E. W.T.
9809 E.
9809                 Charlotte, NC 28227, Parcel ID 13504657 ("Property F").
        W.T. Harris, Charlotte,

    97.        According to
               According    public records, Property D, Property E, and Property F
                         to public

                           of approximately $285,100.
                     value of
have aa combined tax value

     98.          April 2014,
               In April
               In       2014, there                        at Property C, located at 626
                              there was aa suspicious fire at

Char Meck
Char      Lane. After finding
     Meek Lane.                        and matches inside the building, the
                      finding gasoline and

                      Police concluded that
Charlotte Mecklenburg Police
Charlotte                                             of the fire was arson. Police
                                       that the cause of

also found all
also found all of     building's doors locked
                  the building's
               of the                  locked and         of forced entry, determined
                                              and no sign of

     the only
that the
that          people with access
         only people             to 626 Char Meck
                          access to                        Reid and Thais P. Moran,
                                             Meek were Mr. Reid

a       who worked for
a woman who                     noted that the building had an alarm that was
                   for him, and noted

deactivated.

     99.
     99.       Mr.                                     fire occurred he moved all of his
                        claims that shortly before the fire
               Mr. Reid claims

                 and computers
         records and
business records                           Meek location and that all of these
                                      Char Meck
                     computers to the Char

records are
records                    One of
                destroyed. One
            now destroyed.
        are now                of the computers Mr. Reid
                                  the computers                    have moved to
                                                         claims to have
                                                    Reid claims

         Meek, however, was never found.
626 Char Meck,
626

    100.       Before this time,
               Before                                   of the dispute with Y2 Yoga
                           time, Mr. Reid was on notice of

over the
over     Project, and, in
     the Project,                                     a lawyer in March 2015.
                          fact, had already contacted a
                       in fact,




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    101.     Baranko Enterprise maintains no
             Baranko Enterprise           no bank accounts
                                                  accounts or other financial

accounts
accounts of
         of any
            any kind,
                kind, and
                      and has
                          has no
                              no cash,
                                 cash, or
                                       or working capital, or
                                                           or finances
                                                              finances separate from

those of
those of Mr. Reid personally.
         Mr. Reid personally.

    102.     VR King
             VR King Construction
                     Construction or Mr. Reid
                                  or Mr. Reid pays taxes and
                                                         and other expenses of

Baranko Enterprise
Baranko Enterprise and
                   and did so
                           so using
                              using funds
                                    funds received from Y2 Yoga instead of using

them to
them to complete
        complete the Project.
                 the Project.

    103.
    103.     Upon information
                  information and
                              and belief, Mr. Reid also used funds received from Y2

Yoga to
Yoga to purchase a new
        purchase a new truck
                       truck in August 2013,
                             in August 2013, among
                                             among other
                                                   other lavish
                                                         lavish personal
                                                                personal spending

of Project
of Project funds
           funds in 2013 and 2014.

    104.     As
             As bank
                bank account
                     account statements
                             statements show,
                                        show, Mr.
                                              Mr. Reid
                                                  Reid regularly
                                                       regularly diverted
                                                                 diverted funds
                                                                          funds

received by
received by VR
            VR King Construction to
               King Construction to himself
                                    himself for
                                            for personal use, for use by VR

Investments, and Baranko
                 Baranko Enterprise,
                         Enterprise, as
                                     as well
                                        well as
                                             as for
                                                for use by three other entities that

Mr. Reid
Mr.      owns and
    Reid owns and controls,
                  controls, Youth
                            Youth Hope
                                  Hope International,
                                       International, LLC, and Mamas Caribbean

Grill Inc.
Grill Inc.

    105.
    105.     Mr.
             Mr. Reid
                 Reid commingles
                      commingles the funds
                                     funds and
                                           and assets
                                               assets of
                                                      of all
                                                         all of
                                                             of the businesses he

owns and
owns and controls
         controls with
                  with VR King Construction and Baranko Enterprise. For example,
                               Construction and

Mr. Reid
Mr. Reid regularly
         regularly buys
                   buys restaurant supplies and food for his Mama's restaurant out

of the
of the VR
       VR King
          King Construction
               Construction accounts,
                            accounts, and he regularly
                                             regularly buys construction supplies
                                                                         supplies

and equipment
and equipment out of his
              out of his Mama's
                         Mama's restaurant accounts. In addition,
                                                        addition, Mr. Reid also

makes "loans"
makes "loans" among
              among himself
                    himself and his companies that are neither accounted for nor

recorded,
recorded, carry
          carry no
                no interest,
                   interest, are
                             are not
                                 not repaid,
                                     repaid, and
                                             and are not arm's
                                                         arm's length
                                                               length transactions.

Finally, Mr.
Finally, Mr. Reid
             Reid uses VR
                       VR King
                          King Construction's
                               Construction's resources and assets
                                              resources and assets to improve or

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renovate property
renovate property owned
                  owned by
                        by Baranko
                           Baranko Enterprise—property Barano Enterprise

received from Mr. Reid through $0 transfers—for no consideration.

    106.
    106.     Mr. Reid
             Mr. Reid also
                      also transferred
                           transferred funds
                                       funds received
                                             received by
                                                      by Y2
                                                         Y2 Yoga
                                                            Yoga for the Project from

aa VR
   VR King
      King Construction
           Construction account
                        account to
                                to an
                                   an account for Youth Hope International, a non-
                                                                              non­

profit corporation. Youth
profit                    Hope International is not a legitimate non-profit and this
                    Youth Hope

transfer of
         of funds
            funds had no
                      no proper purpose, and
                         proper purpose, and instead, was made to hide assets from

Y2 Yoga
Y2 Yoga and
        and divert them for
            divert them     Mr. Reid's
                        for Mr.        own use.
                                Reid's own use. In
                                                In addition,
                                                   addition, Mr. Reid publicly claims

that Youth
that Youth Hope
           Hope International
                International controls
                              controls real
                                       real property that is actually owned and

controlled by
controlled by Baranko
              Baranko Enterprise, and
                                  and Mr. Reid diverts funds raised in Youth Hope

International's name to himself for his own personal use.
International's

    107.
    107.     VR King
             VR      Construction, VR
                King Construction, VR Investments,
                                      Investments, and Baranko Enterprise each

maintain and
maintain     use Property F—a residential property at 9809 E. W.T. Harris
         and use

Boulevard, Charlotte,
Boulevard,            North Carolina
           Charlotte, North Carolina 28227 which is currently owned by VR

Investments—as their
Investments—as their principal
                     principal office
                               office location.
                                      location. Mr.
                                                Mr. Reid also
                                                         also uses Property F as a

residence. On
residence. On information
              information and
                          and belief, neither Mr. Reid, VR
                                                        VR King Construction, nor

Baranko Enterprise
Baranko Enterprise pay
                   pay for the
                           the use of this
                                      this location as a residence or office.

    108.     Finally,
             Finally, as
                      as bank
                         bank and
                              and other records show,
                                  other records       Mr. Reid
                                                show, Mr. Reid has
                                                               has tried to conceal

his siphoning
his siphoning and
              and diversion
                  diversion of
                            of Project
                               Project funds by, among other things, using a false

social security
social security number to open
                number to open bank
                               bank accounts, and by closing bank accounts and

transferring funds
transferring       to newly
             funds to newly opened bank accounts
                            opened bank accounts either for one of his existing

business entities
business entities or
                  or for an newly-formed
                     for an newly-formed entities.
                                         entities. Mr.
                                                   Mr. Reid
                                                       Reid directed
                                                            directed and undertook

this activity
this activity at
              at the
                 the time
                     time he
                          he was
                             was abandoning the Project in early 2014 (e.g.,
                                 abandoning the                       (e.g., by
                                                                             by forming

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VR Investments in
VR                March 2014)—and has continued to do so during this lawsuit (e.g.,
               in March

by forming
by            new Mamas
   forming aa new                  entity, Mamas Caribbean
                  Mamas restaurant entity,                       Grill Inc., in
                                                 Caribbean Bar & Grill

November 2017).

    109.
    109.     The circumstances
             The               alleged and
                 circumstances alleged             in this lawsuit justify
                                       and present in

disregarding the separateness
disregarding the              of Mr. Reid and
                 separateness of              the legal entities he owns and controls,
                                          and the

and piercing
and          the corporate
    piercing the corporate veil to hold
                           veil to      Mr. Reid, VR King Construction, VR
                                   hold Mr.

Investments, and
Investments,     Baranko Enterprise
             and Baranko            jointly and
                         Enterprise jointly and severally liable         injuries and
                                                          liable for all injuries

damages suffered by Y2
damages suffered       Yoga.
                    Y2 Yoga.

                       FIRST
                       FIRST CLAIM   FOR RELIEF
                              CLAIM FOR    RELIEF
      Breach
      Breach of Contract Against
             of Contract         Mr. Reid,
                         Against Mr.       VR King
                                     Reid, VR      Construction, VR
                                              King Construction, VR
                  Investments, and
                  Investments, and Baranko
                                   Baranko   Enterprise
                                             Enterprise

    110.
    110.     Y2 Yoga incorporates and restates all allegations of the complaint in this
             Y2 Yoga

paragraph.

    111.
    111.     VR King
             VR                            the construction contract entered into
                     Construction breached the
                King Construction

     Y2 Yoga
with Y2          among other things:
        Yoga by, among

      •      failing to furnish labor, materials, and equipment to the Project;
             failing to

      •      failing to have
             failing to      the resources,
                        have the                      expertise, and know-how to
                                 resources, capacity, expertise,
             perform and complete the Project;,
             perform

      •      failing
             failing to            maintain adequate insurance;
                        obtain and maintain
                     to obtain

      •      failing to obtain
             failing to                             for the
                                            bonding for
                               the promised bonding
                        obtain the                          Project;
                                                        the Project;

      •      failing to
                     to complete             by the required time;
                        complete the Project by

      •              to supervise the Project;
             failing to               Project;

      •      failing to submit
             failing to                 payment applications;
                        submit accurate payment

      •              to pay
             failing to                    and suppliers;
                        pay subcontractors and

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      •      failing to coordinate
             failing to coordinate work
                                   work to
                                        to be performed by subcontractors, and
             suppliers;

      •      failing to complete
             failing to complete and abandoning the Project; and

      •      failing to assist
             failing to assist with
                               with the transition of the Project to a replacement
             contractor.

    112.     As
             As a
                a result of VR King
                  result of    King Construction's breach of contract, Y2 Yoga has

suffered damages
suffered damages in
                 in excess of $25,000,
                    excess of $25,000, including but not
                                       including but not limited to amounts paid by

   Yoga to
Y2 Yoga to complete the Project
           complete the Project and
                                and to repair or replace VR King Construction's

defective work, incidental
defective work, incidental and
                           and consequential damages, costs, and expenses, including

additional or
additional or increased amounts paid
              increased amounts paid to the architect, engineers, consultants,

suppliers, and
suppliers,     for storage
           and for storage of
                           of supplies and materials.

    113.     In addition, as
             In addition, as aa result
                                result of
                                       of VR
                                          VR. King
                                              King Construction's
                                                   Construction's breach of contract, in

particular, the
particular, the failure to complete
                failure to complete the
                                    the Project
                                        Project by the
                                                   the agreed-upon
                                                       agreed-upon deadline, Y2 Yoga
                                                                                Yoga

was unable
was unable to
           to operate
              operate its business in
                      its business    the new,
                                   in the new, larger,
                                               larger, renovated
                                                       renovated location and incurred

additional and
additional and increased rent and
               increased rent and other
                                  other expenses,
                                        expenses, and suffered and continues to

suffer lost
suffer lost or
            or diminished profits because
               diminished profits because of
                                          of the fifteen
                                                 fifteen month delay.

    114.
    114.     Y2 Yoga
             Y2 Yoga also
                     also seeks
                          seeks payment of all other amounts
                                                     amounts it
                                                             it is entitled to under

the contract
the contract terms
             terms and
                   and applicable
                       applicable law,
                                  law, including but not limited to interest, costs, and

attorneys' fees.
attorneys' fees.

    115.     Mr. Reid,
             Mr. Reid, VR
                       VR King
                          King Construction,
                               Construction, VR Investments, and Baranko

Enterprise
Enterprise are jointly and
           are jointly and severally
                           severally liable
                                     liable for
                                            for all
                                                all damages and injury to
                                                                       to Y2
                                                                          Y2 Yoga.
                                                                             Yoga.




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                         SECOND CLAIM
                        SECOND   CLAIM FORFOR RELIEF
                                                RELIEF
           Gross Negligence
           Gross Negligence Against
                            Against Mr.
                                     Mr. Reid,
                                         Reid, VR
                                               VR King
                                                  King Construction,
                                                       Construction,
                   VR  Investments, and
                  VR Investments,   and Baranko
                                         Baranko Enterprise
                                                  Enterprise
    116.
    116.      Y2Yoga
              Y2 Yogaincorporates
                     incorporates and
                                  andrestates
                                      restates all
                                               all allegations
                                                   allegationsof
                                                               of the
                                                                  the complaint
                                                                      complaint in
                                                                                in this
                                                                                   this

paragraph.
paragraph.

    117.
    117.      By and
              By and through
                     through its
                             its dealings
                                 dealings with
                                          with Y2
                                               Y2 Yoga,
                                                  Yoga, before, during, and after
                                                                            after

abandoning the
abandoning  the Project,
                Project, as
                         as detailed
                            detailed throughout
                                     throughout the
                                                the complaint, Mr.
                                                               Mr. Reid
                                                                   Reid and
                                                                        and VR
                                                                            VR King

Construction owed
Construction owed Y2
                  Y2 Yoga
                     Yoga a
                          a legal
                            legal duty, an obligation
                                  duty, an obligation separate
                                                      separate and apart from any

contractual duties
contractual duties owed,
                   owed, to
                         to conform
                            conform to
                                    to aa standard
                                          standard of conduct to protect Y2
                                                                         Y2 Yoga

against unreasonable
against unreasonable risks.
                     risks.

    118.
    118.      Mr. Reid
              Mr. Reid and
                       and VR
                           VR King
                              King Construction failed to conform to the applicable
                                   Construction failed

standard of
standard    conduct—a standard
         of conduct—a standard which
                               which is evidenced by general contractor licensing
                                     is evidenced

requirements, industry
requirements, industry practices
                       practices and
                                 and standards,
                                     standards, building codes and ordinances, and

state and
state and federal laws—and breached
          federal laws—and breached the
                                    the duty owed to Y2 Yoga.

    119.
    119.     Mr.
             Mr, Reid
                 Reid and
                      and VR
                          VR King
                             King Construction
                                  Construction acted willfully, wantonly, or with

reckless indifference
reckless indifference for this standard
                      for this standard of
                                        of conduct and the rights of Y2 Yoga.

    120.
    120.      Damage to Y2
              Damage to    Yoga was
                        Y2 Yoga was aa reasonably
                                       reasonably foreseeable result of Mr. Reid and

VR
VR King
   King Construction's
        Construction's breach
                       breach of
                              of duty,
                                 duty, and
                                       and Y2
                                           Y2 Yoga was, in
                                                        in fact, damaged in an

amount
amount exceeding $25,000 as
       exceeding $25,000 as aa result
                               result of
                                      of Mr.
                                         Mr. Reid
                                             Reid and VR
                                                      VR King
                                                         King Construction's
                                                              Construction's breach

of
of duty
   duty and
        and gross
            gross negligence.
                  negligence.

    121.
    121.     As
             As aa result
                   result of
                          of Mr.
                             Mr. Reid
                                 Reid and
                                      and VR
                                          VR King
                                             King Construction's
                                                  Construction's gross
                                                                 gross negligence, Y2
                                                                                   Y2

Yoga
Yoga also
     also seeks
          seeks and
                and is
                    is entitled
                       entitled to
                                to recover
                                   recover punitive
                                           punitive damages
                                                    damages under
                                                            under N.C.
                                                                  N.C. Gen.
                                                                       Gen. Stat.
                                                                            Stat. §§

ID-15,
1D-15, because
       because the
               the conduct
                   conduct at
                           at issue
                               issue involved
                                      involved fraud,
                                                fraud, malice,
                                                       malice, or
                                                               or willful
                                                                  willful and
                                                                          and wanton
                                                                              wanton

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         including by Mr. Reid, who condoned, directed, or participated in the
conduct, including

conduct.

    122.     Mr. Reid
             Mr.      and VR
                 Reid and    King Construction are
                          VR King                  also liable to Y2 Yoga for all
                                               are also

other
other amounts Y2                  to under applicable law, including but not limited
              Y2 Yoga is entitled to

to interest, costs, and attorneys' fees.

    123.     Mr. Reid, VR King Construction, VR Investments, and Baranko

           are jointly and severally liable for all damages and injury to Y2 Yoga.
Enterprise are

                     THIRD CLAIM
                     THIRD         FOR RELIEF
                             CLAIM FOR  RELIEF
Fraud         Mr. Reid,
      Against Mr.
Fraud Against     Reid, VR King Construction,
                        VR King Construction, VR Investments, Baranko
                                              VR Investments, Baranko
            Enterprise,
            Enterprise, and        Management Solutions
                             Spend Management
                         and Spend              Solutions

    124.     Y2 Yoga incorporates and restates all allegations of the complaint in this
             Y2

paragraph.

    125.
    125.      Mr. Reid
              Mr. Reid and VR King Construction knew
                       and VR                        at the time they submitted
                                                knew at

the bid
the             Project in
    bid for the Project                                       of the Project would be
                                    2013 that the actual cost of
                        in February 2013

greater than
greater      the amount stated in
        than the                  the bid
                               in the              the information stated in the bid
                                      bid and that the

                false or misleading.
was inaccurate, false
was

    126.      In particular, Mr.
              In particular,          and VR King Construction knew that the
                                 Reid and
                             Mr. Reid

        represented to Y2 Yoga
amounts represented                           the amount that would be required
                          Yoga were less than the

   pay subcontractors, suppliers, and others to complete the Project. For example,
to pay
to

even        the electrical subcontractor's actual bid was $198,000 (and later adjusted
even though the

              Mr. Reid
to $228,000), Mr.
to                            King Construction represented the "Electrical —
                  Reid and VR King

Subcontract" amount as $149,000.



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    127.
    127.     Spend
             Spend Management
                   Management Solutions secretly provided competitive bidding

information to
information to Mr.
               Mr. Reid and VR
                   Reid and VR King
                               King Construction and concealed this and other

material information
material             about the
         information about the Project
                               Project from Y2 Yoga, as a participant in the fraud.

    128.     Mr.
             Mr. Reid, VR King
                 Reid, VR King Construction,
                               Construction, and
                                             and Spend Management Solutions

knowingly provided
knowingly          inaccurate, false
          provided inaccurate,       or misleading
                               false or misleading information intending to deceive

Y2 Yoga
Y2 Yoga into
        into selecting Mr. Reid
             selecting Mr. Reid and
                                and VR
                                    VR King
                                       King Construction as the general contractor

for
for the
    the Project
        Project and
                and induce it to
                    induce it to enter
                                 enter into the
                                            the construction contracts.

    129.
    129.     Mr. Reid,
             Mr.       VR King
                 Reid, VR King Construction, and Spend
                                                 Spend Management Solutions

knew in
knew in the
        the summer of 2013
            summer of 2013 when
                           when Mr.
                                Mr. Reid and VR
                                    Reid and VR King Construction submitted
                                                                  submitted

information
information about
            about the
                  the costs
                      costs and
                            and schedule
                                schedule of
                                         of the Project to Y2 Yoga that the

information submitted was inaccurate, false, or misleading.

    130.
    130.     Mr. Reid
             Mr.      and VR
                 Reid and VR King
                             King Construction
                                  Construction knowingly provided this inaccurate,

false,
false, or misleading information
       or misleading information to
                                 to induce
                                    induce Y2 Yoga to enter into the Construction

Agreement. Spend
           Spend Management Solutions
                            Solutions knew that
                                           that the information was inaccurate,

false, or misleading
false, or            but concealed
          misleading but concealed the
                                   the true
                                       true circumstances from Y2 Yoga.

    131.
    131.     Mr. Reid, VR
             Mr. Reid, VR King
                          King Construction,
                               Construction, and Spend
                                                 Spend Management
                                                       Management Solutions

knew
knew that
     that the
          the items
              items and
                    and information
                        information described in the change orders issued to Y2

Yoga were
Yoga were inaccurate,
          inaccurate, false,
                      false, or
                             or misleading.
                                misleading.

    132.
    132.     Mr. Reid,
             Mr. Reid, VR
                       VR King
                          King Construction
                               Construction knowingly
                                            knowingly provided the inaccurate,

false,
false, or
       or misleading
          misleading information
                     information in
                                 in the
                                    the change
                                        change orders
                                               orders intending
                                                      intending to
                                                                to deceive Y2 Yoga

and
and to
    to induce Y2 Yoga
       induce Y2      to approve
                 Yoga to approve and
                                 and enter
                                     enter into the change orders as amendments

to the
to     construction contracts.
   the construction

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    133.     Spend
             Spend Management
                   Management Solutions
                              Solutions knew that the information
                                        knew that                                  was

inaccurate, false, or misleading
inaccurate, false,    misleading but
                                 but concealed the true circumstances from Y2 Yoga.

    134.     Mr.
             Mr. Reid, VR King
                 Reid, VR King Construction,
                               Construction, and Spend Management Solutions

knew that
knew that the
          the information
              information presented to
                                    to Y2
                                       Y2 Yoga in the Schedules of Values was

inaccurate, false, or misleading.

    135.
    135.     Mr.
             Mr. Reid
                 Reid and VR King
                             King Construction knowingly provided this inaccurate,

false
false or
      or misleading
         misleading information
                    information in the Schedule
                                in the Schedule of Values intending to deceive Y2

Yoga about
Yoga about the
           the costs and status of the Project. Spend Management Solutions knew

that
that the
     the information was inaccurate,
         information was inaccurate, false,
                                     false, or
                                            or misleading but concealed the true
                                                                            true

circumstances
circumstances from Y2 Yoga.

    136.
    136.     Mr.
             Mr. Reid and VR
                 Reid and VR King
                             King Construction
                                  Construction intentionally misrepresented the

"scheduled value"
"scheduled value" and
                  and "work
                      "work completed"
                            completed" in
                                       in the
                                          the Schedule
                                              Schedule of Values
                                                          Values submitted to Y2

Yoga.

    137.     Spend
             Spend Management
                   Management Solutions
                              Solutions knew
                                        knew that the
                                                  the information
                                                      information                  was

inaccurate, false, or
inaccurate, false, or misleading
                      misleading but
                                 but concealed the true circumstances from Y2 Yoga.

    138.
    138.     In addition, Mr.
             In addition, Mr. Reid
                              Reid and
                                   and VR
                                       VR King
                                          King Construction inserted new items into

the Schedule
the Schedule of Values without
             of Values without requesting
                               requesting aa change
                                             change order
                                                    order and
                                                          and manipulated
                                                              manipulated other
                                                                          other

amounts.

    139.     For
             For example, in the
                 example, in the March 2014 Schedule
                                            Schedule of Values, Mr. Reid and VR

King Construction
King              inserted an additional $10,000 for "Profit & Overhead."
     Construction inserted

    140.     And in
             And in the
                    the March
                        March 2014
                              2014 Schedule
                                   Schedule of
                                            of Values, Mr.
                                                       Mr. Reid
                                                           Reid and
                                                                and VR King

Construction increased
Construction           the scheduled
             increased the           amount for
                           scheduled amount for "Electrical-Subcontract" to

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$198,000,
$198,000, the
          the amount of the
              amount of the electrical
                            electrical subcontractor's
                                       subcontractor's original bid from over a year

earlier, even
earlier, even though
              though by
                     by that
                        that time
                             time the
                                  the electrical subcontractor had increased its bid to
                                      electrical subcontractor

$228,000.

    141.
    141.     In
             In the
                the May 2014 Schedule
                    May 2014 Schedule of Values, Mr.
                                      of Values, Mr. Reid
                                                     Reid and VR King Construction

increased the "Electrical
increased the "Electrical -
                          — Subcontract" amount to $228,000.
                            Subcontract" amount    $228,000. But to conceal the

increase,
increase, Mr.
          Mr. Reid
              Reid and VR King
                   and VR. King Construction
                                Construction deleted
                                             deleted amounts
                                                     amounts for general labor,

roofing upgrades, storefront
roofing upgrades, storefront installation,
                             installation, operable partition, acoustical
                                           operable partition, acoustical ceiling,

flooring, wall painting,
flooring, wall painting, restroom
                         restroom accessories, soil exploration, and refilling and
                                  accessories, soil

compacting with stone
compacting with stone and
                      and manipulated
                          manipulated nearly
                                      nearly every
                                             every other
                                                   other amount
                                                         amount listed on the

Schedule
Schedule of Values.
         of Values.

    142.
    142.     Using the methods
             Using the methods described
                               described above,
                                         above, Mr.
                                                Mr. Reid and VR
                                                             VR King
                                                                King Construction

fraudulently
fraudulently billed Y2 Yoga
             billed Y2 Yoga for,
                            for, among
                                 among other
                                       other scheduled items: superintendent, plan

printing, building
printing,          permitting, signage
          building permitting, signage allowance, millwork materials, storefront
                                       allowance, millwork

materials, roof leader
materials, roof leader allowance, tool rental,
                       allowance, tool rental, demolition, concrete, masonry, carpentry

materials, door
materials, door material and labor,
                material and labor, paint,
                                    paint, restroom
                                           restroom accessories, plumbing, electrical,

fire alarm, interior
fire alarm,          walls, acoustical
            interior walls, acoustical ceiling
                                       ceiling materials, flooring
                                                          flooring materials, shower and

cold
cold room
     room tile, vertical platform,
          tile, vertical platform, heating, ventilation and air conditioning, fire
                                   heating, ventilation

sprinklers, electrical,
sprinklers, electrical, soil investigation,
                             investigation, refilling and compaction of soil, and

dumpster
dumpster containers.
         containers.

    143.     To
             To further
                further conceal
                        conceal the
                                the inaccuracies of the Schedule of Values, Mr. Reid

and VR
and VR King
       King Construction
            Construction employed
                         employed trickery
                                  trickery and deception
                                               deception on
                                                         on site at the Project,



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such
such as billing for
     as billing for rough-in
                    rough-in electrical
                             electrical work and
                                             and then
                                                 then installing drywall over the studs

to conceal
to conceal the
           the fact that the
               fact that the electrical
                             electrical work
                                        work had not been performed.

    144.     Finally,
             Finally, throughout
                      throughout the
                                 the Project,
                                     Project, Mr.
                                              Mr. Reid
                                                  Reid and VR,
                                                           VR Construction

concealed from
concealed      Y2 Yoga
          from Y2 Yoga material
                       material information
                                information concerning the secret receipt of

competitive bidding information
competitive bidding information from Spend Management
                                from Spend Management Solutions,
                                                      Solutions, and the
                                                                     the transfer

of funds
of       received by
   funds received by Y2
                     Y2 Yoga
                        Yoga for
                             for the
                                 the Project
                                     Project and assets acquired using funds obtained

from
from the
     the Project between and
         Project between and among
                             among Mr. Reid and his businesses for personal and

pecuniary gain
pecuniary gain and
               and for
                   for no
                       no purpose
                          purpose related
                                  related to
                                          to the Project whatsoever.
                                             the Project whatsoever.

    145.     The
             The concealments
                 concealments and
                              and misrepresentations of Mr. Reid, VR King

Construction, and
Construction, and Spend Management Solutions
                  Spend Management Solutions described
                                             described above were reasonably

calculated to
calculated to deceive Y2 Yoga.

    146.
    146.     The
             The concealments
                 concealments and
                              and misrepresentations
                                  misrepresentations described above were done

with intent
with intent to
            to deceive
               deceive and with the
                                the intent that Y2 Yoga act upon them.

    147.     Y2 Yoga
             Y2      reasonably relied
                Yoga reasonably relied upon and was in fact deceived by the

concealments and misrepresentations of Mr. Reid, VR King Construction, and Spend
concealments

Management Solutions.
Management Solutions. Among
                      Among the
                            the actions
                                actions taken
                                        taken in
                                              in reliance
                                                 reliance on
                                                          on their
                                                             their concealments

and misrepresentations,
and misrepresentations, Y2
                        Y2 Yoga
                           Yoga selected
                                selected VR King Construction
                                                 Construction as the general

contractor
contractor for the Project,
           for the Project, entered
                            entered into the Demolition Agreement and Construction

Agreement, made
Agreement, made or
                or approved
                   approved payments to VR
                            payments to VR King
                                           King Construction,
                                                Construction, approved
                                                              approved change

orders,
orders, and
        and incurred
            incurred other
                     other expenses to operate
                           expenses to operate its
                                               its business based
                                                            based on
                                                                  on anticipated
                                                                     anticipated

completion of
completion of the
              the Project.



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    148.     Y2 Yoga suffered
             Y2      suffered compensatory
                              compensatory damages in excess of $25,000

proximately caused
proximately        by Mr.
            caused by Mr. Reid, VR King Construction, and Spend Management

Solutions'
Solutions' concealments
           concealments and misrepresentations.

    149.
    149.     As a
             As a result
                  result of
                         of Mr.
                            Mr. Reid,
                                Reid, VR
                                      VR King
                                         King Construction,
                                              Construction, and
                                                            and Spend Management

Solution's
Solution's fraud, Y2 Yoga
           fraud, Y2 Yoga also
                          also seeks and is entitled to recover punitive damages under

N.C. Gen.
N.C. Gen. Stat.
          Stat. §
                § 1D-15, because the
                  1D-15, because the conduct at issue
                                     conduct at issue involved fraud, malice, or willful

and wanton
and wanton conduct,
           conduct, including
                    including by
                              by Mr.
                                 Mr. Reid, who condoned, directed,
                                     Reid, who           directed, or participated

in
in the
   the conduct.

    150.
    150.     Mr. Reid, VR
             Mr. Reid, VR King
                          King Construction,
                               Construction, and Spend Management Solutions are

also liable
also liable to
            to Y2
               Y2 Yoga
                  Yoga for
                       for all
                           all other amounts Y2
                               other amounts Y2 Yoga
                                                Yoga is entitled
                                                        entitled to under applicable

law,
law, including but not limited
     including but     limited to
                               to interest, costs, and attorneys' fees.

    151.
    151.     Mr.
             Mr. Reid, VR King
                          King Construction, VR Investments, and Baranko

Enterprise
Enterprise are jointly and
           are jointly and severally liable
                                     liable for
                                            for all damages
                                                    damages and
                                                            and injury
                                                                injury to Y2 Yoga,

along with Spend Management
                 Management Solutions.
                            Solutions.

                    FOURTH
                    FOURTH CLAIM
                              CLAIM FOR
                                     FOR RELIEF
                                          RELIEF
Negligent Misrepresentation
Negligent Misrepresentation Against
                            Against Mr.
                                    Mr. Reid, VR King
                                        Reid, VR King Construction,
                                                      Construction, and
                                                                    and
                          Baranko
                          Baranko Enterprise
                                  Enterprise

    152.
    152.     Y2 Yoga
             Y2 Yoga incorporates
                     incorporates and
                                  and restates all allegations of the complaint in this
                                      restates all

paragraph.

    153.     In
             In the
                the alternative
                    alternative to
                                to Y2
                                   Y2 Yoga's fraud claim, Y2 Yoga asserts a claim of

negligent
negligent misrepresentation
          misrepresentation against Mr. Reid and VR King Construction.

    154.
    154.     Mr. Reid
             Mr. Reid and
                      and VR
                          VR King
                             King Construction,
                                  Construction, in
                                                in the
                                                   the course
                                                       course of
                                                              of operating
                                                                 operating a
                                                                           a

business
business as
         as a general contractor,
            a general contractor, provided
                                  provided false
                                           false and incorrect information to Y2 Yoga
                                                                                 Yoga

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concerning
concerning the
           the Project,
               Project, its
                        its costs,
                            costs, use
                                   use of
                                       of funds,
                                          funds, timeframe to completion, and the

nature and
nature and scope of work
                    work to
                         to be done.
                               done.

    155.     Mr. Reid
             Mr. Reid and
                      and VR
                          VB. King
                              King Construction
                                   Construction were obligated
                                                     obligated to
                                                               to but did not

exercise
exercise reasonable
         reasonable or
                    or competent
                       competent care with respect to gathering, preparing, and
                                 care with

communicating
communicating this
              this information
                   information to
                               to Y2
                                  Y2 Yoga in its bid, schedule of values, change

orders,
orders, as well as in other
        as well       other oral
                            oral and written communications.
                                 and written

    156.
    156.     Mr. Reid
             Mr. Reid and VR King Construction
                                  Construction supplied the false information to Y2

Yoga for
Yoga for its benefit and
         its benefit and guidance and to influence its decisions to start and continue

the Project
the Project and
            and make
                make payments,
                     payments, and Y2 Yoga
                               and Y2 Yoga justifiably relied on the information

supplied by
         by Mr.
            Mr. Reid and VR King Construction to do so.

    157.     In addition, Mr.
             In addition, Mr. Reid
                              Reid and VR King
                                   and VR King Construction provided false and

incorrect
incorrect information
          information to
                      to others
                         others working on the Project, including the architect hired

by Y2
by Y2 Yoga,
      Yoga, Spend
            Spend Management Solutions, and subcontractors.

    158.
    158.     It was reasonably
             It was reasonably foreseeable that the carelessly and incompetently

provided false
provided       and incorrect
         false and incorrect information provided
                                         provided to others would be relied on to the

detriment of
detriment of Y2 Yoga and
             Y2 Yoga and cause
                         cause damage
                               damage to
                                      to Y2 Yoga.

    159.     As a
             As a result
                  result of
                         of Mr.
                            Mr. Reid and VR King Construction's negligent

misrepresentations, Y2
misrepresentations, Y2 Yoga
                       Yoga has
                            has been
                                been damaged in
                                             in an amount in
                                                          in excess of $25,000.00.

    160.
    160.      Mr.
              Mr. Reid and VR King Construction are also liable
                  Reid and                               liable to Y2 Yoga for all

other amounts Y2
other amounts Y2 Yoga
                 Yoga is
                      is entitled
                         entitled to
                                  to under applicable law, including but not limited

to interest, costs, and attorneys' fees.



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    161.     Mr.
             Mr. Reid, VR King
                 Reid, VR King Construction,
                               Construction, VR Investments, and Baranko

Enterprise are
Enterprise are jointly
               jointly and
                       and severally
                           severally liable for all
                                     liable for all damages and
                                                            and injury to Y2 Yoga.

                       FIFTH
                       FIFTH CLAIM
                               CLAIM FOR
                                       FOR RELIEF
                                            RELIEF
                 Violation of
                 Violation    N.C.G.S §§
                           of N.C.G.S §§ 39-23.1
                                         39-23.1 to
                                                 to 39-23.12
                                                    39-23.12
              Fraudulent Transfer/Voidable   Transactions Act
              Fraudulent Transfer/Voidable Transactions      Act
  against Mr. Reid,
  against Mr. Reid, VR
                    VR King
                       King Construction,   VR Investments,
                             Construction, VR   Investments, and
                                                              and Baranko
                                                                  Baranko
                                Enterprise
                                Enterprise
    162.
    162.     Y2 Yoga incorporates and restates all allegations of the complaint in this

paragraph.

    163.
    163.     Mr.
             Mr. Reid and VR
                 Reid and VR King
                             King Construction used funds
                                  Construction used funds fraudulently obtained

from
from Y2 Yoga for
     Y2 Yoga     the Project
             for the Project to
                             to purchase
                                purchase certain real property located in Charlotte,

Mecklenburg County,
Mecklenburg         North Carolina,
            County, North Carolina, as well as to obtain other assets located in
                                    as well

North Carolina.

    164.
    164.     Mr. Reid
             Mr. Reid formed VR Investments
                      formed VR Investments with
                                            with the fraudulent intent of using it

as a
as a vehicle
     vehicle to
             to conceal
                conceal assets
                        assets from Y2 Yoga.

    165.
    165.     Shortly after forming
             Shortly after forming VR
                                   VR Investments, Mr. Reid transferred Property A,

Property B,
Property B, Property C, Property
            Property C, Property D,
                                 D, Property
                                    Property E, and Property F, having a combined

tax value
tax value of
          of nearly
             nearly $1 million at the time to VR Investments for no reasonably
                    $1 million

equivalent
equivalent value.

    166.     Mr. Reid,
             Mr.       VR King
                 Reid, VR King Construction, and VR Investments made and

participated in
participated in each of these
                each of these transfers with the intent to hinder, delay, or defraud Y2
                              transfers with

Yoga, to
Yoga, to conceal
         conceal the
                 the assets
                     assets shortly
                            shortly after
                                    after its
                                          its debt
                                              debt to
                                                   to Y2 Yoga was incurred and for no

legitimate purpose whatsoever.



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    167.
    167.     In an
             In an attempt    conceal the
                           to conceal
                   attempt to                          of the transactions, Mr. Reid
                                      the illegitimacy of

hired legal counsel to assist him with the formation of VR Investments and the

property
property transfers, but, upon information
                    but, upon information and         Mr. Reid
                                          and belief, Mr.                     his legal
                                                          Reid did not inform his

           the fraudulent circumstances of the transactions.
        of the
counsel of

    168.     Mr. Reid,
             Mr. Reid, VR                                       were insolvent,
                                                 VR Investments were
                       VR King Construction, and VR

           by N.C.G.S. § 39-23.2, at the time of the transfers.
as defined by
as

    169.     After the transfers, Mr. Reid, VR King Construction, and VR
             After the

Investments continue to retain possession and control of all of the properties.

    170.     As a
             As             the fraudulent transfers by Mr. Reid, VR King
                a result of the

             and VR Investments, Y2 Yoga is entitled to avoidance of the transfers
Construction and

to the
to     extent necessary to
   the extent                                claims, as well as other equitable and
                                   Y2 Yoga's claims,
                        to satisfy Y2

legal relief
legal        the Court
      relief the                  and proper, including
                 Court deems just and                               an injunction
                                              including attachment, an

against         disposition by
against further disposition    Mr. Reid,
                            by Mr.       VR King Construction and VR Investments
                                   Reid, VR

                to take charge of
or receivership to                the assets.
                               of the

    171.     Mr. Reid,
             Mr.       VR King Construction, VR Investments, and Baranko
                 Reid, VR

Enterprise are
Enterprise     jointly and
           are jointly               liable for
                       and severally liable     all damages and
                                            for all         and injury to Y2 Yoga.

                     SIXTH
                     SIXTH CLAIM   FOR RELIEF
                             CLAIM FOR  RELIEF
Conversion         Mr. Reid,
           Against Mr.
Conversion Against     Reid, VR      Construction, VR
                                King Construction,
                             VR King                  Investments, and
                                                   VR Investments, and
                                  Enterprise
                         Baranko Enterprise
                         Baranko

    172.     Y2 Yoga incorporates and restates all allegations of the complaint in this
             Y2

paragraph.

    173.
    173.     Mr. Reid
             Mr.          VR King
                 Reid and VR                   received funds from Y2 Yoga to be
                             King Construction received

used for the Project.

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    174.
    174.     In particular,
             In             between February
                particular, between February 2013 and January 2014, Mr. Reid and

VR King
VR                   received by
        Construction received
   King Construction          by seventeen
                                 seventeen separate checks or
                                           separate checks    wire transfers into a
                                                           or wire

       VR King
single VR
single    King Construction account amounts totaling over $1.4 million.
               Construction account

    17.5.
    175.     These funds
             These       were the
                   funds were     property of
                              the property of Y2           Mr. Reid
                                              Y2 Yoga, and Mr.      and VR King
                                                               Reid and

             wrongfully deprived
Construction wrongfully
Construction                     Y2 Yoga of
                        deprived Y2      of the         of these
                                                benefit of
                                            the benefit    these funds.

    176.     Rather than
             Rather than paying       funds to
                                these funds
                         paying these          subcontractors and
                                            to subcontractors and suppliers, as

contemplated
contemplated by     parties in
                the parties
             by the                construction contracts, Mr. Reid and VR King
                               the construction
                            in the

Construction exercised
Construction exercised unauthorized         over and wrongfully converted these
                       unauthorized control over

funds.
funds.

    177.     As a result,
             As a         Y2 Yoga
                  result, Y2      suffered compensatory damages in excess of
                             Yoga suffered

$25,000.
$25,000.

    178.        addition, as
             In addition,
             In              a result
                          as a           Mr. Reid
                                      of Mr.
                               result of     Reid and    King Construction's
                                                      VR King
                                                  and VR

            Y2 Yoga
conversion, Y2
conversion,         also seeks
               Yoga also       and is
                         seeks and    entitled to recover punitive damages under
                                   is entitled

     Gen. Stat.
N.C. Gen.
N.C.               1D-15, because
          Stat. §§ 1D-15,         the conduct
                          because the            issue involved fraud, malice, or willful
                                      conduct at issue

and wanton
and                 including by
           conduct, including
    wanton conduct,           by Mr. Reid, who
                                 Mr. Reid,               directed, or
                                           who condoned, directed, or participated

   the conduct.
in the
in     conduct.

    179.
    179.         Reid and
             Mr. Reid
             Mr.      and VR      Construction are
                             King Construction
                          VR King              are also                   for all
                                                   also liable to Y2 Yoga for

other amounts
other            Yoga is
              Y2 Yoga
      amounts Y2      is entitled to under
                         entitled to                  law, including but not limited
                                     under applicable law,

to interest,
to                  and attorneys'
             costs, and
   interest, costs,     attorneys' fees.

    180.      Mr. Reid, VR,
              Mr. Reid,          Construction, VR Investments, and Baranko
                            King Construction,
                        VR King

Enterprise are
Enterprise are jointly     severally liable
                       and severally
               jointly and           liable for all damages and injury to Y2 Yoga.



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                       SEVENTH
                       SEVENTH CLAIM
                                 CLAIM FOR
                                         FOR RELIEF
                                             RELIEF
           Breach
           Breach of
                  of Contract Against Spend
                     Contract Against Spend Management Solutions
                                            Management Solutions

    181.
    181.     Y2 Yoga incorporates and restates all
                     incorporates and          all allegations of the complaint in this

paragraph.

    182.     Y2 Yoga
                Yoga contracted
                     contracted with
                                with Spend
                                     Spend Management
                                           Management Solutions to acts as its

construction
construction project
             project manager
                     manager for
                             for the
                                 the Project, to advise
                                     Project, to        Y2 Yoga
                                                 advise Y2 Yoga on
                                                                on business aspects

of the
of     Project, prepare
   the Project, prepare bid
                        bid documents
                            documents for
                                      for the
                                          the Project,
                                              Project, assist
                                                       assist Y2 Yoga in the selection

of a
of a general
     general contractor,
             contractor, communicate
                         communicate and
                                     and coordinate
                                         coordinate with Mr. Reid, VR King

Construction,
Construction, and
              and the
                  the architect
                      architect during
                                during the Project and represent Y2 Yoga's interests

with respect
with respect to the construction,
             to the construction, review proposed change
                                  review proposed change orders and payment

applications submitted
applications submitted by
                       by VR
                          VR King
                             King Construction,
                                  Construction, and
                                                and advise
                                                    advise Y2
                                                           Y2 Yoga regarding

change
change orders, payment applications, and the progress of the Project.

    183.     In exchange
                exchange for
                         for these promised services, Y2 Yoga paid Spend
                             these promised

Management Solutions a monthly fee.

    184.
    184.     Spend
             Spend Management
                   Management Solutions
                              Solutions materially breached the agreement by,

among
among other
      other things,
            things, secretly
                    secretly providing bid information
                             providing bid information to Mr. Reid and VR King

Construction, failing    review proposed change orders and payment applications
              failing to review

submitted by
          by Mr.
             Mr. Reid
                 Reid and
                      and VR
                          VR King
                             King Construction for
                                               for accuracy and support and by

approving
approving proposed
          proposed change
                   change orders
                          orders and
                                 and payment
                                     payment applications
                                             applications that
                                                          that were
                                                               were inaccurate,
                                                                    inaccurate,

unsupported, or fraudulent.
             or fraudulent.

    185.     As a result of Spend Management Solutions' material breach of contract,

Y2 Yoga has suffered damages in excess
Y2                              excess of $25,000.
                                          $25,000.


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    186.     In
             In addition, Spend
                          Spend Management
                                Management Solutions' knew and understood that

its breach
its        of contract
    breach of contract or
                       or failure
                          failure to perform its
                                  to perform     project management, consulting and
                                             its project

advisory services
advisory services for
                  for the
                      the Project
                          Project reasonably
                                  reasonably and
                                             and foreseeably
                                                 foreseeably would result in losses

and damage
and damage to Y2 Yoga
           to Y2 Yoga from
                      from the
                           the Project, including
                                        including increased construction expenses,

        overpayments, as well
Project overpayments,    well as
                              as lost
                                 lost and diminished profits and other incidental and

consequential
consequential damages
              damages from the fifteen month delay of the Project.

    187.
    187.     Y2 Yoga
             Y2 Yoga also
                     also seeks
                          seeks payment
                                payment of
                                        of all other amounts it
                                                             it is
                                                                is entitled
                                                                   entitled to under

the contract
    contract terms and applicable law, including but not limited to interest, costs, and

attorneys' fees.

                      EIGHTH
                      EIGHTH CLAIM
                               CLAIM FOR
                                      FOR RELIEF
                                           RELIEF
    Negligent Misrepresentations Against
    Negligent Misrepresentations Against Spend
                                         Spend Management
                                               Management Solutions
                                                          Solutions

    188.
    188.     Y2 Yoga incorporates
             Y2 Yoga              and restates
                     incorporates and          all allegations of the complaint in this
                                      restates all

paragraph.

    189.     In
             In the course of
                the course of operating a business as a business consultant, project

manager, and
         and advisor, provided false and incorrect assurances and information to Y2

Yoga concerning
Yoga concerning its
                its qualifications
                    qualifications and
                                   and competence to evaluate and analyze the

Project, its
Project, its costs,
             costs, requirements,
                    requirements, and
                                  and the nature and scope of work to be done.

    190.     In
             In addition,
                addition, Spend
                          Spend Management
                                Management Solutions
                                           Solutions also
                                                     also provided
                                                          provided false,
                                                                   false,

incomplete, and
incomplete, and incorrect
                incorrect information to Y2 Yoga about the actual costs and status of

the Project
the Project during
            during and
                   and after
                       after the Project.
                                 Project.

    191.     Spend
             Spend Management
                   Management Solutions
                              Solutions was obligated
                                            obligated to but did
                                                             did not
                                                                 not exercise
                                                                     exercise

reasonable or
reasonable or competent
              competent care with respect to gathering, preparing, and

communicating this information to
              this information to Y2
                                  Y2 Yoga.
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    192.     Spend Management Solutions
             Spend Management Solutions supplied the false,
                                        supplied the false, incomplete, and

incorrect
incorrect information to Y2
          information to Y2 Yoga
                            Yoga for
                                 for its
                                     its benefit and guidance and to influence its

decisions to start
decisions to start and
                   and continue the Project,
                       continue the          and Y2
                                    Project, and Y2 Yoga
                                                    Yoga justifiably
                                                         justifiably relied
                                                                     relied on the
                                                                            on the

information
information supplied by Spend
                        Spend Management Solutions to enter into construction

contracts, and make
contracts, and make payments
                    payments for work not
                             for work not earned or performed, among other things.
                                          earned or

    193.
    193.     As
             As     aa     result
                           result   of
                                    of   Spend
                                         Spend   Management     Solutions'
                                                                Solutions'   negligent

misrepresentations, Y2
misrepresentations, Y2 Yoga
                       Yoga had
                            had been
                                been damaged
                                     damaged in an amount
                                             in an amount in
                                                          in excess
                                                             excess of
                                                                    of $25,000.00.
                                                                       $25,000.00.

    194.     Spend Management Solutions
             Spend Management Solutions also
                                        also is
                                             is liable
                                                liable to Y2 Yoga for all other

amounts Y2
        Y2 Yoga is
                is entitled to under applicable law, including but not limited to

interest, costs, and
interest, costs, and attorneys'
                     attorneys' fees.
                                fees.

                          NINTH
                          NINTH CLAIM
                                 CLAIM FOR
                                       FOR RELIEF
                                            RELIEF
             Breach of
             Breach of Fiduciary Duty/Constructive Fraud
                       Fiduciary Duty/Constructive       Against
                                                   Fraud Against
                         Spend Management Solutions
                         Spend Management  Solutions

    195.
    195.     Y2 Yoga
             Y2 Yoga incorporates and restates
                     incorporates and restates all allegations of
                                               all allegations    the complaint
                                                               of the complaint in
                                                                                in this

paragraph.

    196.      Prior
              Prior to the Project, Spend Management Solutions
                                                     Solutions served
                                                               served as a business

consultant
consultant and
           and advisor to Y2
               advisor to Y2 Yoga,
                             Yoga, providing
                                   providing guidance
                                             guidance on
                                                      on Y2
                                                         Y2 Yoga's strategic plans

and advising
and          Y2 Yoga
    advising Y2 Yoga on
                     on business
                        business decisions based on
                                 decisions based on Y2 Yoga's best
                                                    Y2 Yoga's best interest.
                                                                   interest.

    197.
    197.     As part of
             As      of this advisory
                             advisory relationship, Spend
                                                    Spend Management Solutions
                                                                     Solutions

gained and maintained a relationship of trust and confidence with Y2 Yoga.

    198.
    198.     Spend Management Solutions
             Spend Management           took advantage
                              Solutions took advantage of
                                                       of its fiduciary position to

advise Y2 Yoga
advise Y2 Yoga to
               to serve as construction
                           construction project manager for
                                                        for the Project,
                                                                Project, despite
                                                                         despite

Spend Management Solution's
Spend Management Solution's lack
                            lack of
                                 of experience and know-how
                                    experience and know-how in managing
                                                            in managing

                                            40
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commercial
commercial construction
           construction matters,
                        matters, and to
                                     to advise Y2 Yoga
                                                  Yoga to select Mr. King and VR

King Construction
King              to be
     Construction to    the general
                     be the general contractor
                                    contractor for the Project, notwithstanding the

personal relationship
personal relationship between
                      between Mr. King and
                              Mr. King and Spend
                                           Spend Management Solutions' project

manager.
manager.

    199.
    199.     Spend
             Spend Management
                   Management Solutions
                              Solutions did
                                        did not
                                            not act in good faith and wrongfully

benefitted from
benefitted from its
                its conduct by obtaining
                    conduct by obtaining increased
                                         increased or additional monthly fees from Y2

Yoga as
Yoga    project manager
     as project manager and using the
                                  the Project,
                                      Project, to Y2's detriment and without due

regard
regard for Y2 Yoga's
       for Y2 Yoga's best
                     best interests, to try
                          interests, to try to
                                            to gain
                                               gain experience,
                                                    experience, credibility, and contacts,

to allow
to allow it to market
         it to market and
                      and market
                          market its construction project management service to other
                                 its construction

clients.
clients.

    200.     As Y2
             As Y2 Yoga's
                   Yoga's construction
                          construction project manager, Spend Management

Solutions breached and
Solutions breached and violated
                       violated its
                                its fiduciary
                                    fiduciary duties of loyalty and care by secretly

providing bidding information                 VR, King Construction and concealing
                  information to Mr. Reid and VR

the true
the true circumstances about the
         circumstances about the costs and status of the Project from Y2 Yoga.

    201.     As a
             As a result
                  result of
                         of Spend Management Solutions
                            Spend Management Solutions conduct, Y2 Yoga was

injured and suffered
injured and suffered damages
                     damages exceeding $25,000.

    202.
    202.     As a
             As a result
                  result of
                         of Spend
                            Spend Management Solutions
                                             Solutions'5 breach of fiduciary duty

and constructive
    constructive fraud,
                 fraud, Y2 Yoga also seeks and is entitled to recover punitive

damages under N.C.
damages under N.C. Gen.
                   Gen. Stat.
                        Stat. §
                              § 1D-15, because the conduct
                                                   conduct at issue involved fraud,

malice, or willful and wanton conduct.
malice,




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    203.       Spend Management Solutions
               Spend Management           is also
                                Solutions is also liable
                                                  liable to
                                                         to Y2 Yoga for all other

amounts Y2
amounts Y2 Yoga
           Yoga is
                is entitled
                   entitled to
                            to under
                               under applicable
                                     applicable law, including but
                                                law, including but not
                                                                   not limited to

interest,
interest, costs, and attorneys' fees.
                                fees.

                             TENTH
                             TENTH CLAIM
                                     CLAIM FOR
                                            FOR RELIEF
                                                  RELIEF
               Civil
               Civil Conspiracy Against Mr.
                     Conspiracy Against Mr. Reid, VR King
                                            Reid, VR King Construction,
                                                           Construction,
                       VR Investments,
                       VR Investments, Baranko
                                        Baranko Enterprise,
                                                Enterprise, and
                                                            and
                             Spend Management Solutions
                             Spend Management    Solutions

    204.
    204.       Y2 Yoga incorporates
               Y2 Yoga incorporates and
                                    and restates
                                        restates all
                                                 all allegations of the complaint in this

paragraph.

    205.       Mr. Reid,
               Mr. Reid, VR
                         VR King
                            King Construction, VR Investments, and Baranko
                                 Construction, VR

Enterprise,
Enterprise, on
            on one hand, and Spend
               one hand,     Spend Management Solutions, on the other hand,

agreed with
agreed with one another by
            one another by their
                           their words
                                 words and
                                       and conduct to commit
                                           conduct to commit unlawful acts or lawful

acts in
acts in an
        an unlawful
           unlawful way,
                    way, as
                         as described
                            described throughout
                                      throughout the complaint in connection with

the Project.
the Project.

    206.       Through this common
               Through this common scheme, in
                                           in connection with the Project, and based

on their
on their respective
         respective roles as general
                    roles as general contractor
                                     contractor and construction project manager, Mr.

Reid, VR
Reid, VR King
         King Construction, VR Investments,
              Construction, VR Investments, Baranko Enterprise,
                                                    Enterprise, and Spend

Management Solutions
Management Solutions combined
                     combined to
                              to commit
                                 commit fraud,
                                        fraud, and
                                               and to
                                                   to breach contractual duties,

common law
common law duties of care,
           duties of care, fiduciary
                           fiduciary duties,
                                     duties, and
                                             and statutory duties owed to Y2 Yoga.

    207.
    207.       As
               As part of their
                  part of their common         among other things, it was understood
                                common scheme, among

and agreed
and        that Spend
    agreed that       Management Solutions
                Spend Management Solutions would secretly provide competitive

bidding information
bidding             to Mr.
        information to Mr. Reid
                           Reid and VR King
                                and VR King Construction, enabling Mr. Reid and

VR King
VR King Construction
        Construction to avoid the
                     to avoid the due
                                  due diligence and other
                                      diligence and other work
                                                          work required
                                                               required to analyze

the Project
the Project and provide a
            and provide a firm
                          firm bid,
                               bid, that
                                    that Spend
                                         Spend Management
                                               Management Solutions would advise
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Y2 Yoga
Y2 Yoga to select Mr.
        to select Mr. Reid
                      Reid and
                           and VK
                               VR King
                                  King Construction
                                       Construction as the general contractor and

not question
    question or scrutinize the information provided by Mr. Reid and VR King
             or scrutinize

Construction throughout
             throughout the
                        the Project,
                            Project, that all of them would conceal and not disclose

Mr.
Mr. Reid
    Reid and VR King
         and VR King Construction's
                     Construction's lack
                                    lack of
                                         of know-how
                                            know-how and resources, substandard

and defective
and defective construction
              construction work, inadequate
                                 inadequate supervision, and misappropriation of

funds to Mr. Reid and his business entities.

    208.     As
             As aa result
                   result of
                          of the
                             the civil
                                 civil conspiracy
                                       conspiracy between Mr.
                                                          Mr. Reid, VR King

Construction, VR
Construction, VR Investments,
                 Investments, Baranko
                              Baranko Enterprise,
                                      Enterprise, and
                                                  and Spend
                                                      Spend Management

Solutions, Y2 Yoga
Solutions, Y2 Yoga suffered compensatory damages in excess of $25,000.

    209.
    209.     In
             In addition,
                addition, as
                          as aa result
                                result of
                                       of Mr.
                                          Mr. Reid,
                                              Reid, VR King
                                                       King Construction,
                                                            Construction, VR

Investments, Baranko
Investments, Baranko Enterprise, and Spend
                                     Spend Management Solutions' conspiracy, Y2

Yoga also
     also seeks
          seeks and
                and is entitled to recover punitive damages under N.C. Gen. Stat. §

ID-15, because
1D-15, because the
               the conduct
                   conduct at
                           at issue
                              issue involved
                                    involved fraud,
                                             fraud, malice,
                                                    malice, or willful and wanton
                                                                           wanton

conduct,
conduct, including by Mr. Reid, who condoned, directed, or participated in the
         including by

conduct.

                    ELEVENTH CLAIM
                    ELEVENTH    CLAIM FOR
                                        FOR RELIEF
                                              RELIEF
                   Violation of
                   Violation of N.C.
                                N.C. Gen.
                                     Gen. Stat.
                                          Stat, §§ 75-1.1
                                                   75-1.1
                Unfair and Deceptive  Trade  Practices
                Unfair and Deceptive Trade Practices Act  Act
    Against Mr. Reid,
    Against Mr. Reid, VR
                      VR King
                         King Construction,  VR Investments,
                              Construction, VR    Investments, Baranko
                                                               Baranko
             Enterprise,
             Enterprise, and
                          and Spend  Management Solutions
                              Spend Management       Solutions

    210.
    210.     Y2 Yoga
             Y2 Yoga incorporates
                     incorporates and
                                  and restates all allegations of the complaint in this
                                      restates all

paragraph.

    211.     As set
             As set forth
                    forth throughout the complaint,
                                         complaint, Mr. Reid, VR King Construction,

VR Investments,
VR Investments, and
                and Spend
                    Spend Management
                          Management Solutions
                                     Solutions engaged in unfair or deceptive

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                                          43
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        practices in
     or practices
acts or                                                  respect to Y2 Yoga and the
                  in violation of N.C.G.S. § 75-1.1 with respect

Project, including:

             a.       Obtaining property by false pretenses;

             b.       Committing common law fraud;

             c.
             c.       Engaging
                      Engaging in                     and deceit for pecuniary gain;
                               in trickery, artifice, and

             d.       Making negligent misrepresentations;

             e.
             e.       Participating in fraudulent transfers; and

             f.
             f.       Committing breach of contract with aggravating factors.

    212.     Mr. Reid,
             Mr. Reid, VR      Construction, VR Investments, and Spend
                       VR King Construction,

                                  or affected commerce.
Management Solutions acts were in or

    213.     As a result
             As a        of Mr.
                  result of              King Construction, VR Investments, and
                            Mr. Reid, VR King

                                   and deceptive trade practices, Y2 Yoga has
Spend Management Solutions' unfair and
Spend

                 in the principal amount in excess of $25,000, to be trebled, as
         damages in
suffered damages

required by N.C.G.S. §§ 75-16.
                        75-16.

    214.     In           Y2 Yoga
                addition, Y2
             In addition,    Yoga seeks an award
                                  seeks an       of attorneys' fees as permitted by
                                           award of

         § 75-16.1, as
N.C.G.S. §
N.C.G.S.            as well as all other amounts it is entitled to under applicable law,
                       well as

including interest
          interest and costs.
                   and costs.

      WHEREFORE, Y2 Yoga prays as follows:

      A.     That the Court
             That the               the corporate
                      Court pierce the                        that Mr. Reid, VR King
                                         corporate veils such that
                           VR Investments, and
             Construction, VR
             Construction,                                  Enterprise will be jointly
                                               and Baranko Enterprise
                                          damages
                 severally liable for all damages
             and severally                         suffered and  amounts of any kind
             whatsoever that          or are
                         that may be or   are awarded to Y2 Yoga;

      B.     That  judgment be
             That judgment              in favor
                             be entered in                    and against all of the
                                            favor of Y2 Yoga and
             Defendants  for
             Defendants for  compensatory,  incidental, and consequential  damages,
                applicable and
             as applicable
             as                              an amount to be proven at trial;
                                          in an
                           and permitted, in
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  Q
  C.    That Y2 Yoga
        That Y2 Yoga be
                      be awarded
                         awarded punitive
                                 punitive damages against Mr. Reid, VR King
        Construction,  VR Investments,
        Construction, VR                  Baranko Enterprise, and Spend
                           Investments, Baranko
        Management Solutions;

  D.    That
        That Y2 Yoga be
             Y2 Yoga  be awarded
                          awarded treble damages against Mr. Reid, VR King
        Construction,
        Construction, VR
                      VR Investments,
                            Investments, and
                                         and Spend Management Solutions
        under N.C.G.S.
              N.C.G.S. §§ 75-16;
                          75-16;

  E
  E.    That
        That Y2  Yoga be awarded
              Y2 Yoga     awarded reasonable
                                    reasonable attorneys' fees, as permitted by
        the construction
        the construction contract, under N.C.G.S. § 75-16.1, as well as any other
                         contract, under
        applicable
        applicable law;

  F
  F.    That
        That the fraudulent
                   fraudulent transfers by and among Mr. Reid, VR King
        Construction,
        Construction, VR Investments,
                          Investments, and
                                        and Baranko Enterprise be avoided and
        the assets
        the assets attached
                   attached to
                            to satisfy amounts owed to Y2 Yoga;

  G.
  G.    That Y2 Yoga
        That Y2  Yoga be
                      be allowed to elect
                         allowed to elect its
                                          its remedies upon the
                                              remedies upon the reading
                                                                reading of the
        verdict;
  •pj
  H.    For
        For an
            an award
               award of prejudgment and
                     of prejudgment and post-judgment
                                        post-judgment interest
                                                      interest and
                                                               and costs;
                                                                   costs;

  I.    For
        For a
            a trial by jury
              trial by jury on
                            on all issues so triable; and

  J,
  J.    For such other and further
        For such           further relief as
                                          as this Court deems just and proper.

  Dated this 6th day of March, 2018.


                                    RABON
                                    RABON LAW FIRM, PLC
                                          LAW FIRM, PLLC




                                   ©avid G.
                                   David G. Guidry
                                            Guidry
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                                   dguidry@usfraudattorneys.com
                                   Counsel  for Defendant Y2
                                   Counsel for             Y2 Yoga
                                                               Yoga Cotswold,
                                   LLC




                                      45
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                                      VERIFICATION
                                      VERIFICATION

           have read
        II have         Yoga Cotswold,
                     Y2 Yoga
                read Y2                      Second Amended
                                       LLC's Second
                             Cotswold, LLC's                Verified Complaint,
                                                    Amended Verified Complaint,

      regarding the allegations
  and regarding                    which Y2
                                of which
                    allegations of               has personal
                                            Yoga has
                                         Y2 Yoga                            know or
                                                              knowledge, II know
                                                     personal knowledge,         or

  believe the allegations to
          the allegations       true, and,
                             be true,
                          to be            regarding the
                                      and, regarding     allegations of
                                                     the allegations          Y2 Yoga
                                                                        which Y2
                                                                     of which    Yoga

                personal knowledge,
  does not have personal                       them to
                                       believe them
                         knowledge, II believe            true based
                                                       be true
                                                    to be            on specified
                                                               based on specified

  information, records, or both.
               records, or both.




                                            Tanner Bazemore
                                            Tanner Ilaz m
                                            President, Y2
                                            President, Y2 Yoga Cotswold, LLC
                                                          Yoga Cotswold, LLC

 State of North Carolina
         of
 County of
 County

 garorn to and
 worn          subscribed before
           and subscribed        me by
                          before me by         /                  ^fchis
                                                          'Sa 2-tatc
                                                             ^rfiaii
                                                                      is •                     day of
                                                                                               day of
              18.
                8.

 Date:                                               —/
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           Seal)
 (Official Seal)                            Official Signature
                                            Official              Notary
                                                               of Notary
                                                     Signature of


                                                    Name
                                            Printed Name
                                            Printed


               expires:
    commission expires:
 My commission                               ^UO-LJT^
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                            CERTIFICATE
                            CERTIFICATE OF
                                        OF SERVICE
                                           SERVICE

      II certify
         certify that
                 that as
                      as of
                         of the
                            the date below aa copy
                                date below    copy of
                                                   of Y2 Yoga Cotswold,
                                                      Y2 Yoga Cotswold, LLC's
                                                                        LLC's Second

Amended Verified
Amended Verified Complaint was served
                 Complaint was served on
                                      on the
                                         the following counsel for the
                                             following counsel     the parties
                                                                       parties via

U.S. Mail postage
U.S. Mail postage prepaid
                  prepaid and
                          and addressed
                              addressed as follows:
                                        as follows:

John
John Barringer
     Barringer                                  Gillian S.
                                                Gillian S. Crowl
                                                           Crowl
Christopher
Christopher Campbell
             Campbell                           SWIFT,
                                                SWIFT, CURRIE,
                                                         CURRIE, MCGHEE
                                                                    MCGHEE &      HIERS,
                                                                                & HIERS,
MCANGUS,
MCANGUS, GOUDELOCK
             GOUDELOCK &    & COURIE
                              COURIE            LLP
                                                LLP
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     Fairview Road,        700                  1355  Peachtree St.
                                                1355 Peachtree       N.E., Suite
                                                                 St, N.E., Suite 300
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Charlotte, NC 28210-2267
           NC 28210-2267                        Atlanta, Gedrgia,
                                                Atlanta, Georgia, 30309
                                                                   30309
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Counsel for Defendants Vinroy
                        Vinroy W. Reid,
                               W. Reid,         Counsel
                                                Counsel      for
                                                             for     Defendant     Spend
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VR King                  LLC, and
           Construction LLC,   and VR
                                    VR          Management Solutions,
                                                Management    Solutions, LLC
Investments, LLC
Investments, LLC

Robert L, Burchette
Robert L. Burchette                             Michael J.
                                                Michael     Kitson
                                                        J. Kitson
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                            FIORD               GOLDING     HOLDEN & POPE, L.L.P.
                                                GOLDING HOLDEN
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                                                6701 Cannel
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                                                Charlotte, NC 28226
                                                                28226
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Counsel forfor Third-Party     Defendant
                Third-Party Defendant           Counsel
                                                Counsel forfor Third-Party   Defendant
                                                                 Third-Party Defendant
Warco
Warco Construction,
       Construction, Inc.                       Triangle Electric of
                                                Triangle Electric of Lake Norman, Inc.

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Erik M. Rosenwood                               M. Shane Truett
                                                M. Shane   Truett
Nancy  Litwak
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525 NN Tryon
       Tryon St.,
              St., Suite 1400
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                                                               28212
Charlotte,
Charlotte, NC
           NC 28202
                28202                           Counsel
                                                Counsel forfor Third-Party
                                                                Third-Party Defendant
Counsel  for Third-Party
Counsel for                Defend a n t C
             Third-Party Defendant        .L.
                                        C.L.    Jeronimo Vega-Espriella
                                                Jeronimo                   d/b/a JJV
                                                            Vega-Espriella d/b/a JJV
Helt Architect,
Helt Architect, Inc.
                Inc.                            Construction
                                                Construction


March 6,
March 6, 2018.
         2018.




                                         -Mvid G. Guidry
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                     Exhibit “E”
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                                        Edwards v. Edwards
                                   Court of Appeals of North Carolina
                  June 9, 1994, Heard In The Court Of Appeals ; April 18, 1995, Filed
                                            No. 9322DC1139

Reporter
118 N.C. App. 464 *; 456 S.E.2d 126 **; 1995 N.C. App. LEXIS 289 ***

                                                      Overview
PHILLIP KENNETH EDWARDS, Plaintiff, v.
                                                      The ex-wife alleged that the original judgment of
LORETTA S. EDWARDS, Defendant.                        the trial court operated as a bar to the subsequent
                                                      award of attorneys' fees to the ex-husband. The ex-
                                                      wife argued that under the principles of res judicata
Prior History: [***1] Davidson County No.             and collateral estoppel the ex-husband was required
                                                      to have brought his claim for attorneys' fees in the
92CvD920. Appeal by defendant from order filed
                                                      action for specific performance. The court held that
17 August 1993 by Judge George T. Fuller in
                                                      the ex-husband's indemnification claim was not
Davidson County District Court.
                                                      barred by the principle of collateral estoppel
                                                      because the claim was totally dissimilar to any
                                                      issue previously presented to the trial court. The
                                                      court also held that the ex-husband's claim for
Disposition: Affirmed.                                indemnification had not accrued at the time of the
                                                      filing of his complaint for specific performance and
                                                      therefore      the    ex-husband's       claim    for
                                                      indemnification was not one which should have
                                                      been adjudicated at the time of the specific
Case Summary                                          performance claim. Finally, the court held that
                                                      joinder of the non-accrued indemnification claim
                                                      was not mandatory and therefore the trial court
Procedural Posture                                    committed no error.
Plaintiff ex-husband filed an action against
defendant ex-wife that sought specific performance
of a separation agreement. The ex-wife
counterclaimed that there was no breach of the
agreement and that the agreement was null and
void. The Davidson County District Court (North       Outcome
Carolina) ruled that the agreement was valid and      The court affirmed the judgment of the trial court.
that the ex-wife breached the agreement. The ex-
husband filed a motion for attorneys' fees, which
was granted.

                                                      LexisNexis® Headnotes
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                                                            Civil Procedure > ... > Preclusion of
                                                            Judgments > Estoppel > General Overview
   Business & Corporate
   Compliance > ... > Contracts Law > Contract           HN3[4,] Estoppel, Collateral Estoppel
   Conditions & Provisions > Indemnity Clauses
                                                         Collateral estoppel is applicable only (1) where the
   Civil Procedure > Remedies > Costs &                  issues to be precluded are the same as those
   Attorney Fees > General Overview                      involved in the prior action, (2) where those actions
                                                         were actually raised and litigated, (3) where the
   Family Law > ... > Marital                            issues must have been relevant to the disposition of
   Agreements > Postnuptial & Separation                 the prior action, and (4) where the determination of
   Agreements > General Overview                         those issues must have been necessary to the
                                                         resulting judgment.
HN1[4,] Contract Conditions & Provisions,
Indemnity Clauses

A provision establishing indemnification for                Civil Procedure > ... > Preclusion of
attorneys' fees between the parties to a separation         Judgments > Estoppel > Collateral Estoppel
agreement has been specifically approved.
                                                            Civil Procedure > Judgments > Preclusion of
                                                            Judgments > General Overview

   Civil Procedure > Judgments > Preclusion of              Civil Procedure > ... > Preclusion of
   Judgments > Res Judicata                                 Judgments > Estoppel > General Overview
HN2[4,] Preclusion of Judgments, Res Judicata            HN4[4,] Estoppel, Collateral Estoppel

A judgment, if rendered upon the merits,                 A very close examination of matters actually
constitutes an absolute bar to a subsequent action. It   litigated must be made in order to determine if the
is a finality as to the claim or demand in               underlying issues are in fact identical. If they are
controversy, concluding parties and those in privity     not identical, then the doctrine of collateral estoppel
with them, not only as to every matter which was         does not apply.
offered and received to sustain or defeat the claim
or demand, but as to any other admissible matter
which might have been offered for that purpose.             Civil Procedure > Judgments > Preclusion of
But where the second action between the same                Judgments > Res Judicata
parties is upon a different claim or demand, the
judgment in the prior action operates as an estoppel        Civil Procedure > Judgments > Preclusion of
only as to those matters in issue or points                 Judgments > General Overview
controverted, upon the determination of which the
finding or verdict was rendered.                         HN5[4,] Preclusion of Judgments, Res Judicata

                                                         Under res judicata, a final judgment on the merits
                                                         in a prior action by a court of competent
   Civil Procedure > ... > Preclusion of
                                                         jurisdiction operates as an absolute bar to a
   Judgments > Estoppel > Collateral Estoppel
                                                         subsequent action involving the same claim,
   Civil Procedure > Judgments > Preclusion of           demand, and cause of action between the parties
   Judgments > General Overview                          and their privies.

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                                                            Remedies > General Overview

   Civil Procedure > Judgments > Preclusion of              Civil Procedure > Parties > General Overview
   Judgments > Res Judicata
                                                            Civil Procedure > Parties > Joinder of
HN6[4,] Preclusion of Judgments, Res Judicata               Parties > General Overview

When a plaintiff recovers a valid and final             HN9[4,] Pleading & Practice, Joinder of Claims
judgment, his or her original claim is extinguished     & Remedies
and the rights granted pursuant to the judgment are
substituted for it, and plaintiff's original claim is   A party asserting a claim for relief may join, either
thus said to have "merged" with the judgment.           as independent or as alternate claims, as many
                                                        claims, legal or equitable, as he has against an
                                                        opposing party, N.C. R. Civ. P. 18(a), and
   Civil Procedure > Judgments > Preclusion of          whenever a claim is one heretofore cognizable only
   Judgments > Res Judicata                             after another claim has been prosecuted to a
                                                        conclusion, the two claims may be joined in a
HN7[4,] Preclusion of Judgments, Res Judicata           single action. N.C. R. Civ. P. 18(b).

Merger requires all damages resulting from a single
wrong or cause of action to be recovered in one             Civil
suit. Stated otherwise, a party suing for the breach        Procedure > ... > Pleadings > Counterclaims >
of an indivisible contract must sue for all of the          Compulsory Counterclaims
benefits which have accrued at the time of suit or
be precluded from maintaining a subsequent action           Civil
for installments omitted.                                   Procedure > ... > Pleadings > Counterclaims >
                                                            General Overview

   Civil                                                    Civil
   Procedure > ... > Pleadings > Complaints > Gen           Procedure > ... > Pleadings > Crossclaims > Ge
   eral Overview                                            neral Overview

   Civil Procedure > Pleading &                         HN10[4,]      Counterclaims,             Compulsory
   Practice > Pleadings > Impleader                     Counterclaims

HN8[4,] Pleadings, Complaints                           A counterclaim is compulsory when it is in
                                                        existence at the time of the serving of the pleading
A defendant, as a third-party plaintiff, may cause a    and when it arises out of the same transaction or
summons and complaint to be served upon a non-          occurrence.
party who is or may be liable to him for all or part
of the plaintiff's claim against him, and the
traditional rule no longer precludes presentation of        Civil Procedure > Judgments > Preclusion of
an indemnity claim prior to accrual.                        Judgments > Res Judicata

                                                            Contracts Law > Remedies > Specific
   Civil Procedure > Pleading &                             Performance
   Practice > Joinder of Claims &

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   Civil Procedure > Judgments > Preclusion of          Plaintiff's indemnification claim is totally dissimilar
   Judgments > General Overview                         to any issue previously presented; the earlier trial
                                                        determined only the validity of the separation
HN11[i ]     Preclusion     of   Judgments,      Res    agreement and plaintiff's entitlement to specific
Judicata                                                performance.

The res judicata doctrine precluding relitigation of    Am Jur 2d, Judgments §§ 415 et seq.
the same cause of action has been held inapplicable
where the performance of an act was sought in one       3. Judgments § 298 (NCI4th)-- enforcement of
action and a money judgment in the other.               separation agreement--separate action for
                                                        attorney fees--res judicata

                                                        Plaintiff's claim was not barred by res judicata
                                                        where plaintiff and defendant executed a separation
Headnotes/Summary                                       agreement which provided that the defaulting party
                                                        would indemnify the other for expenses, including
                                                        attorney fees, involved in collecting financial
Headnotes                                               obligations or enforcing rights; plaintiff filed suit
                                                        seeking specific enforcement of the provision
1. Judgments § 208 (NCI4th)-- res judicata--
                                                        requiring that the homeplace be listed for sale;
collateral estoppel--distinguished
                                                        defendant was ordered to list the homeplace in a
While res judicata precludes a subsequent action        judgment signed on 20 April; and plaintiff filed a
based on the same claim, collateral estoppel bars       motion on 7 July seeking reimbursement under the
subsequent determination of the same issue, even        indemnity clause for the attorney fees incurred in
though the action may be premised upon a different      prosecuting the suit for specific performance.
claim.                                                  Although plaintiff contends that there was no
                                                        indemnity claim to pursue until the court ruled that
Am Jur 2d, Judgments §§ 514-639.                        defendant had breached the agreement, under our
                                                        Rules of Civil Procedure presentation of an
2. Judgments § 274 (NCI4th)-- collateral                indemnity claim prior to accrual is no longer
estoppel--identity of issues--claim not barred          precluded and joinder rules would have allowed
                                                        plaintiff to pursue attorneys fees under the
Plaintiff's indemnification claim was not barred by     indemnity clause in the earlier action
the principle of collateral estoppel where plaintiff    notwithstanding absence of accrual. However, res
and defendant executed a separation agreement           judicata should be applied as fairness and justice
which provided that the defaulting party would          require, permissive joinder here is simply a
indemnify the other for expenses, including             relaxation of the traditional indemnity rule, and
attorney fees, involved in collecting financial         joinder of a non-accrued indemnification claim was
obligations or enforcing rights; plaintiff filed suit   not mandatory. Moreover, there is a substantive
seeking specific enforcement of the provision           distinction between plaintiff's specific performance
requiring that the homeplace be listed for sale;        action and his later motion for a monetary award of
defendant was ordered to list the homeplace in a        counsel fees; our courts have consistently rejected
judgment signed on 20 April; and plaintiff filed a      efforts to disallow awards of counsel fees under
motion on 7 July seeking reimbursement under the        statutory entitlements not pursued in the earlier
indemnity clause for the attorney fees incurred in      principal action; and plaintiff in his complaint
prosecuting the suit for specific performance.          prayed the trial court to grant such other relief as is

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just and proper, with a copy of the separation         Relevant background information is as follows:
agreement containing the indemnity clause being        Plaintiff and defendant were married 4 September
attached to the complaint. Given that broad            1965 and separated 26 September 1991. On or
language, plaintiff asserted a claim for               about the latter date, they executed a separation
indemnification in the earlier action and later        agreement (the Agreement) which provided
merely particularized that claim. Finally, defendant   defendant would list the parties' homeplace for sale
had full notice that recoupment was available to       and that the proceeds would be divided equally
plaintiff and neither fairness nor justice are         between the two. The Agreement [***2] further
offended by failing to rule that plaintiff's claim     provided:
ought to have been pled with particularity in the
specific performance complaint.
                                                           17. INDEMNITY
Am Jur 2d, Divorce and Separation §§ 749-818.
                                                           If either party for any reason fails to perform
                                                           his or her financial or other obligations to the
                                                           other party hereunder, and as a result thereof,
                                                           the party incurs any expense, including
Counsel: Wyatt, Early, Harris, Wheeler & Hauser,           reasonable attorney's fees, to collect the same
L.L.P., by A. Doyle Early, Jr., High Point, NC, for        or otherwise enforce his or her rights with
plaintiff-appellee.                                        respect thereof, the defaulting party shall
                                                           indemnify and hold him or her harmless from
                                                           any such expense.
C. Richard Tate, Jr., High Point, NC, for defendant-
appellant.                                             On 21 May 1992, plaintiff filed suit seeking
                                                       specific performance of the Agreement, alleging
                                                       defendant had refused to list the property for sale.
                                                       Defendant answered and counterclaimed. She
Judges: JOHN, Judge; Judges GREENE and                 admitted failing to list the property, but denied this
MCCRODDEN concur. Judge MCCRODDEN                      constituted a breach of the Agreement.
concurred prior to 15 December 1994.                   Additionally, she [**128] prayed the Agreement
                                                       be declared null and void.

                                                       At trial, Judge James M. Honeycutt ruled the
Opinion by: JOHN                                       Agreement was valid and that it had been breached
                                                       by defendant. In a judgment signed 20 April 1993,
                                                       he ordered defendant "to list the homeplace for sale
                                                       as soon as practical and to divide the net proceeds
Opinion                                                equally."

                                                       On 7 July 1993, plaintiff filed a motion seeking
[*466] [**127] JOHN, Judge.                            reimbursement from defendant under the indemnity
                                                       clause of the Agreement for attorneys' fees [***3]
Defendant appeals the trial court's order granting     incurred in prosecuting his suit for specific
plaintiff's motion for attorneys' fees. She contends   performance. Defendant moved to dismiss
the award is barred by entry of the court's earlier    plaintiff's motion. Upon hearing, the Honorable
judgment dated 20 April 1993. We disagree.             George T. Fuller denied defendant's motion and
                                                       granted plaintiff's request for attorneys' fees.

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Defendant appeals.                                       preclusion". Hales v. N.C. Insurance Guaranty
                                                         Assn., 337 N.C. 329, 333, 445 S.E.2d 590, 594
 [*467] The sole issue raised herein is whether the      (1994). Both doctrines involve a form [***5] of
20 April 1993 judgment operates as a bar to the          estoppel by final judgment. The distinction between
subsequent award of counsel fees to plaintiff.           the two has been stated as follows:
Defendant argues that under the principles of res
judicata and collateral estoppel plaintiff was               HN2[ t ] [A] judgment, if rendered upon the
required to bring his claim for attorneys' fees in the       merits, constitutes an absolute bar to a
action for specific performance. His failure to do           subsequent action. It is a finality as to the claim
so, she continues, precludes his later motion and the        or demand in controversy, concluding parties
trial court erred in allowing it. We conclude the            and those in privity with them, not only as to
trial court did not commit error.                            every matter which was offered and received to
                                                             sustain or defeat the claim or demand, but as to
Plaintiff's 7 July 1993 motion was brought under             any other admissible matter which might have
Paragraph 17 of the Agreement entitled                       been offered for that purpose . . . .
"Indemnity." "Ordinarily, the engagement in an
indemnity contract is to make good and save the
indemnitee harmless from loss or some obligation
which he has incurred to a third party . . . ." 17            [*468] But where the second action between
Strong's N.C. Index 4th Indemnity § 4, at 405-06             the same parties is upon a different claim or
(1992) (emphasis added). Thus, indemnity                     demand, the judgment in the prior action
generally "connotes liability for derivative fault."         operates as an estoppel only as to those matters
Dixie Container Corp. v. [***4] Dale, 273 N.C.               in issue or points controverted, upon the
624, 628, 160 S.E.2d 708, 711 (1968) (citing                 determination of which the finding or verdict
Edwards v. Hamill, 262 N.C. 528, 531, 138 S.E.2d             was rendered.
151, 153 (1964)). Nonetheless, this Court has HN1[
t ] specifically approved a provision establishing        Thomas M. McInnis & Assoc., Inc. v. Hall, 318
indemnification for attorneys' fees between the          N.C. 421, 427, 349 S.E.2d 552, 556 (1986) (quoting
parties to a separation agreement. Edwards v.            Cromwell v. County of Sac, 94 U.S. 351, 352-53, 24
Edwards, 102 N.C. App. 706, 713, 403 S.E.2d 530,         L. Ed. 195, 197-98 (1877)). Thus, while in the first
533-34, disc. review denied, 329 N.C. 787, 408           circumstance res judicata precludes a subsequent
S.E.2d 518 (1991). In this context, we note              action based on the same claim, collateral estoppel
defendant's focus herein is upon the timing of           in the latter instance bars subsequent determination
plaintiff's resort to the indemnity clause, and that     of the same issue, even though the action [***6]
she makes no argument contesting the validity            may be premised upon a different claim. Hales, 337
thereof. See Bromhal v. Stott, 116 N.C. App. 250,        N.C. at 333, 445 S.E.2d at 594.
254-56, 447 S.E.2d 481, 484-85 (1994), disc.             [2] We first discuss the issue of collateral estoppel.
review denied, 339 N.C. 609, 454 S.E.2d 246              In U.S. Fire Ins. Co. v. Southeast Airmotive Corp.,
(1995) (Greene, J. dissenting in part) (dissent          102 N.C. App. 470, 402 [**129] S.E.2d 466, disc.
asserts attorneys' fees provision in separation          review denied, 329 N.C. 505, 407 S.E.2d 553
agreement is invalid).                                   (1991), this Court noted that
[1] In challenging the award of counsel fees to
plaintiff, defendant relies upon the companion
doctrines of res judicata, also referred to as "claim        HN3[ t ] collateral estoppel is applicable only
preclusion," and collateral estoppel, or "issue              (1) where the issues to be precluded are the

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    same as those involved in the prior action, (2)
    where those actions were actually raised and
    litigated, (3) where the issues must have been          ...
    relevant to the disposition of the prior action,
    and (4) where the determination of those issues
    must have been necessary to the resulting
                                                            Thus, the "issues to be concluded," are not
    judgment.
                                                            the [***8] same as those involved in the prior
 Id. at 472, 402 S.E.2d at 468 (citation omitted).          action and the "issues in question" are not
We therefore held that "insofar as the issue of             identical to the "issues . . . actually litigated," in
reimbursement [to an insurer of costs for defense]          the prior action.
is distinct from the issue of coverage, the issue of
                                                         Id. at 574-75, 391 S.E.2d at 191-92 (citation
reimbursement was neither raised nor disposed of
                                                        omitted).
in the prior action," Id. at 473, 402 S.E.2d at 468,
and thus plaintiff's later claim seeking repayment of   In the case sub judice, as in the cases cited
defense costs was not barred by application of          hereinabove, plaintiff's indemnification claim is
collateral estoppel.                                    totally dissimilar to any issue previously presented.
                                                        In the earlier trial, the court determined only the
Further, in Beckwith v. Llewellyn, 326 N.C. 569,
                                                        validity of the Agreement and plaintiff's entitlement
391 S.E.2d [***7] 189, reh'g denied, 327 N.C.
                                                        to specific performance. Plaintiff has not
146, 394 S.E.2d 168 (1990), settlement of a
                                                        endeavored to relitigate these matters, but rather the
wrongful death claim including payment of
                                                        separate and distinct issue of recoupment of
attorneys' fees was approved by court order.
                                                        attorneys' fees under the indemnity clause of the
Plaintiff thereafter instituted suit against her
                                                        Agreement. As that issue was not litigated in the
original attorneys seeking damages based upon
                                                        prior action, we conclude plaintiff's indemnification
allegations including breach of fiduciary duty and
                                                        claim is not barred by the principle of collateral
malpractice. The trial court granted summary
                                                        estoppel.
judgment in favor of defendants on the basis of
collateral estoppel. Our Supreme Court reversed,      [3] Defendant's assertion of the application of res
reasoning as follows:                                 judicata requires a more extensive analysis. HN5[
    HN4[ at ] [*469] A very close examination of at ] Under this doctrine, a final judgment on the
    matters actually litigated must be made in order merits in a prior action by a court of competent
    to determine if the underlying issues are in fact jurisdiction operates as "an absolute bar to a
    identical. If they are not identical, then the subsequent action involving the same claim,
    doctrine of collateral estoppel does not apply.   demand, and cause of action" between "the parties
    ...                                               and their privies." Gaither [***9] Corp. v.
    In the present case, plaintiff attempts to show Skinner, 241 N.C. 532, 535, 85 S.E.2d 909, 911
    that her former attorneys took advantage of the (1955).
    attorney-client relationship to her detriment;
                                                      More specifically, defendant relies on the principle
    her former attorneys are now her adversaries.
                                                      of merger, "a collateral aspect of res judicata which
    In the prior case, she and her attorneys, as
                                                      determines the scope of claims precluded from
    client and fiduciaries, attempted to show that
                                                      relitigation by an existing judgment." Behr v. Behr,
    they had reached a reasonable settlement with
                                                      46 N.C. App. 694, 698, 266 S.E.2d 393, 395-96
    the original defendants . . . The issues are not
                                                      (1980) (citations omitted). HN6[V] When a
    identical.
                                                      plaintiff recovers a valid and final judgment, his or

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her original claim is extinguished and the rights       on the basis [***11] that an indemnity action
granted pursuant to [*470] the judgment are             traditionally may not be "instituted at law" until
substituted for it, and plaintiff's original claim is   damages actually have been suffered. 17 Strong's
thus said to have "merged" with the judgment.           Index 4th Indemnity § 23, at 420 (1992).
Restatement (Second) of Judgments § 18, Comment         Consequently, he argues, there existed "no claim or
a (1982).
_                                                       right to pursue any claim against the defendant
                                                        pursuant to the contract of indemnity provision"
HN7[ At ] Merger requires all damages resulting until the court ruled defendant had breached the
from a single wrong or cause of action to [**130] Agreement and until plaintiff had incurred counsel
be recovered in one suit. Bockweg v. Anderson, 333 fees and expenses. "Then the plaintiff/indemnitee's
N.C. 486, 492, 428 S.E.2d 157, 161 (1993) (citing claim vested," he concludes, "and could be properly
Smith v. Pate, 246 N.C. 63, 67, 97 S.E.2d 457, 460 brought, but not before."
(1957)). Stated otherwise, "a party suing for the
breach of an indivisible contract must sue for all of [*471] While plaintiff accurately states traditional
the benefits which have accrued at the time of suit practice, since the enactment of our North Carolina
or be precluded from maintaining a subsequent Rules of Civil Procedure, 1967 N.C. Sess. Laws ch.
action for installments omitted." Behr, 46 N.C. App. 954,
at     698,    266    S.E.2d      at    396     (citing
Restatement [***10] of Judgments § 62, Comment
h (1942)).                                              HN8[ At ] "'a defendant, as a third-party plaintiff,
                                                        may cause a summons and complaint to be served
As a consequence of merger, defendant maintains, [upon a non-party] who is or may be liable to him
res judicata applies "'not only to the points upon for all or part of the plaintiff's claim against him,'"
which the court was required by the parties to form and the traditional rule no longer precludes
an opinion and pronounce a judgment, but to every presentation of an indemnity claim prior to accrual.
point which properly belonged to the subject in Heath v. Board of Commissioners, 292 N.C. 369,
litigation and which the parties exercising 375-76, 233 S.E.2d 889, 893 (1977) (citing N.C.R.
reasonable diligence, might have brought forward Civ. P. Rule 14 (a))
at the time and determined respecting it.'" Painter
v. Board of Education, 288 N.C. 165, 173, 217 .
S.E.2d 650, 655 (1975) (quoting Gibbs v. Higgins,
215 N.C. 201, 204-05, 1 S.E.2d 554, 557 (1939)).        Additionally, we note under our joinder rules,
                                                        HN9[At ] "[a] party [***12] asserting a claim for
Defendant is correct that as a result of the doctrine relief . . . may join, either as independent or as
of merger, "all matters, either fact or law, that were alternate claims, as many claims, legal or equitable,
or should have been adjudicated in the prior action as he has against an opposing party," N.C.R. Civ. P.
are deemed concluded." Thomas M. McInnis & Rule 18(a), and "whenever a claim is one
Assoc., Inc., 318 N.C. at 428, 349 S.E.2d at 556 heretofore cognizable only after another claim has
(citations omitted). It is uncontroverted that been prosecuted to a conclusion, the two claims
plaintiff's claim for indemnification was not may be joined in a single action . . . ." N.C.R. Civ.
adjudicated in his specific performance lawsuit. P. Rule 18(b).
The question remains whether the claim was one
                                                        It thus appears plaintiff's claim for indemnification
which "should have been adjudicated" therein.
                                                        had not accrued at the time of filing his complaint
Plaintiff justifies seeking indemnity by separate for specific performance in that neither had breach
motion subsequent to the 20 April 1993 judgment of the Agreement been determined nor had he
                                                        incurred counsel fees. Notwithstanding absence of

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accrual, our joinder rules would nonetheless have       the standpoint of "fairness" and "justice." Viewed
allowed plaintiff in the earlier action to pursue       in that light, we must determine whether plaintiff's
attorneys' fees under the indemnity clause.             pursuit of his indemnification motion subsequent to
However, he did not do so. We therefore return to a     conclusion of his suit on the Agreement constitutes
consideration of whether plaintiff's failure to seek    a "special circumstance" in which rigid application
indemnification in the specific performance             of the res judicata doctrine would be contrary to
proceeding operates to bar his later petition for       the principles of "justice." We hold the present
reimbursement of attorneys' fees.                       instance is one in which res judicata is
                                                        inapplicable.
The doctrine of res judicata has been the subject of
much litigation, and its applicability is not without First, while it is unquestioned our joinder rules
limitation. Shelton v. Fairley, 72 N.C. App. 1, 5,    would have allowed plaintiff to request counsel fee
323 S.E.2d [***13] 410, 414 (1984), disc. review      repayment in the specific performance suit, we
denied, 313 N.C. 509, 329 S.E.2d 394 (1985). This     view the policy of permissive joinder in this
Court has previously acknowledged commentators'       instance simply as a relaxation of the traditional
"support for the rule that judgments relied upon as   rule that an indemnitee's right of action accrues
creating a bar or preclusion are to be construed with only at the time loss has been incurred.
strictness." Id. (citation omitted). Therefore, res   Accordingly, we do not subscribe to the proposition
judicata should "be applied in particular situations  that joinder of an non-accrued indemnification
as fairness and justice [**131] require," and not     claim was mandatory. For example, in U.S. Fire
"so rigidly as to defeat the ends of justice or so as Ins. Co., 102 N.C. App. at 472, 402 S.E.2d at 468,
to work an injustice." 46 Am. Jur. 2d Judgments §     we         determined        a      proceeding        for
522, at 786-87 (1994). As our Supreme Court has       recoupment [***15] of defense costs was not
observed:                                             required to have been brought as a compulsory
                                                      counterclaim in a previous action to determine
    The court requires parties to bring forward the insurance coverage. We observed:
    whole case, and will not, except under special
    circumstances, permit the same parties to open         HN10[T] A counterclaim is compulsory when
    the same subject of litigation in respect to           it is in existence at the time of the serving of the
    matters [*472] which might have been                   pleading [and] when it arises out of the same
    brought forward as part of the subject in              transaction or occurrence . . . .
    controversy. . . The plea of res adjudicata
                                                      Id. (emphasis added).
    applies, except in special cases, not only to the
    points upon which the court was required by Moreover, our Supreme Court impliedly held in
    the parties to form an opinion and pronounce a Heath that an indemnity claim may either be joined
    judgment, but to every point which properly with a principal action or brought separately. The
    belonged to the subject in litigation and which Court therein stated: "when [an indemnitee] brings
    the parties, exercising reasonable diligence, a separate suit against the person whose action
    might have brought forward at the caused the loss," the rule that the loss must have
    time [***14] and determined respecting it.        accrued continues to prevail. Heath, 292 N.C. at
                                                        377, 233 S.E.2d at 893.
 In re Trucking Co., 285 N.C. 552, 560, 206 S.E.2d
172, 178 (1974) (citations omitted) (emphasis            [*473] Next, we perceive a substantial distinction
added).                                                 between plaintiff's specific performance action
Accordingly, we examine the case sub judice from        seeking to require defendant to list the parties' real
                                                        property for sale and plaintiff's later motion for a

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monetary award in repayment of his counsel fees.          236 (1992) (fee petition pursuant to N.C. Gen. Stat.
HN11[T] "'The res judicata doctrine precluding            § 6-21(2) filed following unsuccessful will caveat
relitigation of the same cause of action has been         proceeding) and Tay v. Flaherty, 100 N.C. App. 51,
held inapplicable where the performance of an act         53, 394 S.E.2d 217, 218, disc. review denied, 327
was sought in one action and a money judgment in          N.C. 643, 399 S.E.2d 132 (1990) (attorneys' fees
the [***16] other.'" Shelton, 72 N.C. App. at 8, 323      sought under N.C. Gen. Stat. § 6-19.1 subsequent to
S.E.2d at 416 (citations omitted).                        proceeding contesting agency decision denying
                                                          food stamps).
Further, in dealing with claims for attorneys' fees
brought pursuant to various statutory entitlements,        [*474] Finally, defendant argues in her brief that
our courts have consistently rejected efforts to          plaintiff "had [***18] not plead anything regarding
disallow awards not pursued in the earlier principal      attorneys['] fees and had not argued nor raised any
action. See, e.g., Black v. Insurance Co., 42 N.C.        issue regarding any indemnification prior to Judge
App. 50, 53, 255 S.E.2d 782, 784, disc. review            Honeycutt signing the judgment on 20 April 1993."
denied, 298 N.C. 293, 259 S.E.2d 910 (1979) (N.C.         However, plaintiff in his complaint prayed the trial
Gen. Stat. § 6-21.1, providing for counsel fees upon      court to "grant the plaintiff such other relief as is
"unwarranted refusal" to settle by insurance carrier,     just and proper." A copy of the Agreement
does not require an affirmative pleading for such an      containing the indemnity clause was attached as
award as a separate claim in the complaint; rather,       Exhibit 1. Therefore, given the broad language of
"plaintiff may properly move for an award of              the complaint and reference to the attached
attorney's fees after a verdict has been returned in      Agreement, plaintiff thereby asserted a claim for
its favor"); Upchurch v. Upchurch, 34 N.C. App.           indemnification in the earlier action, and his later
658, 664-65, 239 S.E.2d 701, 705 (1977), disc.            motion merely particularized the specifics of that
review denied, 294 N.C. 363, 242 S.E.2d 634               claim. See Clark v. Clark, 301 N.C. 123, 134, n.4,
(1978) and Evans v. Evans, 111 N.C. App. 792,             271 S.E.2d 58, 67, n.4 (1980) (although defendant
799, 434 S.E.2d 856, 861, disc. review denied, 335        did not expressly demand possession of certain
N.C. 554, 439 S.E.2d 144 (1993) (N.C. Gen. Stat. §        property in her counterclaim, she was nonetheless
50-16.4, allowing the award of counsel fees in            entitled to same given the broad nature of "relief . .
alimony cases "at any time" dependent spouse is           . which the court deems just and proper"); Highway
entitled     to      alimony       pendente       lite,   Commission v. Thornton, 271 N.C. 227, 237, 156
"includes [***17] times subsequent to the                 S.E.2d 248, 256 (1967) (a party's prayer for relief
determination of the issues in [**132] [the               does not determine the relief to which he or she is
dependent spouse's] favor at the trial of [his or] her    entitled). In that event, defendant's res judicata
cause on its merits"); In re Baby Boy Scearce, 81         argument is unavailing.
N.C. App. 662, 663, 345 S.E.2d 411, 413, disc.
review denied, 318 N.C. 415, 349 S.E.2d 590               In addition, the Agreement was [***19] executed
(1986) (under N.C. Gen. Stat. § 50-13.6, entitled         by the parties 26 September 1991 and plaintiff's
"Counsel Fees in Actions for Custody and Support          complaint which referenced the Agreement
of Minor Children," a "request for attorney's fees        attached thereto was personally served upon
may be properly raised by a motion in the cause           defendant 2 June 1992. Defendant had full notice
subsequent to the determination of the main               that recoupment was available to plaintiff should
custody action"); Surles v. Surles, 113 N.C. App.         legal fees and expenses be incurred in consequence
32, 43, 437 S.E.2d 661, 667-68 (1993); see also In        of failure to perform under the Agreement. Neither
re Estate of Tucci, 104 N.C. App. 142, 145, 408           "fairness" nor "justice," 46 Am. Jur. 2d Judgments
S.E.2d 859, 861-62 (1991), review dismissed as            § 522, at 786-87 (1994), are offended by failing to
improvidently granted, 331 N.C. 749, 417 S.E.2d           rule plaintiff's claim for indemnification ought to

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have been pled with particularity in his specific
performance complaint.

For the reasons stated hereinabove, the trial court
did not err by entry of its 17 August 1993 order
awarding counsel fees to plaintiff.

Affirmed.

Judges GREENE and MCCRODDEN concur.

Judge MCCRODDEN concurred prior to 15
December 1994.


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